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Schedule E/F: Creditors Who Have Unsecured Claims
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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20096 CATHY JAME COOPER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20097 CATHY JAME COOPER                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20098 CATHY JAME COOPER                         VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20099 CATHY JAME COOPER                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20100 CATHY L. GAYLORD                          VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.20101 CATHY L. GAYLORD                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20102 CATHY L. GAYLORD                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20103 CATHY L. GAYLORD                          VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.20104 CATHY M LAWSON                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20105 CATHY M LAWSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20106 CATHY M LAWSON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20107 CATHY M LAWSON                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20108 CATHY M LAWSON                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20109 CATHY MCKEOUGH                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20110 CATHY MCKEOUGH                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20111 CATHY MCKEOUGH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20112 CATHY MCKEOUGH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20113 CATHY NESTE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20114 CATHY NESTE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20115 CATHY NESTE                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20116 CATHY NESTE                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20117 CATHY NESTE                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20118 CATHY OKERLUND                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20119 CATHY OKERLUND                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20120 CATHY OKERLUND                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20121 CATHY OKERLUND                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20122 CATHY RECORD                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.20123 CATHY RECORD                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20124 CATHY RECORD                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.20125 CATHY RECORD                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20126 CATHY TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20127 CATHY TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20128 CATHY TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20129 CATHY TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20130 CATRAMBONE, JEFFREY                       VARIOUS                              Wildfire               UNDETERMINED
        15243 MARTY DRIVE                                                              Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.20131 CATRINA OBERG                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20132 CATRINA OBERG                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20133 CATRINA OBERG                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20134 CATRINA OBERG                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20135 CAVALLI, HELEN                            VARIOUS                              Wildfire               UNDETERMINED
        14687 PARADISE LANE                                                            Litigation
        OREGON HOUSE, CA 95962          ACCOUNT NO.: NOT AVAILABLE


3.20136 CAYMUS VINEYARDS                          VARIOUS                              Wildfire               UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                       Litigation
        D. GREENSCOTT R.                ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401


3.20137 CAZARES, ARDIVE                           VARIOUS                              Wildfire               UNDETERMINED
        3035 HARDIES LANE                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.20138 CC&M WELDING&INSTALLATION-                VARIOUS                              Wildfire               UNDETERMINED
        KENNEDY, CATHY                                                                 Litigation
        2057 PINERCREST DRIVE           ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


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Wildfire Claims

3.20139 CEA, MARI                                 VARIOUS                              Wildfire               UNDETERMINED
        510 BOYES BLVD                                                                 Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.20140 CECELIA BROWN                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20141 CECELIA BROWN                             VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.20142 CECILIA CARDENAS                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.20143 CECILIA CARDENAS                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.20144 CECILIA CARDENAS                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20145 CECILIA CARDENAS                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20146 CECILIA CARDENAS                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.20147 CECILIA CARDENAS                          VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.20148 CECILIA JARA                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20149 CECILIA JARA                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.20150 CEDERIC CLARK                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20151 CEDERIC CLARK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20152 CEDERIC CLARK                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20153 CEDERIC CLARK                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.20154 CEDERIC CLARK                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.20155 CEJA, AMADOR                               VARIOUS                              Wildfire               UNDETERMINED
        5256 OLD REDWOOD HWY                                                            Litigation
        SANTA ROSA, CA 95403             ACCOUNT NO.: NOT AVAILABLE


3.20156 CELESTE AHNFELDT                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                       Litigation
        DAVISKEVIN M.                    ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.20157 CELESTE AHNFELDT                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                         Litigation
        D. EDWARDS                       ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20158 CELESTE MARIE KANE                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20159 CELESTE MARIE KANE                       VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20160 CELESTE MARIE KANE                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20161 CELESTE MARIE KANE                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20162 CELESTER DAVIS                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20163 CELESTER DAVIS                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20164 CELESTINO GENCARELL                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20165 CELESTINO GENCARELL                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20166 CELESTINO GENCARELL                     VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                   Litigation
        87492WILLIAM P. HARRIS III,   ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.20167 CELESTINO GENCARELL                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20168 CELESTINO GENCARELL                     VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                  Litigation
        SBN 119554MICHAEL H.          ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20169 CELIL MORRIS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20170 CELIL MORRIS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20171 CELIL MORRIS                               VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.20172 CELIL MORRIS                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH FEIST -- SBN                                                             Litigation
        249447JONATHAN J.                ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.20173 CELIL MORRIS                               VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.20174 CELINDA DAHLGREN                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                       Litigation
        DAVISKEVIN M.                    ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.20175 CELINDA DAHLGREN                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                         Litigation
        D. EDWARDS                       ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20176 CELLINI, VIRGINIA                        VARIOUS                              Wildfire               UNDETERMINED
        300 LOS ALAMOS ROAD                                                           Litigation
        APT 101                        ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409


3.20177 CELSO BARRERAS                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20178 CELSO BARRERAS                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20179 CELSO BARRERAS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20180 CELSO BARRERAS                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20181 CELSO BARRERAS                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20182 CENCO MANAGEMENT, LLC                   VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                             Litigation
        ENGSTROM LIPSCOMB & LACK      ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.20183 CENTURY NATIONAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        CRAIG S. SIMON (SBN 78158)    ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.20184 CENTURY NATIONAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        THOMAS M. REGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.20185 CENTURY NATIONAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        CRAIG S. SIMON                ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.20186 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S LONDON                                                               Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.20187 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S LONDON                                                               Litigation
        KEVIN D. BUSHTHOMAS M.        ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20188 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S LONDON                                                               Litigation
        HOWARD D. MAYCON              ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.20189 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS OF LONDON                                                             Litigation
        SUBSCRIBING TO POLICY         ACCOUNT NO.: NOT AVAILABLE
        NUMBER LMHO01163
        STEVEN S. NIMOY
        91 E THOUSAND OAKS BLVD
        SUITE 301
        THOUSAND OAKS, CA 91361


3.20190 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS OF LONDON                                                             Litigation
        SUBSCRIBING TO POLICY         ACCOUNT NO.: NOT AVAILABLE
        NUMBER LMHO01163
        STEVEN S. NIMOY
        SOLTMAN, LEVITT, FLAHERTY &
        WATTLES LLP
        90 E. THOUSAND OAKS BLVD.,
        STE. 300
        THOUSAND OAKS, CA 91360


3.20191 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS OF LONDON                                                             Litigation
        SUBSCRIBING TO POLICY         ACCOUNT NO.: NOT AVAILABLE
        NUMBER LMHO1044
        STEVEN S. NIMOY
        90 E THOUSAND OAKS BLVD
        SUITE 300
        THOUSAND OAKS, CA 91360


3.20192 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS OF LONDON                                                             Litigation
        SUBSCRIBING TO POLICY         ACCOUNT NO.: NOT AVAILABLE
        NUMBER LMHO1044
        STEVEN S. NIMOY
        SOLTMAN, LEVITT, FLAHERTY &
        WATTLES LLP
        90 E. THOUSAND OAKS BLVD.,
        STE. 300
        THOUSAND OAKS, CA 91360




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20193 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS OF LONDON                                                             Litigation
        SUBSCRIBING TO POLICY         ACCOUNT NO.: NOT AVAILABLE
        NUMBER LSI101819-01
        STEVEN S. NIMOY
        93 E THOUSAND OAKS BLVD
        SUITE 303
        THOUSAND OAKS, CA 91363


3.20194 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS OF LONDON                                                             Litigation
        SUBSCRIBING TO POLICY         ACCOUNT NO.: NOT AVAILABLE
        NUMBER LSI101819-01
        STEVEN S. NIMOY
        SOLTMAN, LEVITT, FLAHERTY &
        WATTLES LLP
        90 E. THOUSAND OAKS BLVD.,
        STE. 300
        THOUSAND OAKS, CA 91360


3.20195 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS OF LONDON                                                             Litigation
        SUBSCRIBING TO POLICY         ACCOUNT NO.: NOT AVAILABLE
        NUMBER LSI102892
        STEVEN S. NIMOY
        92 E THOUSAND OAKS BLVD
        SUITE 302
        THOUSAND OAKS, CA 91362


3.20196 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS OF LONDON                                                             Litigation
        SUBSCRIBING TO POLICY         ACCOUNT NO.: NOT AVAILABLE
        NUMBER LSI102892
        STEVEN S. NIMOY
        SOLTMAN, LEVITT, FLAHERTY &
        WATTLES LLP
        90 E. THOUSAND OAKS BLVD.,
        STE. 300
        THOUSAND OAKS, CA 91360


3.20197 CERTAIN UNDERWRITERS AT                 VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                        Litigation
        SUBSCRIBING TO CERTIFICATE    ACCOUNT NO.: NOT AVAILABLE
        NO. B0507L16360-521
        ALAN J. JANG SALLY NOMA
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20198 Certain Underwriters at Lloyd's of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No. B0507L16360-521     ACCOUNT NO.: NOT AVAILABLE
        Zachary P. Marks (SBN
        284642)Paul A. Casetta {Pro Hoc
        Vice)Alan B, McMaster {Pro Hac
        Vice)Jarelt M. Smith {Pro Hac
        Vice)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, California 90067


3.20199 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No. B0507L16360-521      ACCOUNT NO.: NOT AVAILABLE
        John F. Mcguire, Jr., Esq. (Sbn
        69176) Ian C. Fusselman, Esq.
        (Sbn 198917) Brett J. Schreiber,
        Esq. (Sbn 239707)
        Thorsnes Bartolotta Mcguire LLP
        2550 Fifth Avenue, 11th Floor
        San Diego, California 92103


3.20200 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No. B0507L16360-521      ACCOUNT NO.: NOT AVAILABLE
        Ahmed S. Diab (SBN 262319)

        Deborah S. Dixon (SBN 248965)

        Robert J. Chambers II (SBN
        244688)
        Dixon Diab & Chambers LLP
        501 W. Broadway, Suite 800
        San Diego, CA 92101


3.20201 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO CERTIFICATE           ACCOUNT NO.: NOT AVAILABLE
        NO. B0507L16360-521
        TERRY SINGLETON, ESQ. (SBN
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20202 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO CERTIFICATE           ACCOUNT NO.: NOT AVAILABLE
        NO. B1353DG1700356000
        TERRY SINGLETON, ESQ. (SBN
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20203 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO CERTIFICATE           ACCOUNT NO.: NOT AVAILABLE
        NO. B1353DG1700356000
        ALAN J. JANG SALLY NOMA
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20204 Certain Underwriters at Lloyd's of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No.                     ACCOUNT NO.: NOT AVAILABLE
        B1353DG1700356000
        Zachary P. Marks (SBN
        284642)Paul A. Casetta {Pro Hoc
        Vice)Alan B, McMaster {Pro Hac
        Vice)Jarelt M. Smith {Pro Hac
        Vice)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, California 90067


3.20205 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No.                      ACCOUNT NO.: NOT AVAILABLE
        B1353DG1700356000
        Ahmed S. Diab (SBN 262319)

         Deborah S. Dixon (SBN 248965)

         Robert J. Chambers II (SBN
         244688)
         Dixon Diab & Chambers LLP
         501 W. Broadway, Suite 800
         San Diego, CA 92101


3.20206 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No.                      ACCOUNT NO.: NOT AVAILABLE
        B1353DG1700356000
        John F. Mcguire, Jr., Esq. (Sbn
        69176) Ian C. Fusselman, Esq.
        (Sbn 198917) Brett J. Schreiber,
        Esq. (Sbn 239707)
        Thorsnes Bartolotta Mcguire LLP
        2550 Fifth Avenue, 11th Floor
        San Diego, California 92103


3.20207 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO CERTIFICATE           ACCOUNT NO.: NOT AVAILABLE
        NO. LSU 00402-05
        ALAN J. JANG SALLY NOMA
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075

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PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20208 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO CERTIFICATE           ACCOUNT NO.: NOT AVAILABLE
        NO. LSU 00402-05
        TERRY SINGLETON, ESQ. (SBN
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20209 Certain Underwriters at Lloyd's of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No. LSU 00402-05        ACCOUNT NO.: NOT AVAILABLE
        Zachary P. Marks (SBN
        284642)Paul A. Casetta {Pro Hoc
        Vice)Alan B, McMaster {Pro Hac
        Vice)Jarelt M. Smith {Pro Hac
        Vice)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, California 90067


3.20210 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No. LSU 00402-05         ACCOUNT NO.: NOT AVAILABLE
        Ahmed S. Diab (SBN 262319)

         Deborah S. Dixon (SBN 248965)

         Robert J. Chambers II (SBN
         244688)
         Dixon Diab & Chambers LLP
         501 W. Broadway, Suite 800
         San Diego, CA 92101


3.20211 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No. LSU 00402-05         ACCOUNT NO.: NOT AVAILABLE
        John F. Mcguire, Jr., Esq. (Sbn
        69176) Ian C. Fusselman, Esq.
        (Sbn 198917) Brett J. Schreiber,
        Esq. (Sbn 239707)
        Thorsnes Bartolotta Mcguire LLP
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PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20212 Certain Underwriters at Lloyd's of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No. LSU 03618-01        ACCOUNT NO.: NOT AVAILABLE
        Zachary P. Marks (SBN
        284642)Paul A. Casetta {Pro Hoc
        Vice)Alan B, McMaster {Pro Hac
        Vice)Jarelt M. Smith {Pro Hac
        Vice)
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        Los Angeles, California 90067


3.20213 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No. LSU 03618-01         ACCOUNT NO.: NOT AVAILABLE
        Ahmed S. Diab (SBN 262319)

         Deborah S. Dixon (SBN 248965)

         Robert J. Chambers II (SBN
         244688)
         Dixon Diab & Chambers LLP
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         San Diego, CA 92101


3.20214 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO CERTIFICATE           ACCOUNT NO.: NOT AVAILABLE
        NO. LSU 03618-01
        TERRY SINGLETON, ESQ. (SBN
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20215 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO CERTIFICATE           ACCOUNT NO.: NOT AVAILABLE
        NO. LSU 03618-01
        ALAN J. JANG SALLY NOMA
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20216 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to                                                           Litigation
        Certificate No. LSU 03618-01         ACCOUNT NO.: NOT AVAILABLE
        John F. Mcguire, Jr., Esq. (Sbn
        69176) Ian C. Fusselman, Esq.
        (Sbn 198917) Brett J. Schreiber,
        Esq. (Sbn 239707)
        Thorsnes Bartolotta Mcguire LLP
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        San Diego, California 92103



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PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20217 Certain Underwriters at Lloyd's of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK Subscribing to Policy                                                    Litigation
        No. Nl7NA10020                      ACCOUNT NO.: NOT AVAILABLE
        Zachary P. Marks (SBN
        284642)Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hae Pending)Jarett M. Smith (Pro
        Hae Pending)
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        Los Angeles, California 90067


3.20218 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        NL7NA10020
        TERRY SINGLETON, ESQ. (SBN
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20219 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to Policy                                                    Litigation
        No. Nl7NA10020                       ACCOUNT NO.: NOT AVAILABLE
        John F. Mcguire, Jr., Esq. (Sbn
        69176) Ian C. Fusselman, Esq.
        (Sbn 198917) Brett J. Schreiber,
        Esq. (Sbn 239707)
        Thorsnes Bartolotta Mcguire LLP
        2550 Fifth Avenue, 11th Floor
        San Diego, California 92103


3.20220 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        NL7NA10020
        ALAN J. JANG SALLY NOMA
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20221 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        NL7NA10020
        AHMED S. DIAB (SBN 262319)

        DEBORAH S. DIXON (SBN
        248965) ROBERT J.
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PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20222 Certain Underwriters at Lloyd's of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK Subscribing to Policy                                                    Litigation
        No. PN1600673                       ACCOUNT NO.: NOT AVAILABLE
        Zachary P. Marks (SBN
        284642)Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hae Pending)Jarett M. Smith (Pro
        Hae Pending)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, California 90067


3.20223 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        PN1600673
        AHMED S. DIAB (SBN 262319)

        DEBORAH S. DIXON (SBN
        248965) ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
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        SAN DIEGO, CA 92101


3.20224 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        PN1600673
        ALAN J. JANG SALLY NOMA
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20225 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        PN1600673
        TERRY SINGLETON, ESQ. (SBN
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20226 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to Policy                                                    Litigation
        No. PN1600673                        ACCOUNT NO.: NOT AVAILABLE
        John F. Mcguire, Jr., Esq. (Sbn
        69176) Ian C. Fusselman, Esq.
        (Sbn 198917) Brett J. Schreiber,
        Esq. (Sbn 239707)
        Thorsnes Bartolotta Mcguire LLP
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        San Diego, California 92103



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PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20227 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to Policy                                                    Litigation
        No. PRPNA1600667                     ACCOUNT NO.: NOT AVAILABLE
        John F. Mcguire, Jr., Esq. (Sbn
        69176) Ian C. Fusselman, Esq.
        (Sbn 198917) Brett J. Schreiber,
        Esq. (Sbn 239707)
        Thorsnes Bartolotta Mcguire LLP
        2550 Fifth Avenue, 11th Floor
        San Diego, California 92103


3.20228 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        PRPNA1600667
        TERRY SINGLETON, ESQ. (SBN
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20229 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        PRPNA1600667
        ALAN J. JANG SALLY NOMA
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20230 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        PRPNA1600667
        AHMED S. DIAB (SBN 262319)

        DEBORAH S. DIXON (SBN
        248965) ROBERT J.
        CHAMBERS II (SBN 244688)
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        SAN DIEGO, CA 92101


3.20231 Certain Underwriters at Lloyd's of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK Subscribing to Policy                                                    Litigation
        No. PRPNA1600667                    ACCOUNT NO.: NOT AVAILABLE
        Zachary P. Marks (SBN
        284642)Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hae Pending)Jarett M. Smith (Pro
        Hae Pending)
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PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20232 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        W1D52B160101
        AHMED S. DIAB (SBN 262319)

        DEBORAH S. DIXON (SBN
        248965) ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
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        SAN DIEGO, CA 92101


3.20233 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK Subscribing to Policy                                                    Litigation
        No. W1D52B160101                     ACCOUNT NO.: NOT AVAILABLE
        John F. Mcguire, Jr., Esq. (Sbn
        69176) Ian C. Fusselman, Esq.
        (Sbn 198917) Brett J. Schreiber,
        Esq. (Sbn 239707)
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        2550 Fifth Avenue, 11th Floor
        San Diego, California 92103


3.20234 Certain Underwriters at Lloyd's of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK Subscribing to Policy                                                    Litigation
        No. W1D52B160101                    ACCOUNT NO.: NOT AVAILABLE
        Zachary P. Marks (SBN
        284642)Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hae Pending)Jarett M. Smith (Pro
        Hae Pending)
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        Los Angeles, California 90067


3.20235 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        W1D52B160101
        ALAN J. JANG SALLY NOMA
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20236 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK                                                               Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        W1D52B160101
        TERRY SINGLETON, ESQ. (SBN
        58316)
        TERRY SINGLETON, A.P.C.
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PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.20237 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, Uk Subscribing To Policy                                                Litigation
        Number B57635Daa                    ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
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        Los Angeles, CAlifornia 90067


3.20238 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, UK Subscribing To Policy                                                Litigation
        Number H3X00266                     ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
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        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.20239 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, UK Subscribing To Policy                                                Litigation
        Number H3X00540                     ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
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        Los Angeles, CAlifornia 90067


3.20240 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, UK Subscribing To Policy                                                Litigation
        Number H3X00606                     ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
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PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.20241 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, UK Subscribing To Policy                                                Litigation
        Number H3X00642                     ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
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        Los Angeles, CAlifornia 90067


3.20242 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, UK Subscribing To Policy                                                Litigation
        Number H3X00697                     ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
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        Los Angeles, CAlifornia 90067


3.20243 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, UK Subscribing To Policy                                                Litigation
        Number H3X00826                     ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
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        Los Angeles, CAlifornia 90067


3.20244 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, Uk Subscribing To Policy                                                Litigation
        Number Pd-10429-04                  ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
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PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.20245 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, UK Subscribing To Policy                                                Litigation
        Number Pivl 19634                   ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
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        Los Angeles, CAlifornia 90067


3.20246 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, UK Subscribing To Policy                                                Litigation
        Number Ptnam1802877                 ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
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        Los Angeles, CAlifornia 90067


3.20247 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, UK Subscribing To Policy                                                Litigation
        Number Wldc80180201                 ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
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        Los Angeles, CAlifornia 90067


3.20248 Certain Underwriters At Lloyd'S Of          VARIOUS                             Wildfire               UNDETERMINED
        London, UK Subscribing To Policy                                                Litigation
        Numberh3X00910                      ACCOUNT NO.: NOT AVAILABLE
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
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        (SBN 284642)
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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20249 Certain Underwriters At Lloyd'S Of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK Subscribing To Unique                                                    Litigation
        Market Reference No.                ACCOUNT NO.: NOT AVAILABLE
        B1230Ap01428A18-16247
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.20250 Certain Underwriters At Lloyd'S Of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK Subscribing To Unique                                                    Litigation
        Market Reference Number             ACCOUNT NO.: NOT AVAILABLE
        Bl28415509Wl8
        Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.20251 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK,                                                              Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        B1230AP56189A17
        TERRY SINGLETON, ESQ. (SBN
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20252 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK, Subscribing to Policy                                                   Litigation
        No. B1230AP56189A17                  ACCOUNT NO.: NOT AVAILABLE
        Ahmed S. Diab (SBN 262319)

        Deborah S. Dixon (SBN 248965)

        Robert J. Chambers II (SBN
        244688)
        Dixon Diab & Chambers LLP
        501 W. Broadway, Suite 800
        San Diego, CA 92101




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20253 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYD'S OF LONDON, UK,                                                              Litigation
        SUBSCRIBING TO POLICY NO.            ACCOUNT NO.: NOT AVAILABLE
        B1230AP56189A17
        ALAN J. JANG SALLY NOMA
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20254 Certain Underwriters at Lloyd's of             VARIOUS                              Wildfire               UNDETERMINED
        London, UK, Subscribing to Policy                                                   Litigation
        No. B1230AP56189A17                  ACCOUNT NO.: NOT AVAILABLE
        John F. Mcguire, Jr., Esq. (Sbn
        69176) Ian C. Fusselman, Esq.
        (Sbn 198917) Brett J. Schreiber,
        Esq. (Sbn 239707)
        Thorsnes Bartolotta Mcguire LLP
        2550 Fifth Avenue, 11th Floor
        San Diego, California 92103


3.20255 Certain Underwriters at Lloyd's of          VARIOUS                                 Wildfire               UNDETERMINED
        London, UK, Subscribing to Policy                                                   Litigation
        No. B1230AP56189A17                 ACCOUNT NO.: NOT AVAILABLE
        Zachary P. Marks (SBN
        284642)Paul A. Casetta {Pro Hoc
        Vice)Alan B, McMaster {Pro Hac
        Vice)Jarelt M. Smith {Pro Hac
        Vice)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, California 90067


3.20256 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS, LONDON                                                                      Litigation
        TERRY SINGLETON, ESQ. (SBN           ACCOUNT NO.: NOT AVAILABLE
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20257 CERTAIN UNDERWRITERS AT                        VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS, LONDON                                                                      Litigation
        STEVEN B. SOLTMANSTEVEN              ACCOUNT NO.: NOT AVAILABLE
        S. NIMONY
        SOLTMAN, LEVITT, FLAHERTY &
        WATTLES LLP
        90 E. THOUSAND OAKS BLVD.,
        STE. 300
        THOUSAND OAKS, CA 91365




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20258 CERTAIN UNDERWRITERS AT                  VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS, LONDON                                                                Litigation
        JOHN F. MCGUIRE, JR., ESQ.     ACCOUNT NO.: NOT AVAILABLE
        (SBN 69176) IAN C.
        FUSSELMAN, ESQ. (SBN 198917)

       BRETT J. SCHREIBER, ESQ.
       (SBN 239707)
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH AVENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.20259 CERTAIN UNDERWRITERS AT                  VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS, LONDON                                                                Litigation
        ALAN J. JANG SALLY NOMA        ACCOUNT NO.: NOT AVAILABLE
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20260 CERTAIN UNDERWRITERS AT                  VARIOUS                              Wildfire               UNDETERMINED
        LLOYDS, LONDON                                                                Litigation
        AHMED S. DIAB (SBN 262319)     ACCOUNT NO.: NOT AVAILABLE

       DEBORAH S. DIXON (SBN
       248965) ROBERT J.
       CHAMBERS II (SBN 244688)
       DIXON DIAB & CHAMBERS LLP
       501 W. BROADWAY, SUITE 800
       SAN DIEGO, CA 92101


3.20261 CERVANTES, BLANCA                        VARIOUS                              Wildfire               UNDETERMINED
        319 CURVA WAY                                                                 Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.20262 CERVANTES, CARMEN                        VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 14271                                                                  Litigation
        SANTA ROSA, CA 95402           ACCOUNT NO.: NOT AVAILABLE


3.20263 CERVANTES, FELIPE                        VARIOUS                              Wildfire               UNDETERMINED
        1811 LAKE ST                                                                  Litigation
        APT C                          ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.20264 CERVANTES, MARGARITA                     VARIOUS                              Wildfire               UNDETERMINED
        3400 JEFFERSON STREET                                                         Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20265 CESAR OROZCO NUNEZ                       VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20266 CESAR OROZCO NUNEZ                       VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FINN     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.20267 CESAR OROZCO NUNEZ                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20268 CESAREO RUIZ                             VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                            Litigation
        ESQJENNIFER L. FIORE,          ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.20269 CESARIO LOPEZ                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20270 CHAD ALLEN WISE (MINOR)                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.20271 CHAD ALLEN WISE (MINOR)                      VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                            Litigation
        (STATE BAR #103252)BRIANNA         ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.20272 CHAD ALLEN WISE (MINOR)                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                 Litigation
        DREYER BABICH BUCCOLA              ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20273 CHAD ALLEN WISE (MINOR)                      VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                      Litigation
        BAR #1999994) (PRO HAE VICE        ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20274 Chad Allen Wise (Minor)                      VARIOUS                              Wildfire               UNDETERMINED
        Ronald L.M. Goldman, Esq. (State                                                  Litigation
        Bar #33422) Diane Marger Moore,    ACCOUNT NO.: NOT AVAILABLE
        Esq. (Fla. Bar #268364) (Pro Hae

        Vice Application Pending)
        Baum Hedlund Aristei & Goldman,
        P.C.
        10940 Wilshire Boulevard., 17th
        Floor
        Los Angeles, California 90024


3.20275 CHAD BOSNELL                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                    Litigation
        71460KHALDOUN A. BAGHDADI          ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20276 CHAD BOSNELL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                    Litigation
        SBN: 110909ANDREA R.          ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20277 CHAD BOSNELL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20278 CHAD BOSNELL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20279 CHAD BOSNELL                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20280 CHAD CONWAY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20281 CHAD CONWAY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20282 CHAD CONWAY                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20283 CHAD CONWAY                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20284 CHAD SCACCIA                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20285 CHAD SCACCIA                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.20286 CHAD SEBESIAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20287 CHAD SEBESIAN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20288 CHAD SEBESIAN                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20289 CHAD SEBESIAN                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20290 CHAD SEBESIAN                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20291 CHAD SIBILIA                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20292 CHAD SIBILIA                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.20293 CHAMBERLAIN, JANICE                     VARIOUS                              Wildfire               UNDETERMINED
        3027 HOME ROAD                                                               Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.20294 CHAMBERS, DOUGLAS                       VARIOUS                              Wildfire               UNDETERMINED
        297 THEODOR LN                                                               Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20295 CHAMNESS, LAUREL                        VARIOUS                              Wildfire               UNDETERMINED
        1514 BRANCH OWL PLACE                                                        Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.20296 CHAN PAIL HONKIT                        VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20297 CHANEL PEREZ                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                     Litigation
        BRYSONKEVIN M. POLLACK        ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20298 CHANEL PEREZ                            VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                              Litigation
        EDGAR LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.20299 CHANTAL MANN                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                   Litigation
        ZUMMERAMANDA J.               ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20300 CHANTAL MANN                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20301 CHANTAL MANN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                                    Account Number                            Claim

Wildfire Claims

3.20302 CHANTAL MANN                                     VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                          Litigation
        APPLICATION                            ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20303 Chantell Estess, individually and as             VARIOUS                              Wildfire               UNDETERMINED
        trustee of the Michael Estess Living                                                  Litigation
        Trust                                  ACCOUNT NO.: NOT AVAILABLE
        Michael S. Danko - Bar No.
        111359 Kristine K. Meredith -
        Bar No. 158243 Shawn R. Miller-
        Bar No. 238447
        Danko Meredith
        333 Twin Dolphin Drive, Suite 145
        Redwood Shores, CA 94065


3.20304 CHANTELL ESTESS,                                 VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND AS TRUSTEE                                                           Litigation
        OF THE MICHAEL ESTESS                  ACCOUNT NO.: NOT AVAILABLE
        LIVING TRUST
        ERIC GIBBS - BAR NO. 178658

        DYLAN HUGHES- BAR NO.
        209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20305 Chantell Estess, individually and as             VARIOUS                              Wildfire               UNDETERMINED
        trustee of the Michael Estess Living                                                  Litigation
        Trust                                  ACCOUNT NO.: NOT AVAILABLE
        Dario De Ghetaldi - Bar No.
        126782 Amanda L. Riddle - Bar
        No. 215221 Steven M. Berki -
        Bar No. 245426 Sumble
        Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20306 CHANTELL ESTESS,                               VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND AS TRUSTEE                                                         Litigation
        OF THE MICHAEL ESTESS                ACCOUNT NO.: NOT AVAILABLE
        LIVING TRUST
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20307 CHAPEL CLARK                                   VARIOUS                              Wildfire               UNDETERMINED
        EUSTACE DE SAINT                                                                    Litigation
        PHALLEJOSEPH R. LUCIA                ACCOUNT NO.: NOT AVAILABLE
        RAINS LUCIA STERN ST.
        PRALLE & SILVER, PC
        2300 CONTRA COSTA BLVD.,
        SUITE 500
        PLEASANT HILL, CA 94523


3.20308 Chapman, Barbara Joan;                         VARIOUS                              Wildfire               UNDETERMINED
        McSweeney, Anne Shirley;                                                            Litigation
        Chapman, Clyde Macon, Jr. (As An     ACCOUNT NO.: NOT AVAILABLE
        Individual, And As Trustee Of The
        Clyde M. Chapman Jr. Living Trust)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.20309 CHAPMAN, BARBARA JOAN;                         VARIOUS                              Wildfire               UNDETERMINED
        MCSWEENEY, ANNE SHIRLEY;                                                            Litigation
        CHAPMAN, CLYDE MACON, JR.            ACCOUNT NO.: NOT AVAILABLE
        (AS AN INDIVIDUAL, AND AS
        TRUSTEE OF THE CLYDE M.
        CHAPMAN JR. LIVING TRUST)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20310 Chapman, Barbara Joan;                         VARIOUS                              Wildfire               UNDETERMINED
        McSweeney, Anne Shirley;                                                            Litigation
        Chapman, Clyde Macon, Jr. (As An     ACCOUNT NO.: NOT AVAILABLE
        Individual, And As Trustee Of The
        Clyde M. Chapman Jr. Living Trust)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20311 CHAPMAN, MARGARET                          VARIOUS                              Wildfire               UNDETERMINED
        725 ADOBE CANYON ROAD                                                           Litigation
        KENWOOD, CA 95452                ACCOUNT NO.: NOT AVAILABLE


3.20312 CHAPRALIS, STEVE                           VARIOUS                              Wildfire               UNDETERMINED
        9244 OAK TRAIL CIRCLE                                                           Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.20313 CHARDONNAY TELLY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20314 CHARDONNAY TELLY                           VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.20315 CHARDONNAY TELLY                           VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.20316 CHARDONNAY TELLY                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20317 CHARDONNAY TELLY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20318 CHARGIN, DENNIS ANTHONY           VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.20319 CHARGIN, DENNIS ANTHONY                   VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20320 CHARGIN, DENNIS ANTHONY                   VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20321 CHARIS RASPI                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20322 CHARIS RASPI                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.20323 CHARIS RASPI                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.20324 CHARIS RASPI                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20325 CHARITO SANTO-DOMINGO                    VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                      Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.20326 CHARLENE DEMARTINI                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20327 CHARLENE DEMARTINI                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20328 CHARLENE DEMARTINI                       VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20329 CHARLENE DEMARTINI                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20330 CHARLENE DEMARTINI                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20331 Charlene Dobrow                                VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                        Litigation
        application anticipated)Guy Watts    ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.20332 CHARLENE DOBROW                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                            Litigation
        NO. 197687)                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.20333 Charlene Lunny                                 VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.20334 CHARLENE LUNNY                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20335 CHARLENE LUNNY                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612

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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20336 CHARLENE M. BRASHER                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20337 CHARLENE M. BRASHER                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20338 CHARLENE M. BRASHER                      VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20339 CHARLENE M. BRASHER                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20340 CHARLENE PERRY                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20341 CHARLENE PERRY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20342 CHARLENE PERRY                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20343 CHARLENE PERRY                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20344 CHARLENE PERRY                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20345 CHARLENE PETERS                          VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.20346 CHARLENE PETERS                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.20347 CHARLENE PETERS                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20348 CHARLES ALLEN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20349 CHARLES ALLEN                             VARIOUS                              Wildfire               UNDETERMINED
        KEVIN 0. MOON, STATE BAR                                                       Litigation
        NO. 246792CHRISTOPHER D.        ACCOUNT NO.: NOT AVAILABLE
        MOON, STATE BAR NO. 246622
        MOON LAW APC
        499 SEAPORT COURT, SUITE 200
        REDWOOD CITY, CALIFORNIA
        94063


3.20350 CHARLES ALLEN                             VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.20351 CHARLES ALLEN                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20352 CHARLES ALLEN                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20353 CHARLES BADGER                            VARIOUS                              Wildfire               UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                       Litigation
        D. GREENSCOTT R.                ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20354 CHARLES BANKS                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                        Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20355 CHARLES BANKS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.20356 CHARLES BANKS                            VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.20357 CHARLES BLACKBURN                        VARIOUS                              Wildfire               UNDETERMINED
        SCHUBERT JONCKHEER &                                                          Litigation
        KOLBE LLP                      ACCOUNT NO.: NOT AVAILABLE
        THREE EMBARCADERO
        CENTER, SUITE 1650
        SAN FRANCISCO, CA 94111


3.20358 CHARLES BRIDENHAGEN                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20359 CHARLES BRIDENHAGEN                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20360 CHARLES BRIDENHAGEN                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20361 CHARLES BRIDENHAGEN                      VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20362 CHARLES BRUGGER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20363 CHARLES BRUGGER                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.20364 CHARLES BRUGGER                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20365 CHARLES BRUGGER                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20366 CHARLES C WILLIAMS                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20367 CHARLES C WILLIAMS                      VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20368 CHARLES C WILLIAMS                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20369 CHARLES C WILLIAMS                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20370 CHARLES C WILLIAMS                      VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20371 CHARLES CAREY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20372 CHARLES CAREY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20373 CHARLES CAREY                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20374 CHARLES CAREY                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20375 CHARLES CARROLL                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.20376 CHARLES CARROLL                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20377 CHARLES CARROLL                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20378 CHARLES CARROLL                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.20379 CHARLES COEL                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.20380 CHARLES COEL                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.20381 CHARLES COEL                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20382 CHARLES COEL                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.20383 CHARLES COEL                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20384 CHARLES COLLINS                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20385 CHARLES COLLINS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20386 CHARLES COLLINS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20387 CHARLES COLLINS                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20388 CHARLES COTTRELL                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERRENCE                                                      Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CA 94104




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20389 CHARLES COTTRELL                        VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                      Litigation
        E. DAVIS KEVIN M. OSBORNE     ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105


3.20390 CHARLES DILLON                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20391 CHARLES DUNN                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20392 CHARLES DUNN                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20393 CHARLES DUNN                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20394 CHARLES DUNN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20395 CHARLES DUNN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20396 CHARLES DUNN                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20397 CHARLES DUNN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20398 CHARLES DUNN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20399 CHARLES DUNN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20400 CHARLES F. BALDWIN                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20401 CHARLES F. BALDWIN                       VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20402 CHARLES F. BALDWIN                       VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20403 CHARLES F. BALDWIN                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20404 CHARLES FAIRCHILD                        VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20405 CHARLES FAIRCHILD                        VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20406 CHARLES FAIRCHILD                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20407 CHARLES FAIRCHILD                        VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20408 CHARLES FAIRCHILD                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20409 CHARLES FORQUER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20410 CHARLES FORQUER                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20411 CHARLES FORQUER                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20412 CHARLES FORQUER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20413 CHARLES GANELESS LEVINE                   VARIOUS                              Wildfire               UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                       Litigation
        D. GREENSCOTT R.                ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401


3.20414 CHARLES HILL                              VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20415 CHARLES HOGAN                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.20416 CHARLES HOGAN                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                     Litigation
        COTCHETTALISON E.            ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20417 CHARLES HOLMES                       VARIOUS                                Wildfire               UNDETERMINED
        ELIZABETH J. CABRASERLEXI                                                   Litigation
        J. HAZAMROBERT J.            ACCOUNT NO.: NOT AVAILABLE
        NELSONANNIKA K.
        MARTINABBY R. WOLF
        LIEFF CABRASER HEIMANN &
        BERNSTEIN LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CA 94111-3339


3.20418 CHARLES HOLSTROM                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                   Litigation
        PENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.20419 CHARLES HOLSTROM                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                    Litigation
        VASQUEZ AMANDA LOCURTO       ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.20420 CHARLES HOLSTROM                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                  Litigation
                                     ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20421 CHARLES HOLSTROM                         VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.20422 CHARLES HOLSTROM                         VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20423 CHARLES HOLSTROM                         VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20424 CHARLES HUFFMAN                          VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.20425 CHARLES HUFFMAN                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20426 CHARLES HUFFMAN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20427 CHARLES HUFFMAN                          VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014



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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.20428 CHARLES J. BLU                              VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                             Litigation
        296101)ROBERT T. BRYSON           ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20429 CHARLES JOHNSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20430 CHARLES JOHNSON                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20431 CHARLES JOHNSON                             VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                         Litigation
        315962)TODD LOGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.20432 Charles Johnson                             VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20433 CHARLES KEEN                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20434 CHARLES KEEN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20435 CHARLES KEEN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20436 CHARLES KEEN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20437 CHARLES KINCAID                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20438 CHARLES KINCAID                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20439 CHARLES KINCAID                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20440 CHARLES KINCAID                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20441 CHARLES KINCAID                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20442 CHARLES KIPP                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20443 CHARLES KIPP                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20444 CHARLES KIPP                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20445 CHARLES KIPP                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20446 CHARLES L. PIERRO                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20447 CHARLES L. PIERRO                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20448 CHARLES L. PIERRO                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20449 CHARLES L. PIERRO                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20450 CHARLES L. PIERRO                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.20451 CHARLES LAFON                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON &PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20452 CHARLES LAFON                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204COELL M. SIMMONS,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #292218
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.20453 CHARLES LAFON                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.20454 CHARLES LAFON                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS, ESQ., #161563                                                   Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.20455 CHARLES LINDNER                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20456 CHARLES LINDNER                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.20457 CHARLES LINDNER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.20458 CHARLES LIQUORI                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20459 CHARLES LIQUORI                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20460 CHARLES LIQUORI                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20461 CHARLES LIQUORI                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20462 CHARLES LOMAS                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.20463 CHARLES LOMAS                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20464 CHARLES M ROBERTSON                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20465 CHARLES M ROBERTSON                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20466 CHARLES M ROBERTSON                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928



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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20467 CHARLES M ROBERTSON                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20468 CHARLES M ROBERTSON                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20469 CHARLES MILES                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20470 CHARLES MILES                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20471 CHARLES MITCHELL                        VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.20472 CHARLES MITCHELL                        VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20473 CHARLES MITCHELL                        VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.20474 CHARLES P KELLY                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20475 CHARLES P KELLY                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20476 CHARLES P KELLY                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20477 CHARLES P KELLY                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20478 CHARLES P KELLY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20479 CHARLES PECK                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20480 CHARLES PECK                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20481 CHARLES PECK                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20482 CHARLES PECK                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20483 CHARLES PECK                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20484 CHARLES PFENNING                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20485 CHARLES PFENNING                        VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20486 CHARLES PFENNING                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20487 CHARLES PFENNING                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20488 CHARLES PFENNING                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20489 CHARLES PHILLIPS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20490 CHARLES PHILLIPS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20491 CHARLES PHILLIPS                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20492 CHARLES PHILLIPS                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20493 CHARLES RICE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20494 CHARLES RICE                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20495 CHARLES RICE                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20496 CHARLES RICE                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20497 CHARLES RIPPEY                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20498 CHARLES RIPPEY                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.20499 CHARLES SANCHEZ                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20500 CHARLES SANCHEZ                         VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.20501 CHARLES SANCHEZ                         VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20502 CHARLES SANCHEZ                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                   Litigation
        248092)JACK W. WEAVER,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.20503 CHARLES SHANE LIKENS                     VARIOUS                              Wildfire               UNDETERMINED
        LOVELADY                                                                      Litigation
        MUHAMMAD S. AZIZ               ACCOUNT NO.: NOT AVAILABLE
        ABRAHAM, WATKINS, NICHOLS,
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.20504 CHARLES SHANE LIKENS                     VARIOUS                              Wildfire               UNDETERMINED
        LOVELADY                                                                      Litigation
        JAMES P. FRANTZPHILIP C.       ACCOUNT NO.: NOT AVAILABLE
        AMANWILLIAM P. HARRIS
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20505 CHARLES SIGISMUND                        VARIOUS                              Wildfire               UNDETERMINED
        H. STEVEN BURNSIDE, ESQ                                                       Litigation
        LAW OFFICE OF STEVEN           ACCOUNT NO.: NOT AVAILABLE
        BURNSIDE
        2211 PARK BLVD.
        PALO ALTO, CA 94306


3.20506 CHARLES SIGISMUND                        VARIOUS                              Wildfire               UNDETERMINED
        DAN PRICE                                                                     Litigation
        LAW OFFICE OF DAN PRICE        ACCOUNT NO.: NOT AVAILABLE
        260 SHERIDAN AVE., SUITE 208
        PALO ALTO, CA 94306


3.20507 CHARLES VAN AUKEN                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20508 CHARLES VAN AUKEN                        VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20509 CHARLES VAN AUKEN                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20510 CHARLES VAN AUKEN                        VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20511 CHARLES VANDEVENTER                      VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20512 CHARLES VANDEVENTER                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.20513 CHARLES W GILBERT                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20514 CHARLES W GILBERT                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20515 CHARLES W GILBERT                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20516 CHARLES W GILBERT                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20517 CHARLES W GILBERT                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20518 CHARLES WALTER, JR.                      VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.20519 CHARLES WALTER, JR.                      VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20520 CHARLES WALTERS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20521 CHARLES WALTERS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.20522 CHARLES WALTERS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20523 CHARLES WALTERS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20524 CHARLES WALTERS                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20525 CHARLES WOOD                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                          Litigation
        STATE BAR NO. 296841)PAIGE       ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20526 CHARLES WOOD                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.20527 CHARLES WRIGHT                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20528 CHARLES WRIGHT                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20529 CHARLES WRIGHT                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20530 CHARLES WRIGHT                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20531 CHARLIE CRONIN                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.20532 CHARLIE CRONIN                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.20533 CHARLIE CRONIN                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20534 CHARLIE CRONIN                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.20535 CHARLIE CRONIN                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20536 CHARLIE GREENE                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20537 CHARLIE GREENE                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20538 CHARLIE MOFFATT                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20539 CHARLIE MOFFATT                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20540 CHARLIE MOFFATT                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20541 CHARLIE MOFFATT                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.20542 CHARLOTTE BANUELOS                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20543 CHARLOTTE BANUELOS                     VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                  Litigation
        054426)                      ACCOUNT NO.: NOT AVAILABLE
        ROBINSON CALCAGNIE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.20544 CHARLOTTE BANUELOS                     VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER, ESQ.                                                     Litigation
        (SBN: 104173)                ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.20545 CHARLOTTE BANUELOS                     VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                   Litigation
        160461)                      ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.20546 CHARLOTTE BANUELOS                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20547 CHARLOTTE BOSTON                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20548 CHARLOTTE BOSTON                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20549 CHARLOTTE BOSTON                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20550 CHARLOTTE BOSTON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20551 CHARLOTTE BOSTON                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20552 CHARLOTTE BROCKMAN                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20553 CHARLOTTE BROCKMAN                        VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.20554 CHARLOTTE BROCKMAN                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.20555 CHARLOTTE BROCKMAN                     VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                     Litigation
        60768ANGELA JAE CHUN, SBN    ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.20556 CHARLOTTE FREER                        VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20557 CHARLOTTE FREER                        VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.20558 CHARLOTTE LEE                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                    Litigation
        BRYSONKEVIN M. POLLACK       ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20559 CHARLOTTE MARIE                        VARIOUS                              Wildfire               UNDETERMINED
        WILSON,INDIVIDUALLY AND AS                                                  Litigation
        TRUSTEE OF THE C-YA LATER    ACCOUNT NO.: NOT AVAILABLE
        TRUST
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20560 CHARLOTTE MARIE                           VARIOUS                              Wildfire               UNDETERMINED
        WILSON,INDIVIDUALLY AND AS                                                     Litigation
        TRUSTEE OF THE C-YA LATER       ACCOUNT NO.: NOT AVAILABLE
        TRUST
        THOMAS TOSDAL, SBN 67834
        TOSDAL LAW FIRM
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.20561 CHARLOTTE MARIE                           VARIOUS                              Wildfire               UNDETERMINED
        WILSON,INDIVIDUALLY AND AS                                                     Litigation
        TRUSTEE OF THE C-YA LATER       ACCOUNT NO.: NOT AVAILABLE
        TRUST
        DAVID S. CASEY, JR., SBN
        60768ANGELA JAE CHUN, SBN
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.20562 CHARLOTTE MARIE                           VARIOUS                              Wildfire               UNDETERMINED
        WILSON,INDIVIDUALLY AND AS                                                     Litigation
        TRUSTEE OF THE C-YA LATER       ACCOUNT NO.: NOT AVAILABLE
        TRUST
        MICHAEL S. FEINBERG, SBN
        81867
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.20563 CHARLOTTE RAMONA HORNE                    VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.20564 CHARLOTTE RAMONA HORNE                    VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.20565 CHARLOTTE SWEATT                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20566 CHARLOTTE SWEATT                       VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                          Litigation
        DANIELS LAW                  ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.20567 CHARLOTTE SWEATT                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20568 CHARLOTTE SWEATT                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20569 CHARLOTTE SWEATT                       VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                  Litigation
        54426) DANIEL S. ROBINSON    ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.20570 CHARLOTTE WOOD                         VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                   Litigation
        SIMES RACHEL B.              ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20571 CHARLOTTE WOOD                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20572 CHARLOTTE WOOD                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.20573 CHARLSEY CARTWRIGHT                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20574 CHARLSEY CARTWRIGHT                      VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20575 CHARLSEY CARTWRIGHT                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20576 CHARLSEY CARTWRIGHT                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20577 CHARLYENE CISNEROS                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.20578 CHARLYENE CISNEROS                       VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20579 CHARMAINE POPE                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20580 CHARMAINE POPE                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20581 CHARMAINE POPE                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20582 CHARMAINE POPE                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20583 CHARMAINE POPE                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20584 CHASTAIN, SAMUEL CURTIS (AS             VARIOUS                              Wildfire               UNDETERMINED
        AN INDIVIDUAL, AND AS                                                        Litigation
        TRUSTEE OF THE SAMUEL         ACCOUNT NO.: NOT AVAILABLE
        CHASTAIN REVOCABLE TRUST)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20585 CHASTAIN, SAMUEL CURTIS (AS         VARIOUS                                  Wildfire               UNDETERMINED
        AN INDIVIDUAL, AND AS                                                        Litigation
        TRUSTEE OF THE SAMUEL       ACCOUNT NO.: NOT AVAILABLE
        CHASTAIN REVOCABLE TRUST)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.20586 CHASTAIN, SAMUEL CURTIS (AS             VARIOUS                              Wildfire               UNDETERMINED
        AN INDIVIDUAL, AND AS                                                        Litigation
        TRUSTEE OF THE SAMUEL         ACCOUNT NO.: NOT AVAILABLE
        CHASTAIN REVOCABLE TRUST)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20587 CHAUHAN, DEEPTY                         VARIOUS                              Wildfire               UNDETERMINED
        1455 NIGHTHAWK DRIVE                                                         Litigation
        5                             ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20588 CHAUNCE THORBURG                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20589 CHAUNCE THORBURG                         VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.20590 CHAUNCE THORBURG                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.20591 CHAUNCE THORBURG                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20592 CHAVEZ BRAVO, ELIO                       VARIOUS                              Wildfire               UNDETERMINED
        16959 CEDAR COURT                                                             Litigation
        2                              ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476


3.20593 CHAVEZ, ADRIAN; CHAVEZ,           VARIOUS                                     Wildfire               UNDETERMINED
        RACHELLE; MURELLO,                                                            Litigation
        CHRISTOPHER; MURELLO,     ACCOUNT NO.: NOT AVAILABLE
        EVELYN
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20594 CHAVEZ, ADRIAN; CHAVEZ,                 VARIOUS                              Wildfire               UNDETERMINED
        RACHELLE; MURELLO,                                                           Litigation
        CHRISTOPHER; MURELLO,         ACCOUNT NO.: NOT AVAILABLE
        EVELYN
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20595 CHAVEZ, ADRIAN; CHAVEZ,                 VARIOUS                              Wildfire               UNDETERMINED
        RACHELLE; MURELLO,                                                           Litigation
        CHRISTOPHER; MURELLO,         ACCOUNT NO.: NOT AVAILABLE
        EVELYN
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20596 CHAVEZ, HEATHER                         VARIOUS                              Wildfire               UNDETERMINED
        3989 SHADOWHILL DRIVE                                                        Litigation
        SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.20597 CHAVEZ, JOSE                            VARIOUS                              Wildfire               UNDETERMINED
        5510 MULBERRY DR                                                             Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.20598 CHAVEZ, JUAN                            VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 1578                                                                Litigation
        BOYES HOT SPRINGS, CA 95416   ACCOUNT NO.: NOT AVAILABLE


3.20599 CHAVEZ, RAUL                            VARIOUS                              Wildfire               UNDETERMINED
        18014 POPLAR AVE                                                             Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.20600 CHAVEZ, SYKVIA                          VARIOUS                              Wildfire               UNDETERMINED
        1109 FOOTHILL BLVD APT 2                                                     Litigation
        CALISTOGA, CA 94515           ACCOUNT NO.: NOT AVAILABLE


3.20601 CHAVEZ, TERESA                          VARIOUS                              Wildfire               UNDETERMINED
        18238 LUCAS AVE                                                              Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20602 CHEE THAO                                VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20603 CHEE THAO                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20604 CHEE THAO                                VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20605 CHEE THAO                                VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20606 CHELI, STEPHANIE                         VARIOUS                              Wildfire               UNDETERMINED
        2016 WEST STEELE LN                                                           Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.20607 CHELLSEE LENDE                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20608 CHELLSEE LENDE                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20609 CHELLSEE LENDE                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20610 CHELLSEE LENDE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20611 CHELLSEE LENDE                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20612 CHELSEA HYDRICK                          VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD,                                                         Litigation
        ESQ.MICHAEL H. ARTINIAN,       ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.20613 CHELSEA HYDRICK                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                   Litigation
        C. AMAN, ESQ.WILLIAM P.        ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20614 CHELSEA HYDRICK                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.20615 CHELSEA MATZ                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20616 CHELSEA MATZ                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20617 CHELSEA MATZ                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20618 CHELSEA MATZ                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20619 CHELSIE CRISP HART                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20620 CHELSIE CRISP HART                         VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20621 CHELSIE CRISP HART                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20622 CHELSIE CRISP HART                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.20623 CHELSIE CRISP HART                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20624 CHELSY R. BUTLER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20625 CHELSY R. BUTLER                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20626 CHELSY R. BUTLER                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20627 CHELSY R. BUTLER                         VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20628 CHELYL MARTIN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20629 CHELYL MARTIN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20630 CHELYL MARTIN                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20631 CHELYL MARTIN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20632 CHELYL MARTIN                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20633 CHEN, GENGLIANG                          VARIOUS                              Wildfire               UNDETERMINED
        1473 HAWK CREST PL                                                            Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.20634 CHEN, SI DA                              VARIOUS                              Wildfire               UNDETERMINED
        4754 OLD REDWOOD HWY                                                          Litigation
        462                            ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.20635 CHENG TSUI, CHI YUENG                    VARIOUS                              Wildfire               UNDETERMINED
        500 LOUISE WAY                                                                Litigation
        APT 211                        ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476


3.20636 CHERI BRAKENSIEK                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20637 CHERI BRAKENSIEK                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20638 CHERI BRAKENSIEK                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20639 CHERI BRAKENSIEK                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20640 CHERI HAGANEY                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20641 CHERI HAGANEY                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20642 CHERI HAGANEY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20643 CHERI HAGANEY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20644 CHERI MERCER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20645 CHERI MERCER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20646 CHERI MERCER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20647 CHERI MERCER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20648 CHERI MERCER                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20649 CHERIE BURNS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20650 CHERIE BURNS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20651 CHERIE BURNS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20652 CHERIE BURNS                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                   Litigation
        87492WILLIAM P. HARRIS III,   ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.20653 CHERIE BURNS                            VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                  Litigation
        SBN 119554MICHAEL H.          ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20654 CHERIE DEASEE                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                   Litigation
        ZUMMERAMANDA J.               ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20655 CHERIE DEASEE                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20656 CHERIE DEASEE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20657 CHERIE DEASEE                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20658 CHERIE WELCH                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20659 CHERIE WELCH                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20660 CHERIE WELCH                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20661 CHERIE WELCH                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20662 CHERIE WELCH                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20663 CHERIE WELCH                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20664 CHERIE WELCH                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20665 CHERIE WELCH                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20666 CHERIE WELCH                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20667 CHERIE WELCH                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20668 CHERIFF, LAURIE                         VARIOUS                              Wildfire                UNDETERMINED
        5774 OWL LIGHT TERRACE                                                       Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.20669 CHERISH CRAM                            VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20670 CHERISH MICHAEL                         VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20671 CHERISH MICHAEL                         VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.20672 CHERISSE CASTELLANOS                    VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20673 CHERYL ANN WILKINSON                    VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20674 CHERYL ANN WILKINSON                     VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20675 CHERYL ANN WILKINSON                     VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20676 CHERYL ANN WILKINSON                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20677 CHERYL BECKER                            VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20678 CHERYL BROMAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20679 CHERYL BROMAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20680 CHERYL BROMAN                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20681 CHERYL BROMAN                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20682 CHERYL CHOATE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20683 CHERYL CHOATE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20684 CHERYL CHOATE                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20685 CHERYL CHOATE                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20686 CHERYL COLLIER                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20687 CHERYL COLLIER                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20688 CHERYL COLLIER                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20689 CHERYL COLLIER                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20690 CHERYL COLLIER                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20691 CHERYL COTTRELL                          VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20692 CHERYL DECKER                            VARIOUS                              Wildfire                UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                      Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.20693 CHERYL HALE                              VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20694 CHERYL HALE                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20695 CHERYL HARRELL                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20696 CHERYL HARRELL                          VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                      Litigation
        (BAR NO. 295951) RACHEL       ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.20697 CHERYL HARRELL                          VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                                Litigation
        NO.254651)JOANNA LEE FOX      ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.20698 CHERYL HARRELL                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20699 CHERYL KAVICKY                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO-BAR NO.                                                     Litigation
        111359KRISTINE K. MEREDITH-   ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 158243SHAWN R.
        MILLER - BAR NO. 23 844 7
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20700 CHERYL KAVICKY                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI- BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE-BAR    ACCOUNT NO.: NOT AVAILABLE
        NO. 215221STEVEN M. BERKI -
        BAR NO. 245426SUMBLE
        MANZOOR- BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20701 CHERYL KAVICKY                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES - BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE 1110
        OAKLAND, CA 94612


3.20702 CHERYL LARMORE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20703 CHERYL LARMORE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.20704 CHERYL LARMORE                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.20705 CHERYL LARMORE                            VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.20706 CHERYL MARIE LYNCH                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20707 CHERYL MARIE LYNCH                       VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.20708 CHERYL MARIE LYNCH                       VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20709 CHERYL MARIE LYNCH                       VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.20710 CHERYL MAYNARD                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20711 CHERYL MAYNARD                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20712 CHERYL MAYNARD                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20713 CHERYL MAYNARD                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20714 CHERYL MCLAIN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20715 CHERYL MCLAIN                             VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.20716 CHERYL MCLAIN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.20717 CHERYL MCLAIN                             VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.20718 CHERYL PERLISS                            VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20719 CHERYL PERLISS                           VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.20720 CHERYL PERLISS                           VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.20721 CHERYL RENWICK                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20722 CHERYL RENWICK                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20723 CHERYL RENWICK                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20724 CHERYL RENWICK                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20725 CHERYL ROWNEY                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20726 CHERYL ROWNEY                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20727 CHERYL ROWNEY                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20728 CHERYL ROWNEY                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20729 CHESTER COLLINS                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20730 CHESTER COLLINS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359 KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20731 CHESTER COLLINS                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                     Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20732 CHESTER SPRING                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20733 CHESTER SPRING                             VARIOUS                              Wildfire                UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.20734 CHESTER SPRING                             VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.20735 CHESTER SPRING                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20736 CHESTER SPRING                           VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                     Litigation
        160461)                        ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.20737 CHEYENE SANDERS                          VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.20738 CHEYENE SANDERS                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20739 CHEYENNE MALELU                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20740 CHEYENNE MALELU                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20741 CHEYENNE MALELU                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20742 Cheyenne Malelu                            VARIOUS                              Wildfire                UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                      Litigation
        083151)Robert J. Nelson (SBN     ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, CA 92101


3.20743 CHEYENNE REYNDERS                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20744 CHEYENNE REYNDERS                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20745 CHEYENNE REYNDERS                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20746 CHEYENNE REYNDERS                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20747 CHIADO, RANDY                              VARIOUS                              Wildfire                UNDETERMINED
        7921 OAKMONT DR                                                                 Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.20748 CHIPPEWA PEST CONTROL INC.                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20749 CHIPPEWA PEST CONTROL INC.                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20750 CHIPPEWA PEST CONTROL INC.                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.20751 CHIPPEWA PEST CONTROL INC.                 VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20752 CHIPPEWA PEST CONTROL INC.                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20753 CHIRAPORN TATUM                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20754 CHIRAPORN TATUM                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20755 CHIRAPORN TATUM                          VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20756 CHIRAPORN TATUM                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20757 CHISTINA LYN GUARINO                     VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20758 CHISTINA LYN GUARINO                     VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20759 CHISTINA LYN GUARINO                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20760 CHISTINA LYN GUARINO                    VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20761 CHLOE CORNELISON                        VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                       Litigation
        SHEARJASON BOYER              ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.20762 CHLOE CORNELISON                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20763 CHLOE CORNELISON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20764 CHLOE CORNELISON                        VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20765 CHLOE CORNELISON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.20766 CHLOE COX                                  VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782 AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.20767 CHLOE COX                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359 KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.20768 CHLOE COX                                  VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                     Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.20769 CHLOE PATRICIA GROOM                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                      Litigation
        STATE BAR NO. 157400)            ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20770 CHLOE PATRICIA GROOM                     VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.20771 CHLOE PATRICIA GROOM                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20772 CHLOE PATRICIA GROOM                     VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20773 CHOLE E. RYAN (A MINOR)                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20774 CHOLE E. RYAN (A MINOR)                  VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20775 CHOLE E. RYAN (A MINOR)                  VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20776 CHOLE E. RYAN (A MINOR)                 VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.20777 CHONG, SIEW CHUEN                       VARIOUS                              Wildfire                UNDETERMINED
        11291 PATTERSON DR                                                           Litigation
        CLEARLAKE, CA 95422           ACCOUNT NO.: NOT AVAILABLE


3.20778 CHOPPELAS, JUDY                         VARIOUS                              Wildfire                UNDETERMINED
        10917 SHADOW LANE                                                            Litigation
        COLUMBIA, CA 21044            ACCOUNT NO.: NOT AVAILABLE


3.20779 CHRIS DELOREAN                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20780 CHRIS DELOREAN                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20781 CHRIS DELOREAN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20782 CHRIS DELOREAN                          VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20783 CHRIS DELOREAN                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20784 CHRIS DOLAN                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.20785 CHRIS DOLAN                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.20786 CHRIS DOLAN                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.20787 CHRIS DUNCAN                             VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                          Litigation
        #109455LAURA E. BROWN          ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720




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   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20788 CHRIS DUNCAN                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20789 CHRIS DUNCAN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20790 CHRIS DUNCAN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.20791 CHRIS DUNCAN                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20792 CHRIS EUGENE PAUL                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20793 CHRIS EUGENE PAUL                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                    Litigation
        APPLICATION                      ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20794 CHRIS EUGENE PAUL                       VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                    Litigation
        BAR NO. 154226)               ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20795 CHRIS EUGENE PAUL                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20796 CHRIS FRANKLIN                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20797 CHRIS FRANKLIN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20798 CHRIS FRANKLIN                          VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                    Litigation
        160461)                       ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.20799 CHRIS FRANKLIN                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH FEIST -- SBN                                                          Litigation
        249447JONATHAN J.             ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20800 CHRIS FRANKLIN                             VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.20801 CHRIS FREEDHEIM                            VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.20802 CHRIS FREEDHEIM                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.20803 CHRIS GRIFFITH                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20804 CHRIS GRIFFITH                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.20805 CHRIS GRIFFITH                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                         Litigation
        111359KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20806 CHRIS GRIFFITH                                VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                               Litigation
        178658DYLAN HUGHES- BAR             ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20807 Chris Malan                                   VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.20808 CHRIS MALAN                                   VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.20809 CHRIS MANGRUM                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                           Litigation
        A. BAGHDADI                         ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20810 CHRIS MANGRUM                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                           Litigation
        81867                               ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20811 CHRIS MANGRUM                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                      Litigation
        TOSDAL LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.20812 CHRIS MANGRUM                            VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN      ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.20813 CHRIS MARTIN                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20814 CHRIS MARTIN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20815 CHRIS MARTIN                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20816 CHRIS MARTIN                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.20817 CHRIS MARTIN                                VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                            Litigation
        VICE PENDINGTEXAS BAR NO.         ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20818 CHRIS MILLER                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20819 CHRIS MILLER                                VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREALISON E.                                                          Litigation
        CORDOVADONALD J.                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.20820 CHRIS MILLER                                VARIOUS                              Wildfire                UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.20821 CHRIS MILLER                                VARIOUS                              Wildfire                UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.20822 CHRIS MILLER                                VARIOUS                              Wildfire                UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.20823 CHRIS PAUL                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                 Litigation
        WALKUP, MELODIA, KELLY &          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20824 CHRIS PAUL                                  VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                            Litigation
        VICE PENDINGTEXAS BAR NO.         ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20825 CHRIS PAUL                                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20826 CHRIS PAUL                                  VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                     Litigation
        BAR #1999994) (PRO HAE VICE       ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20827 CHRIS PAUL                                  VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                     Litigation
        262319)DEBORAH S. DIXON           ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20828 CHRIS PICKETT'                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20829 CHRIS PICKETT'                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20830 CHRIS PICKETT'                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20831 CHRIS PICKETT'                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.20832 CHRIS PICKETT'                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20833 CHRIS SMITH                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                     Litigation
        SBN: 110909ANDREA R.           ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20834 CHRIS SMITH                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20835 CHRIS SMITH                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20836 CHRIS SMITH                                VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20837 CHRIS SMITH                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.20838 CHRIS WEIR                                 VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM F. MERLIN, JR.DENISE                                                    Litigation
        HSU SZESTEPHANIE POLI            ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.20839 CHRIS WEIR                                 VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                       Litigation
        SIMES RACHEL B.                  ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20840 CHRISPIN SHAUGHNESSY                      VARIOUS                              Wildfire                UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                    Litigation
        116060RAHUL RAVIPUDI,           ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.20841 CHRISPIN SHAUGHNESSY                      VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                      Litigation
        NO. 100077                      ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.20842 CHRISPIN SHAUGHNESSY                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                    Litigation
        NO. 71460                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.20843 CHRISTEL REZA                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.20844 CHRISTEL REZA                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20845 CHRISTEL REZA                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20846 CHRISTEL REZA                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                 Litigation
        DEMAS LAW GROUP, P.C.          ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.20847 CHRISTI SANTOS                           VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.20848 CHRISTI SANTOS                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20849 CHRISTI SANTOS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20850 CHRISTI SANTOS                           VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.20851 CHRISTIAN EUGENIO                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20852 CHRISTIAN EUGENIO                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.20853 CHRISTIAN EUGENIO                        VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20854 CHRISTIAN EUGENIO                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.20855 CHRISTIAN EUGENIO                        VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20856 CHRISTIAN GAFFIELD                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.20857 CHRISTIAN GAFFIELD                       VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20858 CHRISTIAN GAFFIELD                       VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20859 CHRISTIAN GAFFIELD                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.20860 CHRISTIAN GAFFIELD                       VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20861 CHRISTIAN HUCKABEE                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20862 CHRISTIAN HUCKABEE                       VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20863 CHRISTIAN HUCKABEE                       VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20864 CHRISTIAN HUCKABEE                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20865 CHRISTIAN MAYO                           VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20866 CHRISTIAN PALMAZ                         VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERRENCE                                                      Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CA 94104


3.20867 CHRISTIAN PALMAZ                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                       Litigation
        E. DAVIS KEVIN M. OSBORNE      ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105


3.20868 CHRISTIAN-MARIE R. FOSTER                VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                 Litigation
        TOSDAL LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20869 CHRISTIAN-MARIE R. FOSTER                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.20870 CHRISTIAN-MARIE R. FOSTER                 VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.20871 CHRISTIE LYNNE MCMENOMY                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20872 CHRISTIE LYNNE MCMENOMY                   VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20873 CHRISTIE LYNNE MCMENOMY                   VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20874 CHRISTIE LYNNE MCMENOMY                   VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928



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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20875 CHRISTINA ARECHAR                          VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.20876 CHRISTINA ARECHAR                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.20877 CHRISTINA ARECHAR                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20878 CHRISTINA ARECHAR                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20879 CHRISTINA ARECHAR                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20880 CHRISTINA BOONE                            VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.20881 CHRISTINA BOONE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20882 CHRISTINA BOONE                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20883 CHRISTINA BOONE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.20884 CHRISTINA BOONE                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20885 CHRISTINA DE HERNANDEZ                     VARIOUS                              Wildfire                UNDETERMINED
        CORRAL                                                                          Litigation
        RYAN L. THOMPSON (CAL.           ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 296841)PAIGE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20886 CHRISTINA DE HERNANDEZ                     VARIOUS                              Wildfire                UNDETERMINED
        CORRAL                                                                          Litigation
        JOHN COX (CAL. STATE BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 197687)
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20887 CHRISTINA DOVER                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20888 CHRISTINA DOVER                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20889 CHRISTINA DOVER                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20890 CHRISTINA DOVER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20891 CHRISTINA DOVER                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20892 CHRISTINA FULLMER                       VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                    Litigation
        PENDING)JOHN P. FISKE         ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.20893 CHRISTINA FULLMER                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                     Litigation
        VASQUEZ AMANDA LOCURTO        ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20894 CHRISTINA FULLMER                        VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.20895 CHRISTINA FULLMER                        VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20896 CHRISTINA FULLMER                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.20897 CHRISTINA FULLMER                        VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20898 CHRISTINA HYDE                           VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20899 CHRISTINA JEPSEN                         VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                     Litigation
        SIMES RACHEL B.                ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104



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Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.20900 CHRISTINA KRIEGER                     VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                       Litigation
        296101)ROBERT T. BRYSON     ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.20901 CHRISTINA M. HIXSON                   VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.20902 CHRISTINA M. HIXSON                   VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20903 CHRISTINA M. HIXSON                   VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20904 CHRISTINA M. HIXSON                   VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20905 CHRISTINA M. HIXSON                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20906 CHRISTINA MARTIINEZ                       VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20907 CHRISTINA MARTIINEZ                       VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.20908 CHRISTINA MARTIINEZ                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.20909 CHRISTINA MARTIINEZ                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.20910 CHRISTINA MERCY-KEMP                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20911 CHRISTINA MERCY-KEMP                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20912 CHRISTINA MERCY-KEMP                      VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.20913 CHRISTINA MERCY-KEMP                        VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                      Litigation
        SBN 119554MICHAEL H.              ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20914 CHRISTINA MERCY-KEMP                        VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                       Litigation
        87492WILLIAM P. HARRIS III,       ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.20915 CHRISTINA MERRITT                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREALISON E.                                                          Litigation
        CORDOVADONALD J.                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.20916 CHRISTINA MERRITT                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20917 CHRISTINA MERRITT                           VARIOUS                              Wildfire                UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE


3.20918 CHRISTINA MERRITT                           VARIOUS                              Wildfire                UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.20919 CHRISTINA MERRITT                           VARIOUS                              Wildfire                UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.20920 CHRISTINA POZZI-WESTPHAL                    VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                       Litigation
        HANSEN & MILLER LAW FIRM          ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.20921 CHRISTINA POZZI-WESTPHAL                    VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                         Litigation
        NO. 197687)                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20922 CHRISTINA POZZI-WESTPHAL                    VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                            Litigation
        BOLDTMIKAL C. WATTSGUY            ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.20923 CHRISTINA RICE                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20924 CHRISTINA RICE                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                       Litigation
        111359KRISTINE K.                 ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20925 CHRISTINA RICE                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20926 CHRISTINA RICE                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20927 CHRISTINA ROEHL                          VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                        Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20928 CHRISTINA ROEHL                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.20929 CHRISTINA ROEHL                          VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.20930 CHRISTINA S. SCHMIDT                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.20931 CHRISTINA S. SCHMIDT                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.20932 CHRISTINA S. SCHMIDT                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20933 CHRISTINA S. SCHMIDT                  VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20934 CHRISTINA S. SCHMIDT                  VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20935 CHRISTINA WILSON                      VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                    Litigation
        COTCHETTALISON E.           ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20936 CHRISTINA WILSON                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20937 CHRISTINA WILSON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL D. GREEN                                                               Litigation
        ABBEY, WEITZENBERG,             ACCOUNT NO.: NOT AVAILABLE
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401


3.20938 CHRISTINA WILSON                          VARIOUS                              Wildfire                UNDETERMINED
        BRIAN J. PANISH                                                                Litigation
        PANISH SHEA & BOYLE, LLP        ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.20939 CHRISTINA WILSON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP MELODIA KELLY &          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20940 CHRISTINA WOLFER                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20941 CHRISTINA WOLFER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20942 CHRISTINA WOLFER                          VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20943 CHRISTINA WOLFER                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20944 CHRISTINA WOLFER                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.20945 CHRISTINE A MCCALLY                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.20946 CHRISTINE A MCCALLY                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20947 CHRISTINE A MCCALLY                     VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.20948 CHRISTINE A MCCALLY                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20949 CHRISTINE A MCCALLY                     VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.20950 CHRISTINE ACEVES                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP MELODIA KELLY &          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20951 CHRISTINE ACEVES                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE JOSEPH W.                                                       Litigation
        COTCHETTALISON E.               ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.20952 CHRISTINE ACEVES                          VARIOUS                              Wildfire                UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                       Litigation
        D. GREENSCOTT R.                ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401


3.20953 CHRISTINE ACEVES                          VARIOUS                              Wildfire                UNDETERMINED
        BRIAN J. PANISH                                                                Litigation
        PANISH SHEA & BOYLE, LLP        ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.20954 CHRISTINE ACEVES                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20955 CHRISTINE ANN SMITH                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20956 CHRISTINE ANN SMITH                      VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.20957 CHRISTINE ANN SMITH                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20958 CHRISTINE ANN SMITH                      VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20959 CHRISTINE APPLETON                       VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.20960 CHRISTINE APPLETON                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.20961 CHRISTINE APPLETON                       VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDTMIKAL C. WATTSGUY         ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20962 CHRISTINE BARNES                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20963 CHRISTINE BARNES                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20964 CHRISTINE BARNES                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20965 CHRISTINE BARNES                         VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20966 CHRISTINE BOWERMAN                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.20967 Christine Bowerman                             VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.20968 CHRISTINE BOWERMAN                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20969 CHRISTINE CRAMER                               VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                         Litigation
        126782 AMANDA L. RIDDLE -            ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

        SUMBLE MANZOOR- BAR NO.
        301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.20970 CHRISTINE CRAMER                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20971 CHRISTINE CRAMER                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.20972 CHRISTINE CURTIS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20973 CHRISTINE CURTIS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.20974 CHRISTINE CURTIS                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.20975 CHRISTINE CURTIS                         VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20976 CHRISTINE D. BORN                       VARIOUS                              Wildfire                UNDETERMINED
        FRANCIS O. SCARPULLA                                                         Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       PATRICK B. CLAYTON
       LAW OFFICES OF FRANCIS O.
       SCARPULLA
       456 MONTGOMERY STREET,
       17TH FLOOR
       SAN FRANCISCO, CA 94104


3.20977 CHRISTINE D. BORN                       VARIOUS                              Wildfire                UNDETERMINED
        QUENTIN L. KOPPFREDERICK                                                     Litigation
        P. FURTHDANIEL S. MASON       ACCOUNT NO.: NOT AVAILABLE

       THOMAS W. JACKSON
       FURTH SALEM MASON & LI LLP
       101 CALIFORNIA STREET, SUITE
       2710
       SAN FRANCISCO, CA 94111


3.20978 CHRISTINE D. BORN                       VARIOUS                              Wildfire                UNDETERMINED
        TAD S. SHAPIRO                                                               Litigation
        SHAPIRO, GALVIN, SHAPIRO &    ACCOUNT NO.: NOT AVAILABLE
        MORGAN
        640 THIRD STREET
        SANTA ROSA, CA 95404


3.20979 CHRISTINE D. BORN                       VARIOUS                              Wildfire                UNDETERMINED
        EDWARD J. NEVIN, JR.                                                         Litigation
        LAW OFFICES OF EDWARD J.      ACCOUNT NO.: NOT AVAILABLE
        NEVIN
        396 WINDMILL LANE
        PETALUMA, CA 94954


3.20980 CHRISTINE D. BORN                       VARIOUS                              Wildfire                UNDETERMINED
        FRANKLIN D. AZARHUGH                                                         Litigation
        ZACHARY BALKIN                ACCOUNT NO.: NOT AVAILABLE
        FRANKLIN D. AZAR &
        ASSOCIATES, P.C.
        14426 EAST EVANS AVENUE
        AURORA, CO 80014


3.20981 CHRISTINE D. BORN                       VARIOUS                              Wildfire                UNDETERMINED
        JEREMIAH F. HALLISEY                                                         Litigation
        HALLISEY AND JOHNSON, PC      ACCOUNT NO.: NOT AVAILABLE
        465 CALIFORNIA STREETM
        SUITE 405
        SAN FANCISCO, CA 94104-1812




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20982 CHRISTINE DEMELLO                        VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.20983 CHRISTINE DEMELLO                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.20984 CHRISTINE DEW                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.20985 CHRISTINE DEW                            VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                    Litigation
        54426) DANIEL S. ROBINSON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.20986 CHRISTINE DEW                            VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                            Litigation
        DANIELS LAW                    ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.20987 CHRISTINE DEW                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.20988 CHRISTINE DEW                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.20989 CHRISTINE DUNCAN                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.20990 CHRISTINE DUNCAN                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.20991 CHRISTINE DUNCAN                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.20992 CHRISTINE DUNCAN                         VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.20993 CHRISTINE DUNCAN                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.20994 CHRISTINE FRANCES MAKER                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.20995 CHRISTINE FRANCES MAKER                 VARIOUS                              Wildfire                UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                   Litigation
        167700STEVEN S. KANE, ESQ.,   ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.20996 CHRISTINE FRANCES MAKER                 VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228BRETT R. PARKINSON,    ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.20997 CHRISTINE FRANCES MAKER                 VARIOUS                              Wildfire                UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                    Litigation
        SBN: 147086                   ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.20998 CHRISTINE GONZALES                      VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.20999 CHRISTINE GONZALES                      VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21000 CHRISTINE GONZALES                      VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.21001 CHRISTINE L FREEMAN                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21002 CHRISTINE L FREEMAN                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21003 CHRISTINE L FREEMAN                     VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21004 CHRISTINE L FREEMAN                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21005 CHRISTINE L FREEMAN                     VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21006 CHRISTINE M GAITAN                      VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21007 CHRISTINE M GAITAN                      VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21008 CHRISTINE M GAITAN                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21009 CHRISTINE M GAITAN                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21010 CHRISTINE M GAITAN                      VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21011 CHRISTINE MOUNTAIN                      VARIOUS                              Wildfire                UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                  Litigation
        PANISH SHEA &BOYLE, LLP       ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.21012 CHRISTINE MOUNTAIN                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                       Litigation
        110909)                       ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21013 CHRISTINE MOUNTAIN                      VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE (SBN                                                          Litigation
        100077)ALISON E. CORDOVA      ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.21014 CHRISTINE MOUNTAIN                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                  Litigation
        WALKUP MELODIA KELLY&         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21015 CHRISTINE NYSTROM                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21016 CHRISTINE NYSTROM                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21017 CHRISTINE NYSTROM                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21018 CHRISTINE NYSTROM                       VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                           Litigation
        DANIELS LAW                   ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21019 CHRISTINE NYSTROM                      VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                  Litigation
        54426) DANIEL S. ROBINSON    ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.21020 CHRISTINE PALMER                       VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                          Litigation
        DANIELS LAW                  ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.21021 CHRISTINE PALMER                       VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                  Litigation
        54426) DANIEL S. ROBINSON    ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.21022 CHRISTINE PALMER                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21023 CHRISTINE PALMER                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21024 CHRISTINE PALMER                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21025 CHRISTINE PRESSON                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21026 CHRISTINE PRESSON                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21027 CHRISTINE PRESSON                        VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21028 CHRISTINE PRESSON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21029 CHRISTINE VERRICO                        VARIOUS                              Wildfire                UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                   Litigation
        PANISH SHEA &BOYLE, LLP        ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.21030 CHRISTINE VERRICO                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21031 CHRISTINE VERRICO                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                   Litigation
        WALKUP MELODIA KELLY&          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21032 CHRISTINE VERRICO                      VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE (SBN                                                         Litigation
        100077)ALISON E. CORDOVA     ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.21033 CHRISTINE WIMBERLY                     VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.21034 CHRISTINE WIMBERLY                     VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21035 CHRISTOFFERSEN, LARY                   VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 1044                                                                 Litigation
        PENN VALLEY, CA 95946        ACCOUNT NO.: NOT AVAILABLE


3.21036 CHRISTOPHER ALDRED                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21037 CHRISTOPHER ALDRED                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21038 CHRISTOPHER ALDRED                       VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21039 CHRISTOPHER ALDRED                       VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.21040 CHRISTOPHER ALDRED                       VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.21041 CHRISTOPHER ANTHONY                      VARIOUS                              Wildfire                UNDETERMINED
        MILLEN                                                                        Litigation
        MIKAL C. WATTS (PRO HAC VICE   ACCOUNT NO.: NOT AVAILABLE
        APPLICATION
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21042 CHRISTOPHER ANTHONY                      VARIOUS                              Wildfire                UNDETERMINED
        MILLEN                                                                        Litigation
        DOUGLAS BOXER (CAL. STATE      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 154226)
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21043 CHRISTOPHER ANTHONY                     VARIOUS                              Wildfire                UNDETERMINED
        MILLEN                                                                       Litigation
        MICHAEL A. KELLYKHALDOUN      ACCOUNT NO.: NOT AVAILABLE
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21044 CHRISTOPHER ANTHONY                     VARIOUS                              Wildfire                UNDETERMINED
        MILLEN                                                                       Litigation
        JOSEPH M. EARLEY III (CAL.    ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 157400)
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21045 CHRISTOPHER B CRIPPEN                   VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21046 CHRISTOPHER B CRIPPEN                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21047 CHRISTOPHER B CRIPPEN                   VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21048 CHRISTOPHER B CRIPPEN                   VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21049 CHRISTOPHER B CRIPPEN                    VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21050 CHRISTOPHER B. BIAS                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21051 CHRISTOPHER B. BIAS                      VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                     Litigation
        BAR #104975)                   ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.21052 CHRISTOPHER BURGESS                      VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21053 CHRISTOPHER BURGESS                      VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21054 CHRISTOPHER BURGESS                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21055 CHRISTOPHER BURGESS                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21056 CHRISTOPHER C CRAIG                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21057 CHRISTOPHER C CRAIG                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21058 CHRISTOPHER C CRAIG                     VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21059 CHRISTOPHER C CRAIG                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21060 CHRISTOPHER C CRAIG                     VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21061 CHRISTOPHER CONNELLY                    VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                     Litigation
        BRYSONKEVIN M. POLLACK        ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.21062 CHRISTOPHER CRABTREE                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21063 CHRISTOPHER CRABTREE                    VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228BRETT R. PARKINSON,    ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21064 CHRISTOPHER CRABTREE                    VARIOUS                              Wildfire                UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                   Litigation
        167700STEVEN S. KANE, ESQ.,   ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.21065 CHRISTOPHER CRABTREE                    VARIOUS                              Wildfire                UNDETERMINED
        C. BROOKS CUTTER, SBN                                                        Litigation
        121407JOHN G. ROUSSAS,        ACCOUNT NO.: NOT AVAILABLE
        SBN 227325MATTHEW M.
        BREINING, SBN 306788
        CUTTER LAW P.C.
        401 WATT AVENUE

       SACRAMENTO, CA 95864




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21066 CHRISTOPHER CRIPPEN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21067 CHRISTOPHER CRIPPEN                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21068 CHRISTOPHER CRIPPEN                        VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.21069 CHRISTOPHER CRIPPEN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21070 CHRISTOPHER CRIPPEN                        VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21071 CHRISTOPHER D. STANLEY                     VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                            Litigation
        296101)ROBERT T. BRYSON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21072 CHRISTOPHER DAVID JONES                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21073 CHRISTOPHER DAVID JONES                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21074 CHRISTOPHER DAVID JONES                 VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21075 CHRISTOPHER DAVID JONES                 VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                   Litigation
        87492WILLIAM P. HARRIS III,   ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.21076 CHRISTOPHER DAVID JONES                 VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                  Litigation
        SBN 119554MICHAEL H.          ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21077 CHRISTOPHER DIAZ                        VARIOUS                              Wildfire                UNDETERMINED
        EUSTACE DE SAINT                                                             Litigation
        PHALLEJOSEPH R. LUCIA         ACCOUNT NO.: NOT AVAILABLE
        RAINS LUCIA STERN ST.
        PRALLE & SILVER, PC
        2300 CONTRA COSTA BLVD.,
        SUITE 500
        PLEASANT HILL, CA 94523




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21078 CHRISTOPHER EDWARDS                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21079 CHRISTOPHER EDWARDS                      VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21080 CHRISTOPHER EDWARDS                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21081 CHRISTOPHER EDWARDS                      VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.21082 CHRISTOPHER EDWARDS                      VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.21083 CHRISTOPHER GAVIN HINZ                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21084 CHRISTOPHER GAVIN HINZ                 VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                               Litigation
        NO.254651)JOANNA LEE FOX     ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.21085 CHRISTOPHER GAVIN HINZ                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                      Litigation
        110909)                      ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21086 CHRISTOPHER GAVIN HINZ                 VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                     Litigation
        (BAR NO. 295951) RACHEL      ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.21087 CHRISTOPHER HOWARD                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21088 CHRISTOPHER HOWARD                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21089 CHRISTOPHER HOWARD                     VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                Litigation
        262319)DEBORAH S. DIXON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21090 CHRISTOPHER HOWARD                       VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.21091 CHRISTOPHER HOWARD                       VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.21092 CHRISTOPHER HUGHES                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21093 CHRISTOPHER HUGHES                       VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21094 CHRISTOPHER HUGHES                       VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21095 CHRISTOPHER HUGHES                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


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  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21096 CHRISTOPHER J HARDT                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21097 CHRISTOPHER J HARDT                     VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21098 CHRISTOPHER J HARDT                     VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21099 CHRISTOPHER J HARDT                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21100 CHRISTOPHER J HARDT                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21101 CHRISTOPHER JOHNSTON                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21102 CHRISTOPHER JOHNSTON                    VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21103 CHRISTOPHER JOHNSTON                     VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21104 CHRISTOPHER JOHNSTON                     VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                            Litigation
        DANIELS LAW                    ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.21105 CHRISTOPHER JOHNSTON                     VARIOUS                              Wildfire                UNDETERMINED
        KEVIN 0. MOON, STATE BAR                                                      Litigation
        NO. 246792CHRISTOPHER D.       ACCOUNT NO.: NOT AVAILABLE
        MOON, STATE BAR NO. 246622
        MOON LAW APC
        499 SEAPORT COURT, SUITE 200
        REDWOOD CITY, CALIFORNIA
        94063


3.21106 CHRISTOPHER JONES                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21107 CHRISTOPHER JONES                        VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21108 CHRISTOPHER JONES                        VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21109 CHRISTOPHER JONES                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21110 CHRISTOPHER KERR                        VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21111 CHRISTOPHER KERR                        VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.21112 CHRISTOPHER KUHL                        VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.21113 CHRISTOPHER KUHL                        VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.21114 CHRISTOPHER KUHL                        VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21115 CHRISTOPHER LARSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21116 CHRISTOPHER LARSON                         VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21117 CHRISTOPHER LARSON                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21118 CHRISTOPHER LARSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21119 CHRISTOPHER LARSON                         VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.21120 CHRISTOPHER LONSBERRY                      VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                            Litigation
        296101)ROBERT T. BRYSON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21121 CHRISTOPHER M CHIAVOLA                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21122 CHRISTOPHER M CHIAVOLA                  VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21123 CHRISTOPHER M CHIAVOLA                  VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21124 CHRISTOPHER M CHIAVOLA                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21125 CHRISTOPHER M CHIAVOLA                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21126 CHRISTOPHER M HEYRMAN                   VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21127 CHRISTOPHER M HEYRMAN                   VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21128 CHRISTOPHER M HEYRMAN                   VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21129 CHRISTOPHER M HEYRMAN                   VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21130 CHRISTOPHER M HEYRMAN                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21131 CHRISTOPHER M HOUGHTON                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21132 CHRISTOPHER M HOUGHTON                  VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21133 CHRISTOPHER M HOUGHTON                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21134 CHRISTOPHER M HOUGHTON                   VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21135 CHRISTOPHER M HOUGHTON                   VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21136 CHRISTOPHER MASTER                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21137 CHRISTOPHER MASTER                       VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21138 CHRISTOPHER MASTER                       VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21139 CHRISTOPHER MASTER                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address            Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.21140 CHRISTOPHER MORANO                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT J. PREBLE, ESQ. (SBN:                                                       Litigation
        115158)                            ACCOUNT NO.: NOT AVAILABLE
        THE PREBLE LAW FIRM
        2200 WYMORE WAY
        ANTIOCH, CA 94509


3.21141 CHRISTOPHER MORGAN,                          VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUALLY AND DBA BLUE                                                         Litigation
        SPRUCE MOBILE ESTATES              ACCOUNT NO.: NOT AVAILABLE
        MICHAELA. KELLY (SBN 71460)
        WALKUP MELODIA KELLY&
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21142 CHRISTOPHER MORGAN,                          VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUALLY AND DBA BLUE                                                         Litigation
        SPRUCE MOBILE ESTATES              ACCOUNT NO.: NOT AVAILABLE
        BRIANJ. PANISH (SBN 116060)
        PANISH SHEA &BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.21143 Christopher Morgan, Individually             VARIOUS                              Wildfire                UNDETERMINED
        And Dba Blue Spruce Mobile                                                        Litigation
        Estates                            ACCOUNT NO.: NOT AVAILABLE
        Frank M. Pitre (SBN
        100077)Alison E. Cordova (SBN
        284942)John P. Thyken (SBN
        286598)
        Cotchett, Pitre & Mccarthy, LLP
        San Francisco Airport Office
        Center840 Malcolm Road, Suite
        200
        Burlingame, CA 94010


3.21144 CHRISTOPHER MORGAN,                          VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUALLY AND DBA BLUE                                                         Litigation
        SPRUCE MOBILE ESTATES              ACCOUNT NO.: NOT AVAILABLE
        RICHARD L. HARRIMAN
        (SBN66124)
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21145 CHRISTOPHER NIEHAGE                      VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.21146 CHRISTOPHER NIEHAGE                      VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21147 CHRISTOPHER NOLAN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21148 CHRISTOPHER NOLAN                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21149 CHRISTOPHER NOLAN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.21150 CHRISTOPHER NOLAN                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                         Litigation
        126782AMANDA L. RIDDLE -             ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21151 Christopher Nugent                             VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.21152 CHRISTOPHER NUGENT                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21153 CHRISTOPHER NUGENT                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21154 CHRISTOPHER NYSTROM                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21155 CHRISTOPHER NYSTROM                      VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                            Litigation
        DANIELS LAW                    ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.21156 CHRISTOPHER NYSTROM                      VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21157 CHRISTOPHER NYSTROM                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21158 CHRISTOPHER NYSTROM                      VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                    Litigation
        54426) DANIEL S. ROBINSON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.21159 CHRISTOPHER PEPPER                       VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.21160 CHRISTOPHER PEPPER                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21161 CHRISTOPHER POUNDS                       VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.21162 CHRISTOPHER POUNDS                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.21163 CHRISTOPHER POUNDS                       VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21164 CHRISTOPHER POUNDS                       VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21165 CHRISTOPHER POUNDS                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.21166 CHRISTOPHER R BORUNDA                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21167 CHRISTOPHER R BORUNDA                    VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21168 CHRISTOPHER R BORUNDA                    VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21169 CHRISTOPHER R BORUNDA                    VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21170 CHRISTOPHER R BORUNDA                    VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21171 CHRISTOPHER RICHARD KERR                 VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.21172 CHRISTOPHER RICHARD KERR                 VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21173 CHRISTOPHER ROSEMAN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21174 CHRISTOPHER ROSEMAN                        VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21175 CHRISTOPHER ROSEMAN                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21176 CHRISTOPHER ROSEMAN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21177 CHRISTOPHER ROSEMAN                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21178 CHRISTOPHER S CLEMENTS                     VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21179 CHRISTOPHER S CLEMENTS                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21180 CHRISTOPHER S CLEMENTS                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21181 CHRISTOPHER S CLEMENTS                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21182 CHRISTOPHER S CLEMENTS                  VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21183 CHRISTOPHER THOMPSON                    VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.21184 CHRISTOPHER THOMPSON                    VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21185 CHRISTOPHER THOMPSON                    VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.21186 CHRISTOPHER VICZQUEZ                    VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.21187 CHRISTOPHER VICZQUEZ                    VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21188 CHRISTOPHER VORHEIS                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21189 CHRISTOPHER VORHEIS                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.21190 CHRISTOPHER VORHEIS                     VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21191 Christopher Vorheis                        VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No.                                                     Litigation
        126782 Amanda L. Riddle - Bar    ACCOUNT NO.: NOT AVAILABLE
        No. 215221 Steven M. Berki -
        Bar No. 245426 Sumble
        Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.21192 CHRISTOPHER WILSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21193 CHRISTOPHER WILSON                         VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                     Litigation
        248092)JACK W. WEAVER,           ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.21194 CHRISTOPHER WILSON                         VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                     Litigation
        9858)JESSICA W. HAYES.,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.21195 CHRISTOPHER WILSON                         VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                       Litigation
        (SBN 99126)NATASHA N.            ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21196 CHRISTOPHER WILSON                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21197 CHRISTOPHER WILSON                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21198 CHRISTOPHER WILSON                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                     Litigation
        SBN: 110909ANDREA R.           ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21199 CHRISTOPHER WILSON                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21200 CHRISTOPHER WILSON                       VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21201 CHRISTOPHER YOAKUM                       VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21202 CHRISTOPHER YOAKUM                       VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21203 CHRISTOPHER YOAKUM                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21204 CHRISTOPHER YOAKUM                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21205 CHRISTOPHER, STEVE                       VARIOUS                              Wildfire                UNDETERMINED
        TASHA BOLLINGER                                                               Litigation
        BOLLINGER                      ACCOUNT NO.: NOT AVAILABLE
        829 SONOMA AVENUE
        SANTA ROSA, CA 95404


3.21206 CHRISTY HARMESON                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21207 CHRISTY HARMESON                         VARIOUS                              Wildfire                UNDETERMINED
        NOREEN EVANSRYAN L.                                                           Litigation
        THOMPSONPAIGE BOLDT            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21208 CHRISTY HARMESON                         VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FIRM     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.21209 CHRISTY RICHARDS                         VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21210 CHRISTY RICHARDS                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21211 CHRISTY RICHARDS                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.21212 CHRISTY RICHARDS                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.21213 CHRISTY RICHARDS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21214 CHRISTY RIDDELL                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.21215 CHRISTY RIDDELL                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.21216 CHRISTY RIDDELL                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.21217 CHRISTY RIDDELL                          VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21218 CHRISTY RIDDELL                          VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21219 CHRYSTAL, LINDA                          VARIOUS                              Wildfire                UNDETERMINED
        406 TWIN LAKES CIR                                                            Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.21220 CHUBB CUSTOM INSURANCE                     VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                         Litigation
        HOWARD D. MAYCON                ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.21221 CHUBB CUSTOM INSURANCE                     VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                         Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21222 CHUBB CUSTOM INSURANCE                     VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                         Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.21223 Chubb Custom Insurance                      VARIOUS                             Wildfire                UNDETERMINED
        Company;                                                                        Litigation
        Zachary P. Marks (SBN               ACCOUNT NO.: NOT AVAILABLE
        284642)Paul A. Casetta (Pro Hac
        Pending)Alan B. McMaster (Pro
        Hae Pending)Jarett M. Smith (Pro
        Hae Pending)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, California 90067


3.21224 CHUBB CUSTOM INSURANCE                     VARIOUS                              Wildfire                UNDETERMINED
        COMPANY;                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        SBN
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21225 CHUBB CUSTOM INSURANCE                     VARIOUS                              Wildfire                UNDETERMINED
        COMPANY;                                                                        Litigation
        TERRY SINGLETON, ESQ. (SBN      ACCOUNT NO.: NOT AVAILABLE
        58316)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21226 CHUBB CUSTOM INSURANCE                   VARIOUS                              Wildfire                UNDETERMINED
        COMPANY;                                                                      Litigation
        AHMED S. DIAB (SBN 262319)     ACCOUNT NO.: NOT AVAILABLE

       DEBORAH S. DIXON (SBN
       248965) ROBERT J.
       CHAMBERS II (SBN 244688)
       DIXON DIAB & CHAMBERS LLP
       501 W. BROADWAY, SUITE 800
       SAN DIEGO, CA 92101


3.21227 CHUBB CUSTOM INSURANCE                   VARIOUS                              Wildfire                UNDETERMINED
        COMPANY;                                                                      Litigation
        JOHN F. MCGUIRE, JR., ESQ.     ACCOUNT NO.: NOT AVAILABLE
        (SBN 69176) IAN C.
        FUSSELMAN, ESQ. (SBN 198917)

       BRETT J. SCHREIBER, ESQ.
       (SBN 239707)
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH AVENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.21228 CHUBB INSURANCE COMPANY                  VARIOUS                              Wildfire                UNDETERMINED
        OF NEW JERSEY                                                                 Litigation
        ALAN J. JANG SALLY NOMA        ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21229 CHUBB INSURANCE COMPANY                  VARIOUS                              Wildfire                UNDETERMINED
        OF NEW JERSEY                                                                 Litigation
        KEVIN D. BUSHTHOMAS M.         ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.21230 CHUBB INSURANCE COMPANY                  VARIOUS                              Wildfire                UNDETERMINED
        OF NEW JERSEY                                                                 Litigation
        HOWARD D. MAYCON               ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21231 CHUBB NATIONAL INSURANCE                 VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                       Litigation
        HOWARD D. MAYCON               ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.21232 CHUBB NATIONAL INSURANCE                 VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                       Litigation
        KEVIN D. BUSHTHOMAS M.         ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.21233 CHUBB NATIONAL INSURANCE                 VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                       Litigation
        ALAN J. JANG SALLY NOMA        ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21234 CHUN CHU                                 VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21235 CHUN CHU                                 VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21236 CHUN CHU                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21237 CHUN CHU                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21238 CHURCH MUTUAL INSURANCE                 VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        THOMAS M. REGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.21239 CHURCH MUTUAL INSURANCE                 VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        CRAIG S. SIMON (SBN 78158)    ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA TELEPHONE: (949)
        474-1880FAX: (949) 313-5029


3.21240 CHURCH, CODY NATHANIEL;                 VARIOUS                              Wildfire                UNDETERMINED
        CHURCH, KATLYN MICHELLE;                                                     Litigation
        CHURCH, MARK JAY; CHURCH,     ACCOUNT NO.: NOT AVAILABLE
        TAMMY SUE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21241 CHURCH, CODY NATHANIEL;                 VARIOUS                              Wildfire                UNDETERMINED
        CHURCH, KATLYN MICHELLE;                                                     Litigation
        CHURCH, MARK JAY; CHURCH,     ACCOUNT NO.: NOT AVAILABLE
        TAMMY SUE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21242 CHURCH, CODY NATHANIEL;           VARIOUS                                    Wildfire                UNDETERMINED
        CHURCH, KATLYN MICHELLE;                                                     Litigation
        CHURCH, MARK JAY; CHURCH, ACCOUNT NO.: NOT AVAILABLE
        TAMMY SUE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21243 CHURCH, GABRIELLA                       VARIOUS                              Wildfire                UNDETERMINED
        2333 HICOCK CT                                                               Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.21244 CHURCH, JACK                            VARIOUS                              Wildfire                UNDETERMINED
        2333 HICKOCK CT                                                              Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.21245 CHURCHILL, DEBORAH                      VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 227                                                                   Litigation
        CHICAGO PARK, CA 95712        ACCOUNT NO.: NOT AVAILABLE


3.21246 CIARAMITARO, LINDA                      VARIOUS                              Wildfire                UNDETERMINED
        570 LODGEVIEW DR                                                             Litigation
        OROVILLE, CA 95966            ACCOUNT NO.: NOT AVAILABLE


3.21247 CIERA JOHNSON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21248 CIERA JOHNSON                           VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                     Litigation
        TOSDAL LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.21249 CIERA JOHNSON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.21250 CIERA JOHNSON                             VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.21251 CIMINO, DENISE                            VARIOUS                              Wildfire                UNDETERMINED
        1119 SHADYSLOPE DR                                                             Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.21252 CINCINNATI INSURANCE                      VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                        Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.21253 CINCINNATI INSURANCE                      VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                        Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.21254 CINCINNATI INSURANCE                      VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                        Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21255 CINCINNATI INSURANCE                     VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                       Litigation
        ALAN J. JANG SALLY NOMA        ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21256 CINDI MARSH                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21257 CINDI MARSH                              VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.21258 CINDI MARSH                              VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.21259 CINDY BARTH                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21260 CINDY BARTH                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21261 CINDY CLYMER                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. THOMPSON                                                            Litigation
        THOMPSON LAW OFFICES, P.C.     ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.21262 CINDY K. ROW                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.21263 CINDY K. ROW                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21264 CINDY K. ROW                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21265 CINDY K. ROW                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.21266 CINDY LEE HOOVER                         VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21267 CINDY LEE HOOVER                         VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21268 CINDY LEE HOOVER                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21269 CINDY LEE HOOVER                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21270 CINDY LEE HOOVER                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21271 CINDY LEE HOOVER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21272 CINDY LEE HOOVER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.21273 CINDY LEE HOOVER                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21274 CINDY LY                                    VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21275 CINDY LY                                    VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREALISON E.                                                          Litigation
        CORDOVADONALD J.                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.21276 CINDY LY                                    VARIOUS                              Wildfire                UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE


3.21277 CINDY LY                                    VARIOUS                              Wildfire                UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.21278 CINDY LY                                    VARIOUS                              Wildfire                UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.21279 CINDY LYN RAUSCHER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21280 CINDY LYN RAUSCHER                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21281 CINDY LYN RAUSCHER                          VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                        Litigation
        BAR NO. 154226)                   ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21282 CINDY LYN RAUSCHER                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                       Litigation
        STATE BAR NO. 157400)             ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.21283 CINDY LYNN STURDY                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21284 CINDY LYNN STURDY                         VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.21285 CINDY LYNN STURDY                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.21286 CINDY LYNN STURDY                         VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.21287 CINDY MAGANA                              VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.21288 CINDY MAGANA                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21289 CINDY MAGANA                               VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                              Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21290 CINDY MAGANA                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                      Litigation
        (SBN 69176)IAN C.                ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.21291 CINDY MAGANA                               VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                      Litigation
        583 I 6)                         ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21292 CINDY ONEAL                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21293 CINDY ONEAL                                VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21294 CINDY ONEAL                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21295 CINDY ONEAL                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21296 CINDY ONEAL                            VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                        Litigation
        #109455LAURA E. BROWN        ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.21297 CINDY OSBORN                           VARIOUS                              Wildfire                UNDETERMINED
        DONALD S. EDGAR                                                             Litigation
        EDGAR LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.21298 CINDY OSBORN                           VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                    Litigation
        BRYSONKEVIN M. POLLACK       ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.21299 CINDY WARD                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADIDORIS             ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21300 CINDY WARD                             VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                   Litigation
        BAR #104975)                 ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21301 CIRO RUIZ                               VARIOUS                              Wildfire                UNDETERMINED
        MARY E. ALEXANDER,                                                           Litigation
        ESQJENNIFER L. FIORE,         ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.21302 CISNEROS, FRANCISCO                     VARIOUS                              Wildfire                UNDETERMINED
        1846 MONARCH CT                                                              Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.21303 CISNEROS, PERLA                         VARIOUS                              Wildfire                UNDETERMINED
        2001 RANGE AVE                                                               Litigation
        169                           ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95401


3.21304 CITATION INSURANCE                      VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        KEVIN D. BUSHTHOMAS M.        ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610


3.21305 CITATION INSURANCE                      VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        HOWARD D. MAYCON              ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700


3.21306 CITATION INSURANCE                      VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA


3.21307 CITI BANK-ALTOBELL, GEORGE              VARIOUS                              Wildfire                UNDETERMINED
        129 SILVERADO SPRINGS DR.                                                    Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21308 CITIZENS INSURANCE                      VARIOUS                              Wildfire                UNDETERMINED
        COMPANY OF AMERICA                                                           Litigation
        MAURA WALSH OCHOA (SBN        ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.21309 CITIZENS INSURANCE                      VARIOUS                              Wildfire                UNDETERMINED
        COMPANY OF AMERICA                                                           Litigation
        KEVIN D. BUSHTHOMAS M.        ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.21310 CITIZENS INSURANCE                      VARIOUS                              Wildfire                UNDETERMINED
        COMPANY OF AMERICA                                                           Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21311 CITIZENS INSURANCE                      VARIOUS                              Wildfire                UNDETERMINED
        COMPANY OF AMERICA                                                           Litigation
        MAURA WALSH OCHOA             ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.21312 CITY OF CLEARLAKE                       VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                      Litigation
        DIXONROBERT J. CHAMBERS II    ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21313 CITY OF CLEARLAKE                       VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                         Litigation
        VICEPENDING)JOHN P.           ACCOUNT NO.: NOT AVAILABLE
        FISKETORRI SHERLIN
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21314 CITY OF CLEARLAKE                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)(TEXAS BAR NO.         ACCOUNT NO.: NOT AVAILABLE
        19507500) JOHN FISKE (SBN
        249256) BRITT STROTTMAN
        (209595)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO COURT
        SUITE 265
        SAN DIEGO, CA 92127


3.21315 CITY OF CLEARLAKE                        VARIOUS                              Wildfire                UNDETERMINED
        RYAN R, JONES (SBN 228935)                                                    Litigation
        CITY OF CLEARLAKEOFFICE        ACCOUNT NO.: NOT AVAILABLE
        OF CITY ATTORNEY
        14050 OLYMPIC DDVE
        CLEARLAKE, CA 95422


3.21316 CITY OF CLEARLAKE                        VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21317 CITY OF CLEARLAKE                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.21318 CITY OF NAPA                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21319 CITY OF NAPA                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL W. BARRETT (SBN                                                       Litigation
        155968)DAVID C. JONES (SBN     ACCOUNT NO.: NOT AVAILABLE
        129881)
        CITY OF NAPA OFFICE OF CITY
        ATTORNEY
        955 SCHOOL STREET / PO BOX
        660
        NAPA, CA 94559




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21320 CITY OF NAPA                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21321 CITY OF NAPA                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.21322 CITY OF NAPA                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY, JOHN P.                                                          Litigation
        FISKEBRITT K. STROTTMAN        ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.21323 CITY OF NAPA                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIABDEBORAH                                                                Litigation
        DIXONROBERT CHAMBERS II        ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        5011 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21324 CITY OF SANTA ROSA                       VARIOUS                              Wildfire                UNDETERMINED
                                                                                      Litigation
       SUE A. GALLAGHERADAM            ACCOUNT NO.: NOT AVAILABLE
       ABEL JENICA HEPLER

       CITY OF SANTA ROSA OFFICE
       OF CITY ATTORNEY

       100 SANTA ROSA AVENUE,
       ROOM 8

       SANTA ROSA, CA 95404




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21325 CITY OF SANTA ROSA                      VARIOUS                              Wildfire                UNDETERMINED
                                                                                     Litigation
       SCOTT SUMMY (PRO HAC VICE      ACCOUNT NO.: NOT AVAILABLE
       PENDING)JOHN FISKEBRITT
       STROTTMAN

       BARON & BUDD, P.C.

       603 N. COAST HIGHWAY, SUITE
       G

       SOLANA BEACH, CALIFORNIA

       92075


3.21326 CITY OF WARREN POLICE AND               VARIOUS                              Wildfire                UNDETERMINED
        FIRE RETIREMENT SYSTEM,                                                      Litigation
        ROBBINS GELLER RUDMAN         ACCOUNT NO.: NOT AVAILABLE
        POST MONTGOMERY CENTER,
        ONE MONTGOMERY STREET
        SAN FRANCISCO, CA 94104


3.21327 CIVELLO, JOE                            VARIOUS                              Wildfire                UNDETERMINED
        1501 OWLS PERCH PL                                                           Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.21328 CIVIL PROPERTY & CASUALTY               VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        CRAIG S. SIMON (SBN 78158)    ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.21329 CIVIL SERVICE EMPLOYEE                  VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        THOMAS M. REGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.21330 CIVIL SERVICE EMPLOYEES                 VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        HOWARD D. MAYCON              ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.21331 CIVIL SERVICE EMPLOYEES                       VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                                  Litigation
        ALAN J. JANG SALLY NOMA             ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21332 CIVIL SERVICE EMPLOYEES                       VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                                  Litigation
        KEVIN D. BUSHTHOMAS M.              ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.21333 CLAGG, FRANCES                                VARIOUS                              Wildfire                UNDETERMINED
        6015 SUSAN DR                                                                      Litigation
        SANTA ROSA, CA 95409                ACCOUNT NO.: NOT AVAILABLE


3.21334 CLAIRE TESKE                                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.21335 Claire Teske                                  VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hac Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hac Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.21336 CLARA CANTARUTTI                              VARIOUS                              Wildfire                UNDETERMINED
        RICHARD SAX                                                                        Litigation
        LAW OFFICES OF RICHARD SAX          ACCOUNT NO.: NOT AVAILABLE
        448 SEBASTOPOL AVENUE
        SANTA ROSA, CA 95401




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21337 CLARA HENDERSON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21338 CLARA HENDERSON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21339 CLARA HENDERSON                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21340 CLARA HENDERSON                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21341 CLARA MARGARET JOINVILLE                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.21342 CLARA MARGARET JOINVILLE                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                       Litigation
        111359KRISTINE K.                 ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21343 CLARA MARGARET JOINVILLE                    VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                             Litigation
        178658DYLAN HUGHES- BAR           ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21344 Clara Margaret Joinville                    VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No.                                                      Litigation
        126782Amanda L. Riddle - Bar      ACCOUNT NO.: NOT AVAILABLE
        No. 215221Steven M. Berki - Bar
        No. 245426Sumble Manzoor- Bar
        No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.21345 CLARA TUBBS                                 VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                         Litigation
        AMANWILLIAM P. HARRIS             ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21346 CLARA TUBBS                                 VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                         Litigation
        J. EBALLAR                        ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.21347 CLARDY, LAUREN                              VARIOUS                              Wildfire                UNDETERMINED
        4655 SUMMERHAYS PLACE                                                            Litigation
        SANTA ROSA, CA 95405              ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21348 CLARENCE C. HUNTER                       VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228BRETT R. PARKINSON,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21349 CLARENCE C. HUNTER                       VARIOUS                              Wildfire                UNDETERMINED
        §ETH L. GOLDSTEIN                                                             Litigation
        LAW OFFICES OF SETH L.         ACCOUNT NO.: NOT AVAILABLE
        GOLDSTEIN
        2100 GARDEN ROAD, SUITE H-8
        MONTEREY, CA. 93940


3.21350 CLARENCE C. HUNTER                       VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.21351 CLARENCE C. HUNTER                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21352 CLARENCE D. PIKE                         VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.21353 CLARENCE E. VAN METER                    VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21354 CLARENCE K TRUSLEY                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21355 CLARENCE K TRUSLEY                      VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21356 CLARENCE K TRUSLEY                      VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21357 CLARENCE K TRUSLEY                      VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21358 CLARENCE K TRUSLEY                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21359 CLARENCE VAN METER                      VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21360 CLARENCE VAN METER                      VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21361 CLARICE MCCOY                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.21362 CLARICE MCCOY                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21363 CLARIKCE TALLY                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                  Litigation
        WALKUP MELODIA KELLY&         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21364 CLARIKCE TALLY                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE (SBN                                                          Litigation
        100077)ALISON E. CORDOVA      ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.21365 CLARIKCE TALLY                          VARIOUS                              Wildfire                UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                  Litigation
        PANISH SHEA &BOYLE, LLP       ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21366 CLARIKCE TALLY                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21367 CLARISSA META JAMES                      VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.21368 CLARISSA META JAMES                      VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21369 CLARISSA PERKINS                         VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.21370 CLARISSA PERKINS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21371 CLARISSA PERKINS                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21372 CLARISSA PERKINS                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21373 CLARK BOUCHER                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21374 CLARK BOUCHER                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21375 CLARK BOUCHER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21376 CLARK BOUCHER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21377 CLARK F. BRIDGMAN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21378 CLARK F. BRIDGMAN                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21379 CLARK F. BRIDGMAN                        VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                       Litigation
        (BAR NO. 295951) RACHEL        ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.21380 CLARK F. BRIDGMAN                        VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                                 Litigation
        NO.254651)JOANNA LEE FOX       ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.21381 CLARK MATTHIESSEN                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.21382 CLARK MATTHIESSEN                        VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21383 CLARK, CAROL                            VARIOUS                              Wildfire                UNDETERMINED
        3348 PARKER HILL RD                                                          Litigation
        SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.21384 CLARK, CHARLES, A MINOR, BY             VARIOUS                              Wildfire                UNDETERMINED
        AND THROUGH HIS GAL ALICE                                                    Litigation
        ALLEN (RELATED TO SHARON      ACCOUNT NO.: NOT AVAILABLE
        CLARK)
        ERIC RATINOFF, GREG STUCK
        401 WATT AVENUE
        SUITE 1
        SACRAMENTO, CA 95864


3.21385 CLARK, CRYSTAL A.                       VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                         Litigation
        ZUMMER                        ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21386 CLARK, CRYSTAL A.                 VARIOUS                                    Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                       Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21387 CLARK, CRYSTAL A.                       VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                     Litigation
        VASQUEZAMANDA LOCUTRO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21388 CLARK, GREGORY CHARLES;                 VARIOUS                              Wildfire                UNDETERMINED
        BAUMLER, CHRIS JOSEPH;                                                       Litigation
        CHACON, ADOLFO ANTONIO        ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21389 CLARK, GREGORY CHARLES;                 VARIOUS                              Wildfire                UNDETERMINED
        BAUMLER, CHRIS JOSEPH;                                                       Litigation
        CHACON, ADOLFO ANTONIO        ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21390 CLARK, GREGORY CHARLES;           VARIOUS                                   Wildfire                UNDETERMINED
        BAUMLER, CHRIS JOSEPH;                                                      Litigation
        CHACON, ADOLFO ANTONIO    ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21391 CLARK, HOLLY                           VARIOUS                              Wildfire                UNDETERMINED
        1616 YELLOWSTONE ST                                                         Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.21392 CLARK, JAMES                           VARIOUS                              Wildfire                UNDETERMINED
        15 MAUIWAY                                                                  Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.21393 CLARK, LAURA                           VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 384                                                                  Litigation
        POTTER VALLEY, CA 95469      ACCOUNT NO.: NOT AVAILABLE


3.21394 CLARK, ROSE MARIE                      VARIOUS                              Wildfire                UNDETERMINED
        1150 FOREST GLEN WAY                                                        Litigation
        SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.21395 CLARK, WILLIAM R.                      VARIOUS                              Wildfire                UNDETERMINED
        MIKE DANKOKRISTINE                                                          Litigation
        MEREDITHSHAWN                ACCOUNT NO.: NOT AVAILABLE
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21396 CLARK, WILLIAM R.                      VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI AMANDA                                                    Litigation
        L. RIDDLE CLARE CAPACCIOLI   ACCOUNT NO.: NOT AVAILABLE
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21397 CLASSIC VMS, INC. DBA                  VARIOUS                              Wildfire                UNDETERMINED
        COLLISION PROS, BRIAN VON                                                   Litigation
        TRESS                        ACCOUNT NO.: NOT AVAILABLE
        3760 GRASS VALLEY HWY
        AUBURN, CA 95602




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21398 CLAUDIA BIJSTRA                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21399 CLAUDIA BIJSTRA                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21400 CLAUDIA BIJSTRA                            VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.21401 CLAUDIA BIJSTRA                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH FEIST -- SBN                                                             Litigation
        249447JONATHAN J.                ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.21402 CLAUDIA BIJSTRA                            VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.21403 CLAUDIA C MAYHEW                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21404 CLAUDIA C MAYHEW                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21405 CLAUDIA C MAYHEW                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21406 CLAUDIA C MAYHEW                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21407 CLAUDIA C MAYHEW                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21408 CLAUDIA CERVENKA                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                        Litigation
        208783)ERIKA L. VASQUEZ       ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.21409 CLAUDIA CERVENKA                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                         Litigation
        VICEPENDING)JOHN P. FISKE     ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21410 CLAUDIA CERVENKA                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21411 CLAUDIA CERVENKA                         VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21412 CLAUDIA CERVENKA                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.21413 CLAUDIA D RAMPONI                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21414 CLAUDIA D RAMPONI                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21415 CLAUDIA D RAMPONI                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21416 CLAUDIA D RAMPONI                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21417 CLAUDIA D RAMPONI                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21418 CLAUDIA GALLENTINE                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21419 CLAUDIA GALLENTINE                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21420 CLAUDIA GALLENTINE                      VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21421 CLAUDIA GALLENTINE                      VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                  Litigation
        SBN 119554MICHAEL H.          ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21422 CLAUDIA GALLENTINE                      VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                   Litigation
        87492WILLIAM P. HARRIS III,   ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.21423 CLAUDIA I. PALMER                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                       Litigation
        110909)                       ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21424 CLAUDIA I. PALMER                       VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                      Litigation
        (BAR NO. 295951) RACHEL       ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.21425 CLAUDIA I. PALMER                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21426 CLAUDIA I. PALMER                       VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                                Litigation
        NO.254651)JOANNA LEE FOX      ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21427 CLAUDIA LAFFERTY                         VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21428 CLAUDIA LAFFERTY                         VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.21429 CLAUDIA LANG                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21430 CLAUDIA LANG                             VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21431 CLAUDIA LANG                             VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21432 CLAUDIA LANG                             VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928



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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.21433 CLAUDIA LUZ MOJICA                             VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                                Litigation
        296101)ROBERT T. BRYSON              ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.21434 CLAUDIA MARTINEZ-GIESEN                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21435 CLAUDIA MARTINEZ-GIESEN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21436 Claudia Martinez-Giesen                        VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Sumble Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.21437 CLAUDIA MARTINUCCI DBA CLM                     VARIOUS                              Wildfire                UNDETERMINED
        MANAGEMENT                                                                          Litigation
        ROBERT W. JACKSON BRETT              ACCOUNT NO.: NOT AVAILABLE
        R. PARKINSONDANIEL E.
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.21438 CLAUDIA MARTINUCCI DBA CLM                VARIOUS                              Wildfire                UNDETERMINED
        MANAGEMENT                                                                     Litigation
        ERIC RATINOFFCOELL M.           ACCOUNT NO.: NOT AVAILABLE
        SIMMONS
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.21439 CLAUDIA MARTINUCCI DBA CLM                VARIOUS                              Wildfire                UNDETERMINED
        MANAGEMENT                                                                     Litigation
        JOHN N. DEMAS                   ACCOUNT NO.: NOT AVAILABLE
        DEMAS LAW GROUP, P.C.
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.21440 CLAUDIA MARTINUCCI DBA CLM                VARIOUS                              Wildfire                UNDETERMINED
        MANAGEMENT                                                                     Litigation
        JOHN F. FRIEDEMANN              ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.21441 CLAUDIA MEGLIN                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTSGUY WATTS                                                        Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       RYAN L. THOMPSONPAIGE
       BOLDT
       WATTS GUERRA LLP
       811 BARTON SPRINGS RD. STE.
       725
       AUSTIN, TEXAS 78704


3.21442 CLAUDIA MEGLIN                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX,        ACCOUNT NO.: NOT AVAILABLE
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.21443 CLAUDIA MUNOZ-LIMA                        VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21444 CLAUDIA MUNOZ-LIMA                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21445 CLAUDIA MUNOZ-LIMA                       VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.21446 CLAUDIA PECK                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21447 CLAUDIA PECK                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21448 CLAUDIA PECK                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21449 CLAUDIA PECK                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.21450 CLAUDIA R. GROVER                     VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21451 CLAUDIA R. GROVER                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.21452 CLAUDIA R. GROVER                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21453 CLAUDIA R. GROVER                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21454 CLAUDIA R. GROVER                     VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21455 CLAUDIA REEK                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                   Litigation
        A. BAGHDADI                 ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21456 CLAUDIA REEK                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21457 CLAUDIA REEK                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21458 CLAUDIA REEK                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21459 CLAUDIA WRIGHT                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21460 CLAUDIA WRIGHT                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21461 CLAUDIA WRIGHT                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21462 CLAUDIA WRIGHT                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21463 CLAUDIA ZBINDEN                         VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.21464 CLAUDIA ZBINDEN                         VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.21465 CLAUDIA ZBINDEN                         VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.21466 CLAUDINE CAMPBELL                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                        Litigation
        208783)ERIKA L. VASQUEZ       ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21467 CLAUDINE CAMPBELL                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.21468 CLAUDINE CAMPBELL                        VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21469 CLAUDINE CAMPBELL                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.21470 CLAUDINE CAMPBELL                        VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21471 CLAUS SORENSON                           VARIOUS                              Wildfire                UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                      Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.21472 CLAVEL, MARTIN                           VARIOUS                              Wildfire                UNDETERMINED
        1416 MYRTLE ST                                                                Litigation
        APT 16                         ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21473 CLAVELVELASCO, ANGEL                     VARIOUS                              Wildfire                UNDETERMINED
        602 WASHINGTON ST                                                             Litigation
        APT 2                          ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.21474 CLAWSON, LISA                            VARIOUS                              Wildfire                UNDETERMINED
        8857 MISSION DR                                                               Litigation
        KENWOOD, CA 95452              ACCOUNT NO.: NOT AVAILABLE


3.21475 CLAWSON, LISA                            VARIOUS                              Wildfire                UNDETERMINED
        P.O. BOX 115                                                                  Litigation
        KENWOOD, CA 95452              ACCOUNT NO.: NOT AVAILABLE


3.21476 CLAY DUNAWAY                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21477 CLAY DUNAWAY                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21478 CLAY DUNAWAY                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21479 CLAY DUNAWAY                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21480 CLAY DUNAWAY                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.21481 CLAY EUGENE MAAG                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21482 CLAY EUGENE MAAG                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21483 CLAY EUGENE MAAG                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21484 CLAY EUGENE MAAG                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21485 CLAY, BEN                                VARIOUS                              Wildfire                UNDETERMINED
        3947 BANDINI ST                                                               Litigation
        SAN DIEGO, CA 92103            ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21486 CLAYTON ALARCON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21487 CLAYTON ALARCON                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21488 CLAYTON ALARCON                          VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21489 CLAYTON ALARCON                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21490 CLAYTON SCHNURR                          VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                     Litigation
        (SBN 99126)NATASHA N.          ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21491 CLAYTON SCHNURR                         VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.21492 CLAYTON SCHNURR                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21493 CLAYTON SCHNURR                         VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.21494 CLAYTON, LOUISE                         VARIOUS                              Wildfire                UNDETERMINED
        70 LONDON WAY                                                                Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.21495 CLEMENT, MORGAN                         VARIOUS                              Wildfire                UNDETERMINED
        836 LORNA DR                                                                 Litigation
        GLEN ELLEN, CA 95442          ACCOUNT NO.: NOT AVAILABLE


3.21496 CLEMONS, MIRANDA;                       VARIOUS                              Wildfire                UNDETERMINED
        ARMSTRONG, ARIELLE AND                                                       Litigation
        STOVER, LYNDYN (MINORS, BY    ACCOUNT NO.: NOT AVAILABLE
        AND THROUGH THEIR
        GUARDIAN AD LITEM, MIRANDA
        CLEMONS)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21497 CLEMONS, MIRANDA;                  VARIOUS                                  Wildfire                UNDETERMINED
        ARMSTRONG, ARIELLE AND                                                      Litigation
        STOVER, LYNDYN (MINORS, BY ACCOUNT NO.: NOT AVAILABLE
        AND THROUGH THEIR
        GUARDIAN AD LITEM, MIRANDA
        CLEMONS)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21498 CLEMONS, MIRANDA;                      VARIOUS                              Wildfire                UNDETERMINED
        ARMSTRONG, ARIELLE AND                                                      Litigation
        STOVER, LYNDYN (MINORS, BY   ACCOUNT NO.: NOT AVAILABLE
        AND THROUGH THEIR
        GUARDIAN AD LITEM, MIRANDA
        CLEMONS)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21499 CLEVENGER, KIMBERLY                    VARIOUS                              Wildfire                UNDETERMINED
        GUERRA; CLEVENGER, MONTE                                                    Litigation
        ALAN                         ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21500 CLEVENGER, KIMBERLY                    VARIOUS                              Wildfire                UNDETERMINED
        GUERRA; CLEVENGER, MONTE                                                    Litigation
        ALAN                         ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21501 CLEVENGER, KIMBERLY               VARIOUS                                   Wildfire                UNDETERMINED
        GUERRA; CLEVENGER, MONTE                                                    Litigation
        ALAN                      ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21502 CLIFF TRAMMEL                           VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD,                                                        Litigation
        ESQ.MICHAEL H. ARTINIAN,      ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.21503 CLIFF TRAMMEL                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                  Litigation
        C. AMAN, ESQ.WILLIAM P.       ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21504 CLIFF TRAMMEL                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.21505 CLIFFORD B. SELBY                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21506 CLIFFORD B. SELBY                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21507 CLIFFORD B. SELBY                        VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21508 CLIFFORD B. SELBY                        VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21509 CLIFFORD BRANCH                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21510 CLIFFORD BRANCH                          VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.21511 CLIFFORD BRANCH                          VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.21512 CLIFFORD BROMAN                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Wildfire Claims

3.21513 CLIFFORD BROMAN                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21514 CLIFFORD BROMAN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21515 CLIFFORD BROMAN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21516 CLIFFORD DEAN DENNING                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21517 CLIFFORD DEAN DENNING                    VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21518 CLIFFORD DEAN DENNING                    VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21519 CLIFFORD DEAN DENNING                      VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                      Litigation
        STATE BAR NO. 157400)            ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21520 CLIFFORD GARRISON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21521 CLIFFORD GARRISON                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21522 CLIFFORD GARRISON                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21523 CLIFFORD GARRISON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21524 CLIFFORD GARRISON                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.21525 CLIFFORD HOLLENBACK                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21526 Clifford Hollenback                           VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hac Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hac Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.21527 CLIFFORD PIERCE                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                               Litigation
        178658DYLAN HUGHES- BAR             ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21528 CLIFFORD PIERCE                               VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                        Litigation
        126782AMANDA L. RIDDLE -            ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21529 CLIFFORD PIERCE                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                           Litigation
        A. BAGHDADI                         ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21530 CLIFFORD PIERCE                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21531 CLIFFORD R OLSON JR.                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21532 CLIFFORD R OLSON JR.                     VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.21533 CLIFFORD R OLSON JR.                     VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21534 CLIFFORD R OLSON JR.                     VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.21535 CLIFFORD SMITH                           VARIOUS                              Wildfire                UNDETERMINED
        EUSTACE DE SAINT                                                              Litigation
        PHALLEJOSEPH R. LUCIA          ACCOUNT NO.: NOT AVAILABLE
        RAINS LUCIA STERN ST.
        PRALLE & SILVER, PC
        2300 CONTRA COSTA BLVD.,
        SUITE 500
        PLEASANT HILL, CA 94523




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.21536 CLIFFORD, SCOTT                           VARIOUS                              Wildfire                UNDETERMINED
        14808 HOLMWOOD DR.                                                             Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.21537 CLIFT, CARLA                              VARIOUS                              Wildfire                UNDETERMINED
        167 WINGARD CIRCLE                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.21538 CLIFTON BROCKMAN                          VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.21539 CLIFTON BROCKMAN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.21540 CLIFTON BROCKMAN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21541 CLIFTON BROCKMAN                          VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.21542 CLIFTON SHELDON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.21543 Clifton Sheldon                                VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.21544 CLIFTON SHELDON                                VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21545 CLINT FREEDLE                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21546 CLINT FREEDLE                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359KRISTINE K.                    ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21547 CLINT FREEDLE                                  VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                                Litigation
        178658DYLAN HUGHES- BAR              ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.21548 CLINT FREEDLE                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21549 CLINT GARMAN                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21550 CLINT GARMAN                              VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.21551 CLINT GARMAN                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.21552 CLINT GARMAN                              VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.21553 CLINT HUDSON                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21554 CLINT HUDSON                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                Litigation
        TOSDAL LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.21555 CLINT HUDSON                            VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                     Litigation
        60768GAYLE M. BLATT, SBN      ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.21556 CLINTON ERVIN WEAVER                    VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.21557 CLINTON ERVIN WEAVER                    VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.21558 CLINTON ERVIN WEAVER                    VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.21559 CLINTON HAMILTON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21560 CLINTON HAMILTON                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21561 CLINTON HAMILTON                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21562 CLINTON HAMILTON                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21563 CLINTON ROBERTSON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21564 CLINTON ROBERTSON                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21565 CLINTON ROBERTSON                        VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                     Litigation
        160461)                        ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.21566 CLINTON ROBERTSON                         VARIOUS                              Wildfire                UNDETERMINED
        DAVID P. MATTHEWS- PRO HAC                                                     Litigation
        VICE TO BE FILED                ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES LAW
        FIRM
        290S SACKETT ST.
        HOUSTON, TEXAS 77098


3.21567 CLINTON ROBERTSON                         VARIOUS                              Wildfire                UNDETERMINED
        MELVIN C. BELLI - BAR NO.                                                      Litigation
        111309ROBERT J.A. FORDIANI      ACCOUNT NO.: NOT AVAILABLE
        — BAR NO. 256041
        THE BELLI LAW FIRM
        33 MILLER AVE
        MILL VALLEY, CALIFORNIA 94941


3.21568 CLIVER, GINA                              VARIOUS                              Wildfire                UNDETERMINED
        607 ST MARY DR                                                                 Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.21569 CLODE, OLIVER                             VARIOUS                              Wildfire                UNDETERMINED
        515 CAVEDALE ROAD                                                              Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.21570 CLOE CANTARUTTI                           VARIOUS                              Wildfire                UNDETERMINED
        RICHARD SAX                                                                    Litigation
        LAW OFFICES OF RICHARD SAX      ACCOUNT NO.: NOT AVAILABLE
        448 SEBASTOPOL AVENUE
        SANTA ROSA, CA 95401


3.21571 CLOSS, SUSAN                              VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21572 CLOSS, SUSAN                      VARIOUS                                      Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21573 CLOSS, SUSAN                              VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21574 CLOW, CAROL                              VARIOUS                              Wildfire                UNDETERMINED
        14218 WINGATE CIRCLE                                                          Litigation
        MAGALIA, CA 95954              ACCOUNT NO.: NOT AVAILABLE


3.21575 CLYDE DUNCAN                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.21576 CLYDE DUNCAN                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.21577 CLYDE DUNCAN                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21578 CLYDE DUNCAN                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.21579 CLYDE DUNCAN                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.21580 CLYDE IKEDA                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.21581 CLYDE IKEDA                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21582 CLYDE IKEDA                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.21583 CLYDE IKEDA                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.21584 CNA INSURANCE COMPANY                     VARIOUS                              Wildfire                UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                        Litigation
        JANG & ASSOCIATES LLP           ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21585 CNA INSURANCE COMPANY                     VARIOUS                              Wildfire                UNDETERMINED
        HOWARD D. MAYCON                                                               Litigation
        COZEN O'CONNOR                  ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.21586 CNA INSURANCE COMPANY                     VARIOUS                              Wildfire                UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                         Litigation
        REGANDAVID D. BRISCO            ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21587 COAR, CECILE                            VARIOUS                              Wildfire                UNDETERMINED
        7014 OAKMONT DRIVE                                                           Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.21588 COAST NATIONAL INSURANCE                VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        CRAIG S. SIMON                ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.21589 COAST NATIONAL INSURANCE                VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        CRAIG S. SIMON (SBN 78158)    ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.21590 COATS, CARL                             VARIOUS                              Wildfire                UNDETERMINED
        15116 JACK PINE WAY                                                          Litigation
        MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE


3.21591 COCKERHAM, MICHAEL                      VARIOUS                              Wildfire                UNDETERMINED
        P.O. BOX 274                                                                 Litigation
        OREGON HOUSE, CA 95962        ACCOUNT NO.: NOT AVAILABLE


3.21592 CODDING, JAMES                          VARIOUS                              Wildfire                UNDETERMINED
        1526 BARN OWL PLACE                                                          Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.21593 CODY AGOST                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21594 CODY AGOST                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21595 CODY AGOST                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.21596 CODY AGOST                               VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21597 CODY AGOST                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21598 CODY BOSTON                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21599 CODY BOSTON                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.21600 CODY BOSTON                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21601 CODY BOSTON                                VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.21602 CODY CLOYD                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21603 CODY CLOYD                                 VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21604 CODY CLOYD                                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21605 CODY CLOYD                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21606 CODY CLOYD                                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21607 CODY H O'KELLY                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21608 CODY H O'KELLY                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21609 CODY H O'KELLY                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21610 CODY H O'KELLY                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21611 CODY H O'KELLY                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21612 CODY MACKEL                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21613 CODY MACKEL                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21614 CODY MACKEL                                VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21615 CODY MACKEL                                VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.21616 CODY MORGAN                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21617 CODY MORGAN                                VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21618 CODY MORGAN                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21619 CODY MORGAN                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21620 CODY MORGAN                              VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                        Litigation
        SHEARJASON BOYER               ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.21621 CODY NIEPORTE                            VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21622 CODY NIEPORTE                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21623 CODY NIEPORTE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21624 CODY NIEPORTE                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21625 COHEN, MARYN                             VARIOUS                              Wildfire                UNDETERMINED
        17169 HWY 12                                                                  Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21626 COIT, JAMES                            VARIOUS                              Wildfire                UNDETERMINED
        DANIEL G. WHALEN                                                            Litigation
        ENGSTROM LIPSCOMB & LACK     ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.21627 COKER, THOMAS M.;                 VARIOUS                                   Wildfire                UNDETERMINED
        BROTHERTON, TABATHA SUE                                                     Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21628 COKER, THOMAS M.;                      VARIOUS                              Wildfire                UNDETERMINED
        BROTHERTON, TABATHA SUE                                                     Litigation
        ELLIOT ADLERBRITTANY         ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21629 COKER, THOMAS M.;                      VARIOUS                              Wildfire                UNDETERMINED
        BROTHERTON, TABATHA SUE                                                     Litigation
        GERARD SINGLETONERIKA L.     ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21630 COLASSE, PHILIPPE                      VARIOUS                              Wildfire                UNDETERMINED
        30 NOONAN RANCH CIRCLE                                                      Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.21631 COLBURN, ADAM GREGORY                  VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                        Litigation
        ZUMMER                       ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21632 COLBURN, ADAM GREGORY                  VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                    Litigation
        VASQUEZAMANDA LOCUTRO        ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Wildfire Claims

3.21633 COLBURN, ADAM GREGORY             VARIOUS                                     Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                        Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21634 COLBY BOSTON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21635 COLBY BOSTON                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.21636 COLBY BOSTON                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21637 COLBY BOSTON                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.21638 COLBY PAYNE                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21639 COLBY PAYNE                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21640 COLBY PAYNE                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21641 COLBY PAYNE                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21642 COLE, CRISTINA                           VARIOUS                              Wildfire                UNDETERMINED
        3324 TWIN OAKS DR                                                             Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.21643 COLEEN KUBACAK                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21644 COLEEN KUBACAK                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21645 COLEEN LATOSA                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.21646 COLEEN LATOSA                            VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                        Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.21647 COLEEN LATOSA                            VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.21648 COLEMAN, ADDISON; SARA                   VARIOUS                              Wildfire                UNDETERMINED
        RADER-COLEMAN                                                                 Litigation
        (ARMSTRONG); COLEMAN,          ACCOUNT NO.: NOT AVAILABLE
        ABIGAL; ANNABELLA; AND
        APRIL (THROUGH GAL SARAH
        RADER-COLEMAN) (COLEMAN)
        FRANK M. PITRE, ALISON E.
        CORDOVA
        841 MALCOM ROAD
        SUITE 201
        BURLINGAME, CA 94011


3.21649 COLETTE JOHN                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.21650 COLETTE JOHN                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.21651 COLETTE JOHN                                   VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                      Litigation
        LAW OFFICES OF ALEXANDER             ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.21652 COLETTE JOHN                                   VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                             Litigation
        DIXONROBERT J. CHAMBERS II           ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21653 COLETTE JOHN                                   VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                               Litigation
        TERRY SINGLETON, A.P.C.              ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21654 COLETTE JOHN                                   VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                          Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        IAN C. FUSSELMAN,
        ESQ.BRETT. J. SCHREIBER,
        ESQ.
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.21655 Colette Pardini                                VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.21656 COLETTE PARDINI                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.21657 COLETTE PARDINI                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.21658 COLETTI, TODD                             VARIOUS                              Wildfire                UNDETERMINED
        1969 RESPITE PL                                                                Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.21659 COLIN FOSTER                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.21660 COLIN FOSTER                              VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.21661 COLIN FOSTER                              VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.21662 COLIN GILMORE                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21663 COLIN GILMORE                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.21664 COLIN GILMORE                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.21665 COLIN GILMORE                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.21666 COLIN RUDOLPH                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21667 COLLAY, MICHELLE                          VARIOUS                              Wildfire                UNDETERMINED
        DANIEL G. WHALEN                                                               Litigation
        ENGSTROM LIPSCOMB & LACK        ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.21668 COLLEEN AHERN GALVIN                      VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX,        ACCOUNT NO.: NOT AVAILABLE
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21669 COLLEEN AHERN GALVIN                     VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTSGUY WATTS                                                       Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       RYAN L. THOMPSONPAIGE
       BOLDT
       WATTS GUERRA LLP
       811 BARTON SPRINGS RD. STE.
       725
       AUSTIN, TEXAS 78704


3.21670 COLLEEN ARNOL                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21671 COLLEEN ARNOL                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21672 COLLEEN ARNOL                            VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21673 COLLEEN ARNOL                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21674 COLLEEN BLACK                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                        Litigation
        J. EBALLAR                       ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.21675 COLLEEN BLACK                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21676 COLLEEN BOTTINI                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21677 COLLEEN BOTTINI                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21678 COLLEEN BOTTINI                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21679 COLLEEN BOTTINI                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21680 COLLEEN BOTTINI                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21681 COLLEEN LYNN ALBERT                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21682 COLLEEN LYNN ALBERT                      VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21683 COLLEEN LYNN ALBERT                      VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21684 COLLEEN LYNN ALBERT                      VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21685 COLLEEN MULGREW                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21686 COLLEEN MULGREW                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21687 COLLEEN MULGREW                          VARIOUS                              Wildfire                UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                    Litigation
        STRAUSS                        ACCOUNT NO.: NOT AVAILABLE
        GWILLIAM, IVARY, CHIOSSO,
        CAVALLI & BREWER
        1999 HARRISON STREET, SUITE
        1600
        OAKLAND, CA 94612


3.21688 COLLEEN MULGREW                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21689 COLLEEN MULGREW                          VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                            Litigation
        DANIELS LAW                    ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.21690 COLLEEN PISANESCHI                       VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.21691 COLLEEN PISANESCHI                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21692 COLLEEN PRESTIDGE                      VARIOUS                              Wildfire                UNDETERMINED
        SANDRA RIBERA SPEEDMIA                                                      Litigation
        MATTIS                       ACCOUNT NO.: NOT AVAILABLE
        RIBERA LAW FIRM APC
        157 WEST PORTAL AVENUE,
        SUITE 2
        SAN FRANCISCO, CA 94127


3.21693 COLLEY, CHANDRA                        VARIOUS                              Wildfire                UNDETERMINED
        330 WIKIUP DR                                                               Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.21694 COLLINS, JEFFREY                       VARIOUS                              Wildfire                UNDETERMINED
        1445 PARSONS DRIVE                                                          Litigation
        SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.21695 COLLINS, LORRAINE                      VARIOUS                              Wildfire                UNDETERMINED
        8849 HOOD MOUNTAIN WAY                                                      Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.21696 COLONIAL COUNTY MUTUAL                 VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE CO.                                                               Litigation
        MAURA WALSH                  ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939


3.21697 COLONIAL COUNTY MUTUAL                 VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE CO.                                                               Litigation
        CRAIG S. SIMON (SBN 78158)   ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.21698 COLONIAL COUNTY MUTUAL                 VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE CO.                                                               Litigation
        CRAIG S. SIMON (SBN 78158)   ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21699 COLONIAL COUNTY MUTUAL                   VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE CO.                                                                 Litigation
        MAURA WALSH                    ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939


3.21700 COLONIAL COUNTY MUTUAL                   VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                             Litigation
        MARK S. GROTEFELDMAURA         ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.21701 COLONIAL COUNTY MUTUAL                   VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                             Litigation
        ALAN J. JANG SALLY NOMA        ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21702 COLONIAL COUNTY MUTUAL                   VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                             Litigation
        CRAIG S. SIMON                 ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.21703 COLORFLOWS, ELIJAH CANALES               VARIOUS                              Wildfire                UNDETERMINED
        11219 DAWN TERRACE YANKEE                                                     Litigation
        HILL 95965                     ACCOUNT NO.: NOT AVAILABLE
        YANKEE HILL, CA 95965


3.21704 COLSHID SCARKOURI PARTOVI                VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. THOMPSON                                                            Litigation
        THOMPSON LAW OFFICES, P.C.     ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21705 COMBS, JULIE                            VARIOUS                              Wildfire                UNDETERMINED
        965 LOS ALAMOS RD                                                            Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.21706 COMET CORN-SOLESKI,                     VARIOUS                              Wildfire                UNDETERMINED
        SHERRY                                                                       Litigation
        3485 AIRWAY DR                ACCOUNT NO.: NOT AVAILABLE
        E
        SANTA ROSA, CA 95403


3.21707 COMMERCE WEST INSURANCE                 VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        KEVIN D. BUSHTHOMAS M.        ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.21708 COMMERCE WEST INSURANCE                 VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21709 COMMERCE WEST INSURANCE                 VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        HOWARD D. MAYCON              ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.21710 COMMUNITY ACTION                        VARIOUS                              Wildfire                UNDETERMINED
        PARTNERSHIP OF SONOMA                                                        Litigation
        COUNTY-BUCKLEY, CARLA         ACCOUNT NO.: NOT AVAILABLE
        141 STONY CIR STE 210
        SANTA ROSA, CA 95401


3.21711 COMMUNITY HOUSING                       VARIOUS                              Wildfire                UNDETERMINED
        IMPROVEMENT PROGRAM, INC.                                                    Litigation
        THOMAS TOSDAL, SBN 67834      ACCOUNT NO.: NOT AVAILABLE
        TOSDAL LAW FIRM
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.21712 COMMUNITY HOUSING                         VARIOUS                              Wildfire                UNDETERMINED
        IMPROVEMENT PROGRAM, INC.                                                      Litigation
        DAVID S. CASEY, JR., SBN        ACCOUNT NO.: NOT AVAILABLE
        60768ANGELA JAE CHUN, SBN
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.21713 COMMUNITY HOUSING                         VARIOUS                              Wildfire                UNDETERMINED
        IMPROVEMENT PROGRAM, INC.                                                      Litigation
        MICHAEL A. KELLYKHALDOUN        ACCOUNT NO.: NOT AVAILABLE
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21714 COMMUNITY HOUSING                         VARIOUS                              Wildfire                UNDETERMINED
        IMPROVEMENT PROGRAM, INC.                                                      Litigation
        MICHAEL S. FEINBERG, SBN        ACCOUNT NO.: NOT AVAILABLE
        81867
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.21715 COMMUNITY HOUSING                         VARIOUS                              Wildfire                UNDETERMINED
        IMPROVEMENT PROGRAM,                                                           Litigation
        KAREN TALLMAN                   ACCOUNT NO.: NOT AVAILABLE
        16508 SE 24TH ST.
        VANCOUVER, CA 98683


3.21716 CONATSER, JENNIFER JOY                    VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21717 CONATSER, JENNIFER JOY                    VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21718 CONATSER, JENNIFER JOY            VARIOUS                                    Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                       Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21719 CONCHITA G.M. SEALE                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21720 CONCHITA G.M. SEALE                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21721 CONCHITA G.M. SEALE                     VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21722 CONCHITA G.M. SEALE                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21723 CONCHITA G.M. SEALE                     VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21724 CONDER, BREANNE; FLYNN,                VARIOUS                              Wildfire                UNDETERMINED
        ZEBULUN; LEWIS, DAYTON, (A                                                  Litigation
        MINOR, BY AND THROUGH HIS    ACCOUNT NO.: NOT AVAILABLE
        GUARDIAN AD LITEM, BREANNE
        CONDER)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21725 CONDER, BREANNE; FLYNN,            VARIOUS                                  Wildfire                UNDETERMINED
        ZEBULUN; LEWIS, DAYTON, (A                                                  Litigation
        MINOR, BY AND THROUGH HIS  ACCOUNT NO.: NOT AVAILABLE
        GUARDIAN AD LITEM, BREANNE
        CONDER)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21726 CONDER, BREANNE; FLYNN,                VARIOUS                              Wildfire                UNDETERMINED
        ZEBULUN; LEWIS, DAYTON, (A                                                  Litigation
        MINOR, BY AND THROUGH HIS    ACCOUNT NO.: NOT AVAILABLE
        GUARDIAN AD LITEM, BREANNE
        CONDER)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21727 CONDER, DURISE ANN;                    VARIOUS                              Wildfire                UNDETERMINED
        CONDER, RODNEY HOWARD;                                                      Litigation
        CONDER, LYNDA CHANEL (A      ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM RODNEY
        HOWARD CONDER)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21728 CONDER, DURISE ANN;               VARIOUS                                   Wildfire                UNDETERMINED
        CONDER, RODNEY HOWARD;                                                      Litigation
        CONDER, LYNDA CHANEL (A   ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM RODNEY
        HOWARD CONDER)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101

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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.21729 CONDER, DURISE ANN;                            VARIOUS                              Wildfire                UNDETERMINED
        CONDER, RODNEY HOWARD;                                                              Litigation
        CONDER, LYNDA CHANEL (A              ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM RODNEY
        HOWARD CONDER)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21730 CONDER, KENNEY;                   VARIOUS                                           Wildfire                UNDETERMINED
        BETTENCOURT, SONIA;                                                                 Litigation
        BETTENCOURT, ALYSSA (A    ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM SONIA
        BETTENCOURT);
        BETTENCOURT, ANDREW
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21731 CONDER, KENNEY;                                VARIOUS                              Wildfire                UNDETERMINED
        BETTENCOURT, SONIA;                                                                 Litigation
        BETTENCOURT, ALYSSA (A               ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM SONIA
        BETTENCOURT);
        BETTENCOURT, ANDREW
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21732 Conder, Kenney; Bettencourt,                   VARIOUS                              Wildfire                UNDETERMINED
        Sonia; Bettencourt, Alyssa (a                                                       Litigation
        minor, by and through her guardian   ACCOUNT NO.: NOT AVAILABLE
        ad litem Sonia Bettencourt);
        Bettencourt, Andrew
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.21733 CONDON, JUDY                                   VARIOUS                              Wildfire                UNDETERMINED
        15561 ARNOLD DRIVE                                                                  Litigation
        SONOMA, CA 95476                     ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21734 CONDON, JUDY                           VARIOUS                              Wildfire                UNDETERMINED
        15561 ARNOLD DRIVE                                                          Litigation
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.21735 CONLEY, ROBERT ANDREW                  VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                        Litigation
        ZUMMER                       ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21736 CONLEY, ROBERT ANDREW                  VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                    Litigation
        VASQUEZAMANDA LOCUTRO        ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21737 CONLEY, ROBERT ANDREW             VARIOUS                                   Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                      Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21738 CONLON, SUSAN                          VARIOUS                              Wildfire                UNDETERMINED
        750 JEAN MARIE DRIVE                                                        Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.21739 CONNI BEALL                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21740 CONNI BEALL                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                  Litigation
        111359KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21741 CONNI BEALL                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21742 CONNI BEALL                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21743 CONNIE DANILOV                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21744 CONNIE DANILOV                           VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                       Litigation
        (BAR NO. 295951) RACHEL        ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.21745 CONNIE DANILOV                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21746 CONNIE DANILOV                           VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                                 Litigation
        NO.254651)JOANNA LEE FOX       ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.21747 CONNIE EPPERSON                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21748 CONNIE EPPERSON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21749 CONNIE EPPERSON                          VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21750 CONNIE EPPERSON                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.21751 CONNIE EPPERSON                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21752 CONNIE L GRAHAM                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21753 CONNIE L GRAHAM                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21754 CONNIE L GRAHAM                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21755 CONNIE L GRAHAM                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21756 CONNIE L GRAHAM                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21757 CONNIE MAYER                            VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                     Litigation
        60768ANGELA JAE CHUN, SBN     ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21758 CONNIE MAYER                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                        Litigation
        81867                            ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.21759 CONNIE MAYER                               VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                        Litigation
        TOSDAL LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.21760 CONNIE MAYER                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21761 CONNIE PARKER                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21762 CONNIE PARKER                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21763 CONNIE PARKER                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21764 CONNIE PARKER                            VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                        Litigation
        SHEARJASON BOYER               ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.21765 CONNIE PARKER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21766 CONNIE ROBERTS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21767 CONNIE ROBERTS                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.21768 CONNIE ROBERTS                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21769 CONNIE ROBERTS                           VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21770 CONNIE WHITTED                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21771 CONNIE WHITTED                             VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.21772 CONNIE WHITTED                             VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21773 CONNIE WHITTED                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21774 CONNIE WHITTED                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21775 CONNIFF, CATHRINE                          VARIOUS                              Wildfire                UNDETERMINED
        321 MUND RD                                                                     Litigation
        DEER PARK, CA 94576              ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21776 CONNOR MOMSEN                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.21777 CONNOR MOMSEN                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.21778 CONNOR WRIGHT                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.21779 CONNOR WRIGHT                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21780 CONRAD COLBRANDT                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21781 CONRAD COLBRANDT                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.21782 CONRAD COLBRANDT                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21783 CONRAD COLBRANDT                         VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21784 CONRAD COLBRANDT                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.21785 CONRAD J. CRAFT                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.21786 CONRAD J. CRAFT                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228BRETT R. PARKINSON,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21787 CONRAD J. CRAFT                         VARIOUS                              Wildfire                UNDETERMINED
        §ETH L. GOLDSTEIN                                                            Litigation
        LAW OFFICES OF SETH L.        ACCOUNT NO.: NOT AVAILABLE
        GOLDSTEIN
        2100 GARDEN ROAD, SUITE H-8
        MONTEREY, CA. 93940


3.21788 CONRAD J. CRAFT                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21789 CONRAD WONG                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21790 CONRAD WONG                             VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                   Litigation
        54426) DANIEL S. ROBINSON     ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.21791 CONRAD WONG                             VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21792 CONRAD WONG                             VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                           Litigation
        DANIELS LAW                   ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.21793 CONRAD WONG                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.21794 CONREY, ANTHONY R.; WALLS,                     VARIOUS                              Wildfire                UNDETERMINED
        CHERYL L.                                                                           Litigation
        ELLIOT ADLERBRITTANY                 ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21795 CONREY, ANTHONY R.; WALLS,                     VARIOUS                              Wildfire                UNDETERMINED
        CHERYL L.                                                                           Litigation
        GERARD SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21796 CONREY, ANTHONY R.; WALLS,         VARIOUS                                          Wildfire                UNDETERMINED
        CHERYL L.                                                                           Litigation
        CO-COUNSELDEMETRIOS A.     ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21797 CONSTANCE SHAPIRO                              VARIOUS                              Wildfire                UNDETERMINED
        LOUISE H. RENNE GEOFFREY                                                            Litigation
        SPELLBERGALEX LEMBERG                ACCOUNT NO.: NOT AVAILABLE
        RENNE PUBLIC LAW GROUP
        350 SANSOME STREET, SUITE
        300
        SAN FRANCISCO, CALIFORNIA
        94104


3.21798 Constance Tiegel                               VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21799 CONSTANCE TIEGEL                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359 KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21800 CONSTANCE TIEGEL                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                     Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.21801 CONSTANCE WOLFE                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                        Litigation
        J. EBALLAR                       ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.21802 CONSTANCE WOLFE                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21803 CONSTANTINA HOWARD                         VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21804 CONSTANTINA HOWARD                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21805 CONSTANTINA HOWARD                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21806 CONSTANTINA HOWARD                       VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                     Litigation
        160461)                        ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.21807 CONSTANTINA HOWARD                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH FEIST -- SBN                                                           Litigation
        249447JONATHAN J.              ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.21808 CONSTANZA PINZON                         VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.21809 CONSTANZA PINZON                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21810 CONSTANZA PINZON                         VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




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Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.21811 CONSTITUTION STATE                         VARIOUS                              Wildfire                UNDETERMINED
        SERVICES, LLC                                                                   Litigation
        A. SCOTT LOEWE,                 ACCOUNT NO.: NOT AVAILABLE
        #230606MARIE BAUMAN.
        #252584PA1RICK Y. HOWELL,
        #298296
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85265


3.21812 Continental Casualty Company                VARIOUS                             Wildfire                UNDETERMINED
        Paul A. Casetta (Pro Hac                                                        Litigation
        Pending)Alan B. McMaster (Pro       ACCOUNT NO.: NOT AVAILABLE
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.21813 CONTINENTAL CASUALTY                       VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                         Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.21814 CONTINENTAL CASUALTY                       VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                         Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21815 CONTINENTAL CASUALTY                       VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                         Litigation
        HOWARD D. MAYCON                ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21816 CONTINENTAL INSURANCE                   VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        KEVIN D. BUSHTHOMAS M.        ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.21817 CONTINENTAL INSURANCE                   VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        HOWARD D. MAYCON              ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.21818 CONTINENTAL INSURANCE                   VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.21819 CONTRERAS, ALMA                         VARIOUS                              Wildfire                UNDETERMINED
        3901 COUNTRY CLUB DR                                                         Litigation
        A                             ACCOUNT NO.: NOT AVAILABLE
        CLEARLAKE, CA 95422


3.21820 CONTRERAS, EDUARDO,                 VARIOUS                                  Wildfire                UNDETERMINED
        SUSANA, VIOLETA AND HUGO, A                                                  Litigation
        MINOR, BY AND THROUGH HIS   ACCOUNT NO.: NOT AVAILABLE
        GUARDIAN AD LITEM, SUSANA
        CONTRERAS
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21821 CONTRERAS, EDUARDO,                     VARIOUS                              Wildfire                UNDETERMINED
        SUSANA, VIOLETA AND HUGO, A                                                  Litigation
        MINOR, BY AND THROUGH HIS     ACCOUNT NO.: NOT AVAILABLE
        GUARDIAN AD LITEM, SUSANA
        CONTRERAS
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21822 CONTRERAS, EDUARDO,                     VARIOUS                              Wildfire                UNDETERMINED
        SUSANA, VIOLETA AND HUGO, A                                                  Litigation
        MINOR, BY AND THROUGH HIS     ACCOUNT NO.: NOT AVAILABLE
        GUARDIAN AD LITEM, SUSANA
        CONTRERAS
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21823 CONTRERAS, STEVEN MICHAEL;              VARIOUS                              Wildfire                UNDETERMINED
        NEVAREZ, CHERYL ARDELL                                                       Litigation
        GERALD SINGLETON              ACCOUNT NO.: NOT AVAILABLE
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21824 CONTRERAS, STEVEN MICHAEL;              VARIOUS                              Wildfire                UNDETERMINED
        NEVAREZ, CHERYL ARDELL                                                       Litigation
        ELLIOT ADLER                  ACCOUNT NO.: NOT AVAILABLE
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.21825 CONTRERAS, STEVEN MICHAEL;              VARIOUS                              Wildfire                UNDETERMINED
        NEVAREZ, CHERYL ARDELL                                                       Litigation
        CO-COUNSEL                    ACCOUNT NO.: NOT AVAILABLE
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101


3.21826 CONTRERAS, YOLANDA                      VARIOUS                              Wildfire                UNDETERMINED
        17900 SAN JACINTO DR                                                         Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.21827 CONWAY, MONICA                          VARIOUS                              Wildfire                UNDETERMINED
        17142 CEDAR AVE                                                              Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.21828 COOK, ANITA                             VARIOUS                              Wildfire                UNDETERMINED
        253 OAK SHADOW DR                                                            Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21829 COOK, JOSHUA M., BENTON                VARIOUS                              Wildfire                UNDETERMINED
        AND LORETTA                                                                 Litigation
        DARIO DE GHETALDI AMANDA     ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.21830 COOK, JOSHUA M., BENTON                VARIOUS                              Wildfire                UNDETERMINED
        AND LORETTA                                                                 Litigation
        MIKE DANKOKRISTINE           ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.21831 COOLEY, CECIL                          VARIOUS                              Wildfire                UNDETERMINED
        3820 OLD HIGHWAY 53 APT 2                                                   Litigation
        CLEARLAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.21832 COOLEY, JARED                          VARIOUS                              Wildfire                UNDETERMINED
        4730 TARTON DR                                                              Litigation
        SANTA ROSA, CA 95405         ACCOUNT NO.: NOT AVAILABLE


3.21833 COOPER, GERRY                          VARIOUS                              Wildfire                UNDETERMINED
        1093 BLUE RIDGE DR                                                          Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.21834 COPELAND, ROBERT                       VARIOUS                              Wildfire                UNDETERMINED
        DANIEL G. WHALEN                                                            Litigation
        ENGSTROM LIPSCOMB & LACK     ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.21835 COPUS, PATRICIA                        VARIOUS                              Wildfire                UNDETERMINED
        6909 ERLAND ROAD                                                            Litigation
        SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.21836 CORA KOLACZ                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21837 CORA KOLACZ                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21838 CORA KOLACZ                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21839 CORA KOLACZ                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21840 CORA KOLACZ                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21841 CORA KOLACZ                             VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21842 CORA KOLACZ                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.21843 CORA KOLACZ                                    VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                        Litigation
        BAR #1999994) (PRO HAE VICE          ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.21844 CORA KOLACZ                                    VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                               Litigation
        VICE PENDINGTEXAS BAR NO.            ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.21845 CORA KOLACZ                                    VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                               Litigation
        SINGLETONERIKA L.                    ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21846 Cora Loveland                                  VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.21847 CORA LOVELAND                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21848 CORA LOVELAND                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.21849 CORALIE BOKMAN                           VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21850 CORALIE BOKMAN                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21851 CORALIE BOKMAN                           VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21852 CORALIE BOKMAN                           VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21853 CORBY SARGENT                           VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.21854 CORCORAN, WILLIAM AND                   VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH                                                                    Litigation
        ERIC RATINOFFGREG STUCK       ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP.
        401 WATT AVENUE, SUITE 1
        SACRAMENTO, CA 95864


3.21855 CORDEIRO, MATTHEW                       VARIOUS                              Wildfire                UNDETERMINED
        2025 MONTICELLO RD                                                           Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.21856 CORDELIA ANDERSON                       VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.21857 CORDELIA ANDERSON                       VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.21858 CORDELIA ANDERSON                       VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21859 CORDELIA ANDERSON                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21860 CORDELLOS, ADINA                         VARIOUS                              Wildfire                UNDETERMINED
        963 MADRONE RD                                                                Litigation
        B6                             ACCOUNT NO.: NOT AVAILABLE
        GLEN ELLEN, CA 95442


3.21861 CORDES, LAURA                            VARIOUS                              Wildfire                UNDETERMINED
        2137 CROSSPOINT AVE                                                           Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.21862 CORDOZA, EV                              VARIOUS                              Wildfire                UNDETERMINED
        2288 GAMBELS WAY                                                              Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.21863 COREY GURULE                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21864 COREY GURULE                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.21865 COREY GURULE                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21866 COREY GURULE                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001



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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.21867 CORINE WILSON                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21868 CORINE WILSON                               VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21869 CORINE WILSON                               VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                         Litigation
        315962)TODD LOGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.21870 Corine Wilson                               VARIOUS                              Wildfire                UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111


3.21871 CORINNE CARTWRIGHT                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                     Litigation
        BAR #1999994) (PRO HAE VICE       ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21872 CORINNE CARTWRIGHT                      VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.21873 CORINNE CARTWRIGHT                      VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21874 CORINNE CARTWRIGHT                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21875 CORINNE CARTWRIGHT                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21876 CORNELL HITICAS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21877 CORNELL HITICAS                         VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21878 CORNELL HITICAS                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21879 CORNELL HITICAS                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.21880 CORNELL HITICAS                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.21881 CORNELL, JAMES                           VARIOUS                              Wildfire                UNDETERMINED
        12946 LAKE WILDWOOD DR.                                                       Litigation
        PENN VALLEY, CA 95946          ACCOUNT NO.: NOT AVAILABLE


3.21882 CORONADO, YURIRIA                        VARIOUS                              Wildfire                UNDETERMINED
        1200 OAK KNOLL AVE                                                            Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.21883 CORRIE LEISEN                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21884 CORRIE LEISEN                            VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21885 CORRIE LEISEN                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.21886 CORRIE LEISEN                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.21887 CORRIE LEISEN                           VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                   Litigation
        HANSEN & MILLER LAW FIRM      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.21888 CORRINE M SMITH                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21889 CORRINE M SMITH                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21890 CORRINE M SMITH                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21891 CORRINE M SMITH                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21892 CORRINE M SMITH                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21893 CORTC. SCHREIBER                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21894 CORTC. SCHREIBER                        VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                  Litigation
        SBN 119554MICHAEL H.          ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21895 CORTC. SCHREIBER                        VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                   Litigation
        87492WILLIAM P. HARRIS III,   ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.21896 CORTC. SCHREIBER                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21897 CORTC. SCHREIBER                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21898 CORTEZ, IGNACIO                          VARIOUS                              Wildfire                UNDETERMINED
        2009 DIEGO AVE                                                                Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.21899 CORY FARRIS                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21900 CORY FARRIS                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21901 CORY FARRIS                              VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21902 CORY FARRIS                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.21903 CORY FARRIS                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21904 CORY HUNT                                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21905 CORY HUNT                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21906 CORY HUNT                                  VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21907 CORY HUNT                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21908 CORY HUNT                                  VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.21909 CORY JACKSON                               VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                      Litigation
        ZUMMERAMANDA J.                  ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21910 CORY JACKSON                             VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21911 CORY JACKSON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21912 CORY JACKSON                             VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21913 CORY PALMER                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21914 CORY PALMER                              VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21915 CORY PALMER                              VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21916 CORY PALMER                              VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21917 CORY WISNEWSKI                           VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.21918 CORY WISNEWSKI                           VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.21919 CORY WISNEWSKI                           VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.21920 COSIMO M. NESCI                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21921 COSIMO M. NESCI                          VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21922 COSIMO M. NESCI                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21923 COSIMO M. NESCI                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.21924 COSTA, CHAD                              VARIOUS                              Wildfire                UNDETERMINED
        8 VOSS PARK CIRCLE                                                            Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.21925 COTA, KAREN                              VARIOUS                              Wildfire                UNDETERMINED
        6263 MONTECITO BLVD #9                                                        Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.21926 COUNTY OF BUTTE, A                       VARIOUS                              Wildfire                UNDETERMINED
        POLITICAL SUBDIVISION OF THE                                                  Litigation
        STATE OF CALIFORNIA            ACCOUNT NO.: NOT AVAILABLE
        GEORGE ERNEST
        WASHRNGTON (SBN
        46281)PETER GEORGE
        WASHINGTON (SBN 230514)
        WASHINGTON & WASHINGTON
        1600 HUMBOLDT RD., STE. 2
        CHICO, CA


3.21927 COUNTY OF BUTTE, A                       VARIOUS                              Wildfire                UNDETERMINED
        POLITICAL SUBDIVISION OF THE                                                  Litigation
        STATE OF CALIFORNIA            ACCOUNT NO.: NOT AVAILABLE
        ED DIAB (SBN 2623 I
        9)DEBORAH S. DIXON (SBN
        248965)ROBERT J. CHAMBERS
        II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21928 COUNTY OF BUTTE, A                       VARIOUS                              Wildfire                UNDETERMINED
        POLITICAL SUBDIVISION OF THE                                                  Litigation
        STATE OF CALIFORNIA            ACCOUNT NO.: NOT AVAILABLE
        BRUCE S. ALPERT (SBN
        75684)BRAD J. STEPHENS
        (SBN 212246)
        OFFICE OF COUNTY
        COUNSELCOUNTY OF BUTTE
        25 COUNTY CENTER DRIVE
        OROVILLE, CA


3.21929 COUNTY OF BUTTE, A                       VARIOUS                              Wildfire                UNDETERMINED
        POLITICAL SUBDIVISION OF THE                                                  Litigation
        STATE OF CALIFORNIA            ACCOUNT NO.: NOT AVAILABLE
        SCOTT SUMMY (PRO HAC VICE
        PENDING)JOHN P. FISKE (SBN
        249256)STEPHEN JOHNSTON
        (PRO HAC VICE PENDING)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA


3.21930 COUNTY OF LAKE                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIABDEBORAH                                                                Litigation
        DIXONROBERT CHAMBERS II        ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        5011 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21931 COUNTY OF LAKE                           VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21932 COUNTY OF LAKE                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21933 COUNTY OF LAKE                           VARIOUS                              Wildfire                UNDETERMINED
        ANITA GRANT                                                                   Litigation
        COUNTY OF LAKEOFFICE OF        ACCOUNT NO.: NOT AVAILABLE
        CITY COUNSEL
        255 N. FORBES ST
        LAKEPORT, CA 95453


3.21934 COUNTY OF LAKE                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)(TEXAS BAR NO.         ACCOUNT NO.: NOT AVAILABLE
        19507500) JOHN FISKE (SBN
        249256) BRITT STROTTMAN
        (209595)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO COURT
        SUITE 265
        SAN DIEGO, CA 92127


3.21935 COUNTY OF LAKE                           VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21936 COUNTY OF NEVADA                         VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21937 COUNTY OF NEVADA                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21938 COUNTY OF NEVADA                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21939 COUNTY OF NEVADA                         VARIOUS                              Wildfire                UNDETERMINED
        ALISON A. BARRATT-GREEN                                                       Litigation
        (SBN 148360)                   ACCOUNT NO.: NOT AVAILABLE
        COUNTY OF NEVADAOFFICE
        OF COUNTY COUNSEL
        MAIDU AVENUE, SUITE 240
        NEVADA CITY, CA 95959


3.21940 COUNTY OF NEVADA                         VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21941 COUNTY OF NEVADA                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)(TEXAS BAR NO.         ACCOUNT NO.: NOT AVAILABLE
        19507500) JOHN FISKE (SBN
        249256)BRITT STROTTMAN
        (SBN 209595)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO COURT
        SUITE 265
        SAN DIEGO, CA 92127


3.21942 COUNTY OF SONOMA                         VARIOUS                              Wildfire                UNDETERMINED
        BRUCE D. GOLDSTEINCOUNTY                                                      Litigation
        COUNSELDEBBIE F. LATHAM        ACCOUNT NO.: NOT AVAILABLE

       CHIEF DEPUTY COUNTY
       COUNSELPETRA
       BRUGGISSERDEPUTY
       COUNTY COUNSEL
       OFFICE OF THE COUNTY
       COUNSEL
       575 ADMINISTRATION DRIVE,
       ROOM 105
       SANTA ROSA, CALIFORNIA
       95403-2815


3.21943 COUNTY OF SONOMA                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.21944 COUNTY OF SONOMA                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P.            ACCOUNT NO.: NOT AVAILABLE
        FISKETORRI SHERLIN
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21945 COUNTY OF SONOMA                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.21946 COUNTY OF SONOMA                         VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21947 COUNTY OF SONOMA                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21948 COUNTY OF YUBA                           VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.21949 COUNTY OF YUBA                           VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21950 COUNTY OF YUBA                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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PG&E Corporation                                                                             Case Number:    19-30088 (DM)

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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21951 COUNTY OF YUBA                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.21952 COUNTY OF YUBA                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)(TEXAS BAR NO.         ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN FISKE (SBN
        249256)BRITT STROTTMAN
        (209595)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO COURT
        SUITE 265
        SAN DIEGO, CA 92127


3.21953 COUNTY OF YUBA                           VARIOUS                              Wildfire                UNDETERMINED
        COURTNEY ABRIL (SBN                                                           Litigation
        238388)BRUNELLA M. WOOD        ACCOUNT NO.: NOT AVAILABLE
        (SBN 276828)
        COUNTY OF YUBAOFFICE OF
        COUNTY COUNSEL
        915 8TH STREET, SUITE 111
        MARYSVILLE, CA 95901


3.21954 COUNTY RIGHT INC.                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21955 COUNTY RIGHT INC.                        VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.21956 COUNTY RIGHT INC.                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21957 COUNTY RIGHT INC.                       VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.21958 COURTNEY MODENA                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21959 COURTNEY MODENA                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21960 COURTNEY MODENA                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21961 COURTNEY MODENA                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.21962 COURTNEY MODENA                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21963 COWAN, JIM                              VARIOUS                              Wildfire                UNDETERMINED
        480 EL DORADO DR                                                             Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.21964 COWART, CHARLES                        VARIOUS                              Wildfire                UNDETERMINED
        1708 JUDITH WAY                                                             Litigation
        ESCALAN, CA 95320            ACCOUNT NO.: NOT AVAILABLE


3.21965 COWEN, CAROL                           VARIOUS                              Wildfire                UNDETERMINED
        3178 SODA CANYON RD                                                         Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.21966 COWEN, MICHAEL BRIAN;                  VARIOUS                              Wildfire                UNDETERMINED
        SHANNON KATHLEEN COWEN;                                                     Litigation
        JUSTICE LAMAR COWEN          ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21967 COWEN, MICHAEL BRIAN;                  VARIOUS                              Wildfire                UNDETERMINED
        SHANNON KATHLEEN COWEN;                                                     Litigation
        JUSTICE LAMAR COWEN          ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21968 COWEN, MICHAEL BRIAN;             VARIOUS                                   Wildfire                UNDETERMINED
        SHANNON KATHLEEN COWEN;                                                     Litigation
        JUSTICE LAMAR COWEN       ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21969 COWGER, RONALD                         VARIOUS                              Wildfire                UNDETERMINED
        113 VALLEY LAKES DR                                                         Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.21970 COX, MARLENE                           VARIOUS                              Wildfire                UNDETERMINED
        407 KYLIE LN                                                                Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.21971 COX, SHARMAYNE                         VARIOUS                              Wildfire                UNDETERMINED
        P.O. BOX 611                                                                Litigation
        MAGALIA, CA 95954            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21972 COX, TIM; COX, TISHA                    VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                         Litigation
        ZUMMER                        ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21973 COX, TIM; COX, TISHA                    VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                     Litigation
        VASQUEZAMANDA LOCUTRO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21974 COX, TIM; COX, TISHA              VARIOUS                                    Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                       Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.21975 CRA PARADISE LLC                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21976 CRA PARADISE LLC                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21977 CRA PARADISE LLC                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21978 CRA PARADISE LLC                        VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                  Litigation
        SBN 119554MICHAEL H.          ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21979 CRA PARADISE LLC                         VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                    Litigation
        87492WILLIAM P. HARRIS III,    ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.21980 CRAIG ALAN GREGORY                       VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.21981 CRAIG ALAN GREGORY                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.21982 CRAIG C. WILLIAMS                        VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.21983 CRAIG CLARKE WILLIAMS                    VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.21984 CRAIG CLARKE WILLIAMS                    VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.21985 CRAIG CLARKE WILLIAMS                    VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.21986 CRAIG CLARKE WILLIAMS                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21987 CRAIG EDWARDS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21988 CRAIG EDWARDS                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.21989 CRAIG EDWARDS                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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PG&E Corporation                                                                               Case Number:    19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.21990 CRAIG EDWARDS                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.21991 CRAIG EDWARDS                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21992 CRAIG GALLAGHER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.21993 CRAIG GALLAGHER                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                        Litigation
        TOSDAL LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.21994 CRAIG GALLAGHER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                        Litigation
        81867                            ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.21995 CRAIG GALLAGHER                            VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN        ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.21996 CRAIG J HORNER                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.21997 CRAIG J HORNER                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.21998 CRAIG J HORNER                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.21999 CRAIG J HORNER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22000 CRAIG J HORNER                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22001 CRAIG KEEHN                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                      Litigation
        R. PARKINSONDANIEL E.         ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22002 CRAIG KEEHN                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22003 CRAIG KEEHN                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.22004 CRAIG KEEHN                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.22005 CRAIG LUCCY                               VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.22006 CRAIG LUCCY                               VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22007 CRAIG M. DAVIS                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22008 CRAIG M. DAVIS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22009 CRAIG M. DAVIS                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22010 CRAIG M. DAVIS                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22011 CRAIG M. DAVIS                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.22012 CRAIG MASON                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.22013 CRAIG MASON                              VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.22014 CRAIG MONTGOMERY, O.D.                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22015 CRAIG MONTGOMERY, O.D.                   VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22016 CRAIG MONTGOMERY, O.D.                   VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22017 CRAIG MONTGOMERY, O.D.                   VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22018 CRAIG WENNER                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22019 CRAIG WENNER                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22020 CRAIG WENNER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22021 CRAIG WENNER                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.22022 CRAIG WORTHEN                               VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                          Litigation
        WEAVER                            ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.22023 CRAIG WORTHEN                               VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                     Litigation
        SCHACKNATASHA N. SERINO           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.22024 CRAIG WORTHEN                               VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                               Litigation
        SR.JESSICA HAYES                  ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.22025 Craig, Amber Leann; Boitano,                VARIOUS                              Wildfire                UNDETERMINED
        Amanda Lynn; Tucker, Jacqueline                                                  Litigation
        Leanne Craig; Rhodes, James       ACCOUNT NO.: NOT AVAILABLE
        Tyler; + minors Preslie Leann
        Tucker and Jordan Allen Tucker
        through GAL Jacqueline Leann
        Craig Tucker
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.22026 Craig, Amber Leann; Boitano,                VARIOUS                              Wildfire                UNDETERMINED
        Amanda Lynn; Tucker, Jacqueline                                                  Litigation
        Leanne Craig; Rhodes, James       ACCOUNT NO.: NOT AVAILABLE
        Tyler; + minors Preslie Leann
        Tucker and Jordan Allen Tucker
        through GAL Jacqueline Leann
        Craig Tucker
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.22027 Craig, Amber Leann; Boitano,                VARIOUS                              Wildfire                UNDETERMINED
        Amanda Lynn; Tucker, Jacqueline                                                  Litigation
        Leanne Craig; Rhodes, James       ACCOUNT NO.: NOT AVAILABLE
        Tyler; + minors Preslie Leann
        Tucker and Jordan Allen Tucker
        through GAL Jacqueline Leann
        Craig Tucker
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.22028 CRAIG, CAROLANN; WILLIAM                    VARIOUS                              Wildfire                UNDETERMINED
        (BILL) LEONARD CRAIG                                                             Litigation
        MIKE DANKOKRISTINE                ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22029 CRAIG, CAROLANN; WILLIAM                    VARIOUS                              Wildfire                UNDETERMINED
        (BILL) LEONARD CRAIG                                                             Litigation
        DARIO DE GHETALDI AMANDA          ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22030 CRAIGIE, DANIEL                             VARIOUS                              Wildfire                UNDETERMINED
        1016 PROSPECT AVE                                                                Litigation
        123                               ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409


3.22031 CRAIN, ROBERT                               VARIOUS                              Wildfire                UNDETERMINED
        4035 TOURMALINE CT                                                               Litigation
        SANTA ROSA, CA 95405              ACCOUNT NO.: NOT AVAILABLE


3.22032 CRAMTON, BRANDI                             VARIOUS                              Wildfire                UNDETERMINED
        6318 HIDDEN LAKE LN                                                              Litigation
        MAGALIA, CA 95954                 ACCOUNT NO.: NOT AVAILABLE


3.22033 CREAVES, KATHRYN                            VARIOUS                              Wildfire                UNDETERMINED
        4082 BROWNS VALLEY RD                                                            Litigation
        NAPA, CA 94558                    ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22034 CRESTBROOK INSURANCE CO.                 VARIOUS                              Wildfire                UNDETERMINED
        CRAIG S. SIMON (SBN 78158)                                                    Litigation
        BERGER KAHN, A LAW             ACCOUNT NO.: NOT AVAILABLE
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.22035 CRESTBROOK INSURANCE CO.                 VARIOUS                              Wildfire                UNDETERMINED
        MAURA WALSH                                                                   Litigation
        OCHOAWAYLON J.                 ACCOUNT NO.: NOT AVAILABLE
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939


3.22036 CRESTBROOK INSURANCE                     VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                       Litigation
        ALAN J. JANG SALLY NOMA        ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.22037 CRESTBROOK INSURANCE                     VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                       Litigation
        MARK S. GROTEFELDMAURA         ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.22038 CRESTBROOK INSURANCE                     VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                       Litigation
        CRAIG S. SIMON                 ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516




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Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.22039 Crestmont Insurance Company                 VARIOUS                             Wildfire                UNDETERMINED
        Paul A. Casetta (Pro Hac                                                        Litigation
        Pending)Alan B. McMaster (Pro       ACCOUNT NO.: NOT AVAILABLE
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.22040 CRIBBS, JOHN                               VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                            Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22041 CRIBBS, JOHN                               VARIOUS                              Wildfire                UNDETERMINED
        DANIEL G. WHALEN                                                                Litigation
        ENGSTROM LIPSCOMB & LACK        ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.22042 CRIBBS, JOHN                      VARIOUS                                       Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                          Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.22043 CRIBBS, JOHN                               VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                        Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22044 CRIMSON E KING                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22045 CRIMSON E KING                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22046 CRIMSON E KING                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22047 CRIMSON E KING                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22048 CRIMSON E KING                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22049 CRISSY KAVANAUGH                        VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.22050 CRISTIANO LOPEZ                         VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22051 CRISTIANO LOPEZ                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.22052 CRISTINA CUSHIERI                        VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                        Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22053 CRISTINA CUSHIERI                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22054 CRISTINA CUSHIERI                        VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.22055 CROCKETT, CHLOE                          VARIOUS                              Wildfire                UNDETERMINED
        4211 WAKE ROBIN DR                                                            Litigation
        GLEN ELLEN, CA 95442           ACCOUNT NO.: NOT AVAILABLE


3.22056 CROFT, JASON & REBECCA                   VARIOUS                              Wildfire                UNDETERMINED
        3132 HYDE PARK PLACE                                                          Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.22057 CROFT, ROBERT (JOSES);                   VARIOUS                              Wildfire                UNDETERMINED
        CROFT, ROBERT AS TRUSTEE                                                      Litigation
        OF THE GOOFEY TRUST UTD        ACCOUNT NO.: NOT AVAILABLE
        AUGUST 2012 (ASHTON)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22058 CROFT, ROBERT (JOSES);            VARIOUS                                    Wildfire                UNDETERMINED
        CROFT, ROBERT AS TRUSTEE                                                     Litigation
        OF THE GOOFEY TRUST UTD   ACCOUNT NO.: NOT AVAILABLE
        AUGUST 2012 (ASHTON)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.22059 CROFT, ROBERT (JOSES);                  VARIOUS                              Wildfire                UNDETERMINED
        CROFT, ROBERT AS TRUSTEE                                                     Litigation
        OF THE GOOFEY TRUST UTD       ACCOUNT NO.: NOT AVAILABLE
        AUGUST 2012 (ASHTON)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22060 CRONE, MARY                             VARIOUS                              Wildfire                UNDETERMINED
        15059 JACK PINE WAY                                                          Litigation
        MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE


3.22061 CRONIN, DAWN                            VARIOUS                              Wildfire                UNDETERMINED
        1861 GREENEICH AVE                                                           Litigation
        SANTA ROSA, CA 95401          ACCOUNT NO.: NOT AVAILABLE


3.22062 CROSSWIND CONCEPTS DBA                  VARIOUS                              Wildfire                UNDETERMINED
        JACK WRIGHT ADVERTISING,                                                     Litigation
        INC.,                         ACCOUNT NO.: NOT AVAILABLE
        ROBERT W. JACKSON BRETT
        R. PARKINSONDANIEL E.
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22063 CROSSWIND CONCEPTS DBA                  VARIOUS                              Wildfire                UNDETERMINED
        JACK WRIGHT ADVERTISING,                                                     Litigation
        INC.,                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFFCOELL M.
        SIMMONS
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22064 CROSSWIND CONCEPTS DBA                    VARIOUS                              Wildfire                UNDETERMINED
        JACK WRIGHT ADVERTISING,                                                       Litigation
        INC.,                           ACCOUNT NO.: NOT AVAILABLE
        JOHN F. FRIEDEMANN
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.22065 CROSSWIND CONCEPTS DBA                    VARIOUS                              Wildfire                UNDETERMINED
        JACK WRIGHT ADVERTISING,                                                       Litigation
        INC.,                           ACCOUNT NO.: NOT AVAILABLE
        JOHN N. DEMAS
        DEMAS LAW GROUP, P.C.
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.22066 CROWLEY, GRACE                            VARIOUS                              Wildfire                UNDETERMINED
        3641 OXFORD ST                                                                 Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.22067 CROWNER, JUDY                             VARIOUS                              Wildfire                UNDETERMINED
        3748 SKYVIEW AVE                                                               Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.22068 CROXTON, WILDA                            VARIOUS                              Wildfire                UNDETERMINED
        14301 CULVER CT                                                                Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.22069 CRUSADER INSURANCE                        VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                        Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.22070 CRUSADER INSURANCE                        VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                        Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.22071 CRUSBERTO GONZALEZ                     VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                        Litigation
        296101)ROBERT T. BRYSON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.22072 CRUZ, ANDRES                           VARIOUS                              Wildfire                UNDETERMINED
        545 HUNT AVE                                                                Litigation
        ST HELENA, CA 94574          ACCOUNT NO.: NOT AVAILABLE


3.22073 CRUZ, GERTRUDEZ                        VARIOUS                              Wildfire                UNDETERMINED
        2051 W STEELE LN APT 424                                                    Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.22074 CRUZ, NORMA                            VARIOUS                              Wildfire                UNDETERMINED
        2421 REDOAK COURT                                                           Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.22075 CRYSTA L E. COMER                      VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22076 CRYSTA L E. COMER                      VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                      Litigation
        DOMENIC MARTINI              ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.22077 CRYSTA L E. COMER                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22078 CRYSTA L E. COMER                      VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22079 CRYSTA L E. COMER                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22080 CRYSTAL ALCOVER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22081 CRYSTAL ALCOVER                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22082 CRYSTAL ALCOVER                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22083 CRYSTAL ALCOVER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22084 CRYSTAL ALEXANDER                        VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.22085 CRYSTAL ALEXANDER                        VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.22086 CRYSTAL ALEXANDER                        VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.22087 CRYSTAL ANN REYNOLDS                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22088 CRYSTAL ANN REYNOLDS                     VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22089 CRYSTAL ANN REYNOLDS                     VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22090 CRYSTAL ANN REYNOLDS                     VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22091 CRYSTAL GRIEG                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22092 CRYSTAL GRIEG                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22093 CRYSTAL GRIEG                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22094 CRYSTAL GRIEG                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22095 CRYSTAL L RUSSELL                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22096 CRYSTAL L RUSSELL                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22097 CRYSTAL L RUSSELL                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22098 CRYSTAL L RUSSELL                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22099 CRYSTAL L RUSSELL                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22100 CRYSTAL PANKEY                          VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                     Litigation
        BRYSONKEVIN M. POLLACK        ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.22101 CRYSTAL RECORD                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22102 CRYSTAL RECORD                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22103 CRYSTAL RECORD                           VARIOUS                              Wildfire                UNDETERMINED
        CHARLES S.                                                                    Litigation
        ZIMMERMANCALEB LH              ACCOUNT NO.: NOT AVAILABLE
        MARKER
        ZIMMERMAN REED LLP
        2381 ROSECRANS AVE, SUITE
        328
        MANHATTAN BEACH, CA 90245


3.22104 CRYSTAL RECORD                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN J. SKIKOS, SBN                                                         Litigation
        148110GREGORY T. SKIKOS,       ACCOUNT NO.: NOT AVAILABLE
        SBN 176531MATTHEW J.
        SKIKOS, SBN 269765
        SKIKOS, CRAWFORD, SKIKOS &
        JOSEPH
        ONE SANSOME STREET, SUITE
        2830
        SAN FRANCISCO, CA 94104


3.22105 CRYSTAL RECORD                           VARIOUS                              Wildfire                UNDETERMINED
        VINEET BHATIA (PRO HAC VICE                                                   Litigation
        TO BE SUBMITTED)               ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        1000 LOUISIANA STREET, SUITE
        5100
        HOUSTON, TEXAS 77002-5096


3.22106 CRYSTAL TREE                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22107 CRYSTAL TREE                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22108 CRYSTAL TREE                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22109 CRYSTAL TREE                            VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22110 CRYSTAL VALENCIA                        VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                     Litigation
        BRYSONKEVIN M. POLLACK        ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.22111 CRYSTAL VALENCIA                        VARIOUS                              Wildfire                UNDETERMINED
        DONALD S. EDGAR                                                              Litigation
        EDGAR LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.22112 CSAA FIRE & CASUALTY                    VARIOUS                              Wildfire                UNDETERMINED
        INSURANCE COMPANY                                                            Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JAND & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.22113 CSAA GENERAL INSURANCE                  VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                      Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JAND & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.22114 CSAA INSURANCE EXCHANGE                 VARIOUS                              Wildfire                UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                      Litigation
        JAND & ASSOCIATES LLP         ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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 Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.22115 CSAA INSURANCE EXCHANGE;                         VARIOUS                              Wildfire                UNDETERMINED
        AAA NORTHERN CALIFORNIA                                                               Litigation
        NEVADA & UTAH INSURANCE                ACCOUNT NO.: NOT AVAILABLE
        EXCHANGE, AS SUBROGEE OF
        ITS POLICYHOLDERS
        AFFECTED BY THE BUTTE FIRE
        ALAN J. JANG, SALLY NOMA,
        JENNIFER A. STEWART
        1766 LACASSIE AVE
        SUITE 200
        WALNUT CREEK, CA 94596


3.22116 CSAA Insurance Exchange; AAA                     VARIOUS                              Wildfire                UNDETERMINED
        Northern California Nevada & Utah                                                     Litigation
        Insurance Exchange, as Subrogee        ACCOUNT NO.: NOT AVAILABLE
        of its Policyholders Affected by the
        Butte Fire
        Alan J. JangSally NomaJennifer
        A. Stewart
        Jang & Associates, LLP
        1766 Lacassie Avenue, Suite 200
        Walnut Creek, CA 94596


3.22117 CSE SAFEGUARD INSURANCE                          VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                               Litigation
        THOMAS M. REGAN (SBN                   ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.22118 CSE SAFEGUARD INSURANCE                          VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                               Litigation
        ALAN J. JANG SALLY NOMA                ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.22119 CSE SAFEGUARD INSURANCE                          VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                               Litigation
        KEVIN D. BUSHTHOMAS M.                 ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22120 CSE SAFEGUARD INSURANCE                  VARIOUS                              Wildfire                UNDETERMINED
        COMPANY                                                                       Litigation
        HOWARD D. MAYCON               ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.22121 CSONKA, ANDREW                           VARIOUS                              Wildfire                UNDETERMINED
        P.O. BOX 996                                                                  Litigation
        BERRY CREEK, CA 95916          ACCOUNT NO.: NOT AVAILABLE


3.22122 CUAUHTEMOC GARCIA-                       VARIOUS                              Wildfire                UNDETERMINED
        ARELLANO                                                                      Litigation
        JOHN COX (CAL. STATE BAR       ACCOUNT NO.: NOT AVAILABLE
        NO. 197687)
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22123 CUAUHTEMOC GARCIA-                       VARIOUS                              Wildfire                UNDETERMINED
        ARELLANO                                                                      Litigation
        RYAN L. THOMPSON (CAL.         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 296841)PAIGE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22124 CUENCA, HUGO                             VARIOUS                              Wildfire                UNDETERMINED
        3068 LAMBERSON CT                                                             Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.22125 CUEVAS, GUADALUPE                        VARIOUS                              Wildfire                UNDETERMINED
        1164 LEVINE DR.                                                               Litigation
        SANTA ROSA, CA 95401           ACCOUNT NO.: NOT AVAILABLE


3.22126 CULVERWELL, MAURICE                      VARIOUS                              Wildfire                UNDETERMINED
        60 JUNIPER DRIVE                                                              Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22127 CUNHA, MARK ALLEN; CUNHA,               VARIOUS                              Wildfire                UNDETERMINED
        JUDY LYNN, INDIVIDUALLY AND                                                  Litigation
        AS TRUSTEES OF THE CUNHA      ACCOUNT NO.: NOT AVAILABLE
        FAMILY TRUST;
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22128 CUNHA, MARK ALLEN; CUNHA,               VARIOUS                              Wildfire                UNDETERMINED
        JUDY LYNN, INDIVIDUALLY AND                                                  Litigation
        AS TRUSTEES OF THE CUNHA      ACCOUNT NO.: NOT AVAILABLE
        FAMILY TRUST;
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22129 CUNHA, MARK ALLEN; CUNHA,           VARIOUS                                  Wildfire                UNDETERMINED
        JUDY LYNN, INDIVIDUALLY AND                                                  Litigation
        AS TRUSTEES OF THE CUNHA    ACCOUNT NO.: NOT AVAILABLE
        FAMILY TRUST;
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.22130 CUNHA, SARAH                            VARIOUS                              Wildfire                UNDETERMINED
        1333 W. STEELE LN                                                            Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.22131 CUNHA, TRACY                            VARIOUS                              Wildfire                UNDETERMINED
        1333 W STEELE LN                                                             Litigation
        324                           ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.22132 CURRY, STEPHANIE                        VARIOUS                              Wildfire                UNDETERMINED
        6453 MEADOWRIDGE DR                                                          Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.22133 CURT FISCHER                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                Litigation
        TOSDAL LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22134 CURT FISCHER                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.22135 CURT FISCHER                              VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.22136 CURTIS GRISWOLD SMITH                     VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22137 CURTIS GRISWOLD SMITH                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22138 CURTIS LEE PETERSON                       VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22139 CURTIS LEE PETERSON                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22140 CURTIS LEE PETERSON                      VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22141 CURTIS LEE PETERSON                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22142 CURTIS M. CLOUTIER                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22143 CURTIS M. CLOUTIER                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22144 CURTIS M. CLOUTIER                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22145 CURTIS M. CLOUTIER                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22146 CURTIS M. CLOUTIER                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22147 CURTIS MCNAMAR                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22148 CURTIS MCNAMAR                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22149 CURTIS MCNAMAR                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22150 CURTIS MCNAMAR                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22151 CURTIS SCHNURR                           VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                   Litigation
        248092)JACK W. WEAVER,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22152 CURTIS SCHNURR                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22153 CURTIS SCHNURR                          VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.22154 CURTIS SCHNURR                          VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.22155 CWYNAR, KELI                            VARIOUS                              Wildfire                UNDETERMINED
        1662 GROVE ST                                                                Litigation
        SAN FRANCISCO, CA 94117       ACCOUNT NO.: NOT AVAILABLE


3.22156 CYNDIE NORMAN                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22157 CYNDIE NORMAN                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22158 CYNDIE NORMAN                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22159 CYNDIE NORMAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22160 CYNDY MACKIE                             VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.22161 CYNDY MACKIE                             VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.22162 CYNDY MACKIE                             VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22163 CYNTHEA AMNATKEO                         VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22164 CYNTHEA AMNATKEO                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22165 CYNTHIA A STECKLOW                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22166 CYNTHIA A STECKLOW                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22167 CYNTHIA A STECKLOW                       VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22168 CYNTHIA A STECKLOW                       VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22169 CYNTHIA A STECKLOW                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22170 CYNTHIA A. DWYER                         VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                     Litigation
        BAR #104975)                   ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.22171 CYNTHIA A. DWYER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22172 CYNTHIA AMADOR                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORAROBERT                                                       Litigation
        A. BUCCOLACATIA G. SARAIVA     ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22173 CYNTHIA AMADOR                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                       Litigation
        COTCHETTALISON E.              ACCOUNT NO.: NOT AVAILABLE
        CORDOVAACORDOVA@CPMLE
        GAL.COM
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.22174 CYNTHIA AMADOR                              VARIOUS                              Wildfire                UNDETERMINED
        TELEPHONE: (650) 697-                                                            Litigation
        6000FACSIMILE: (650) 697-         ACCOUNT NO.: NOT AVAILABLE
        0577FPITRE@CPMLEGAL.COM

        JCOTCHETT@CPMLEGAL.COM
        JCOTCHETT@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.22175 CYNTHIA AMADOR                              VARIOUS                              Wildfire                UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.22176 CYNTHIA AMADOR                              VARIOUS                              Wildfire                UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE


3.22177 CYNTHIA CAUGHIE                             VARIOUS                              Wildfire                UNDETERMINED
        DONALD S. EDGAR                                                                  Litigation
        EDGAR LAW FIRM                    ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.22178 CYNTHIA CAUGHIE                             VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                         Litigation
        BRYSONKEVIN M. POLLACK            ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.22179 CYNTHIA CLARK                               VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                       Litigation
        STATE BAR NO. 157400)             ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22180 CYNTHIA CLARK                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22181 CYNTHIA CLARK                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22182 CYNTHIA CLARK                              VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                      Litigation
        ZUMMERAMANDA J.                  ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22183 CYNTHIA CLARK                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22184 CYNTHIA CLARK                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22185 CYNTHIA CLARK                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22186 CYNTHIA CLARK                            VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                        Litigation
        SHEARJASON BOYER               ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.22187 CYNTHIA CLARK                            VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22188 CYNTHIA COPELAND                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.22189 CYNTHIA COPELAND                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.22190 CYNTHIA COPELAND                         VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22191 CYNTHIA COPELAND                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22192 CYNTHIA COPELAND                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                   Litigation
        (SBN 69176)IAN C.             ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.22193 CYNTHIA COPES                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.22194 CYNTHIA COPES                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22195 CYNTHIA DAVIS                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22196 CYNTHIA DAVIS                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22197 CYNTHIA DAVIS                           VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                           Litigation
        DANIELS LAW                   ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22198 CYNTHIA DAVIS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22199 CYNTHIA DAVIS                           VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                   Litigation
        54426) DANIEL S. ROBINSON     ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.22200 CYNTHIA DENISE SAFFOLD                  VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                        Litigation
        208783)ERIKA L. VASQUEZ       ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.22201 CYNTHIA DENISE SAFFOLD                  VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                         Litigation
        VICEPENDING)JOHN P. FISKE     ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.22202 CYNTHIA DENISE SAFFOLD                  VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                           Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22203 CYNTHIA DENISE SAFFOLD                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                   Litigation
        (SBN 69176)IAN C.             ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22204 CYNTHIA DENISE SAFFOLD                    VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22205 CYNTHIA EAGLE                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22206 CYNTHIA EAGLE                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22207 CYNTHIA EAGLE                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.22208 CYNTHIA EAGLE                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.22209 CYNTHIA ENGLISH                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22210 CYNTHIA ENGLISH                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22211 CYNTHIA HARMON                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22212 CYNTHIA HARMON                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22213 CYNTHIA HELWIG                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22214 CYNTHIA HELWIG                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22215 CYNTHIA HELWIG                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22216 CYNTHIA HELWIG                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22217 CYNTHIA HELWIG                             VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.22218 CYNTHIA HORNE                              VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERENCE                                                         Litigation
        D. EDWARDS                       ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.22219 CYNTHIA HORNE                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                       Litigation
        DAVISKEVIN M.                    ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.22220 CYNTHIA L. STERLING, AS                    VARIOUS                              Wildfire                UNDETERMINED
        OWNERS OF STERLING CROSS                                                        Litigation
        CREATIVE INC. DBA STERLING       ACCOUNT NO.: NOT AVAILABLE
        CREATIVE WORKS AND
        DOUGLAS STERLING
        PHOTOGRAPHY, LLC
        THE ARNS LAW FIRM
        ROBERT S. ARNS
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.22221 Cynthia L. Sterling, as owners of             VARIOUS                              Wildfire                UNDETERMINED
        Sterling Cross Creative Inc. dba                                                   Litigation
        Sterling Creative Works and         ACCOUNT NO.: NOT AVAILABLE
        Douglas Sterling Photography, LLC
        Thomas J. BrandiTerence D.
        EdwardsJason B. Friedman
        The Brandi Law Firm
        354 Pine Street, Third Floor
        San Francisco, California 94104


3.22222 CYNTHIA LASSONDE                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                           Litigation
        A. BAGHDADI                         ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22223 CYNTHIA LASSONDE                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                        Litigation
        126782AMANDA L. RIDDLE -            ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22224 CYNTHIA LASSONDE                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                         Litigation
        111359KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22225 CYNTHIA LASSONDE                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                               Litigation
        178658DYLAN HUGHES- BAR             ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22226 CYNTHIA LOUISE JOHNSON                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22227 CYNTHIA LOUISE JOHNSON                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22228 CYNTHIA LOUISE JOHNSON                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22229 CYNTHIA LOUISE JOHNSON                     VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22230 CYNTHIA LOUISE JOHNSON                     VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.22231 CYNTHIA MARSH                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                        Litigation
        LAW OFFICES OF JOHN COX          ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22232 CYNTHIA MARSH                             VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22233 CYNTHIA MARSH                             VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.22234 CYNTHIA MAYO                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22235 CYNTHIA MAYO                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22236 CYNTHIA MAYO                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.22237 CYNTHIA MAYO                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.22238 CYNTHIA PAJARES                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22239 CYNTHIA PAJARES                         VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.22240 CYNTHIA PAYNE                           VARIOUS                              Wildfire                UNDETERMINED
        C. BROOKS CUTTERJOHN G.                                                      Litigation
        ROUSSASMATTHEW M.             ACCOUNT NO.: NOT AVAILABLE
        BREINING
        CUTTER LAW P.C.
        401 WATT AVENUE
        SACRAMENTO, CA 95864


3.22241 CYNTHIA R MARLER                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22242 CYNTHIA R MARLER                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22243 CYNTHIA R MARLER                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22244 CYNTHIA R MARLER                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22245 CYNTHIA R MARLER                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22246 CYNTHIA R. SWAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22247 CYNTHIA R. SWAN                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22248 CYNTHIA R. SWAN                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22249 CYNTHIA R. SWAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22250 CYNTHIA R. SWAN                            VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.22251 CYNTHIA RHODES                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                        Litigation
        NO. 197687)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22252 CYNTHIA RHODES                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22253 CYNTHIA SCHIERMAN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22254 CYNTHIA SCHIERMAN                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22255 CYNTHIA SCHIERMAN                        VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22256 CYNTHIA SCHIERMAN                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22257 CYNTHIA SKALA                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22258 CYNTHIA SKALA                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.22259 CYNTHIA SKALA                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.22260 CYNTHIA SKALA                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.22261 CYNTHIA SMITH                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22262 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22263 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22264 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22265 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22266 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22267 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22268 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22269 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22270 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22271 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22272 CYNTHIA SMITH                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22273 CYNTHIA SPENCE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22274 CYNTHIA SPENCE                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22275 CYNTHIA SPENCE                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22276 CYNTHIA SPENCE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22277 CYNTHIA TUCKLER                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTSGUY WATTS                                                       Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       RYAN L. THOMPSONPAIGE
       BOLDT
       WATTS GUERRA LLP
       811 BARTON SPRINGS RD. STE.
       725
       AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.22278 CYNTHIA TUCKLER                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                           Litigation
        LAW OFFICES OF JOHN COX,            ACCOUNT NO.: NOT AVAILABLE
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22279 CYNTHIA WILSON                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22280 Cynthia Wilson                                VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.22281 CYRENA BROWN                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                     Litigation
        71460KHALDOUN A. BAGHDADI           ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22282 CYRENA BROWN                                  VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                         Litigation
        100077ALISON E. CORDOVA,            ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22283 CYRENA BROWN                                  VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                  Litigation
        DREYER BABICH BUCCOLA               ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22284 CYRENA BROWN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22285 CYRENA BROWN                               VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.22286 D VALADAN, MOE                             VARIOUS                              Wildfire                UNDETERMINED
        5080 DUPORT DRIVE                                                               Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.22287 DA YID DUCOMMUN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22288 DA YID DUCOMMUN                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22289 DA YID DUCOMMUN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22290 DA YID DUCOMMUN                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010



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Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.22291 DA YID DUCOMMUN                       VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                       Litigation
        #109455LAURA E. BROWN       ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.22292 DA YID J. LEE                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22293 DA YID J. LEE                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22294 DA YID J. LEE                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22295 DA YID J. LEE                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22296 DA YID J. LEE                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.22297 DACIA WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                      Litigation
        110909)                      ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22298 DACIA WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                     Litigation
        (BAR NO. 295951) RACHEL      ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.22299 DACIA WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22300 DACIA WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                               Litigation
        NO.254651)JOANNA LEE FOX     ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.22301 DAGIO, JENNIFER                        VARIOUS                              Wildfire                UNDETERMINED
        300 LOUISE WAY APT 302                                                      Litigation
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.22302 DAHL, MARY E                           VARIOUS                              Wildfire                UNDETERMINED
        5110 MONTE VERDE DR                                                         Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.22303 DAHLMAN, CHARLES                       VARIOUS                              Wildfire                UNDETERMINED
        4607 SUMMERHAYS PL                                                          Litigation
        SANTA ROSA, CA 95405         ACCOUNT NO.: NOT AVAILABLE


3.22304 DAILEY, MARYJO                         VARIOUS                              Wildfire                UNDETERMINED
        2165 GAMBELS WAY                                                            Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22305 DAISY DAVIS                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22306 DAISY DAVIS                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359 KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.22307 DAISY DAVIS                                VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                     Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.22308 DAISY DAVIS                                VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782 AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.22309 DAISY MARTINEZ                             VARIOUS                              Wildfire                UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                      Litigation
        STRAUSSROBERT J.                 ACCOUNT NO.: NOT AVAILABLE
        SCHWARTZGWILLIAM, IVARY,
        CHIOSSO
        CAVALLI & BREWER
        1999 HARRISON ST., SUITE 1600,
        OAKLAND, CA 94612




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.22310 DAISY MARTINEZ                                 VARIOUS                              Wildfire                UNDETERMINED
        OMAR I. HABBAS                                                                      Litigation
        HAABBAS & ASSOCIATES                 ACCOUNT NO.: NOT AVAILABLE
        675 N. FIRST STREET, SUITE
        1000
        SAN JOSE, CA 95112


3.22311 DAISY MARTINEZ                                 VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                                  Litigation
        DANIELS LAW                          ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.22312 Daisy McGinnis                                 VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.22313 DAISY MCGINNIS                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22314 DAISY MCGINNIS                                 VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22315 DAKOTA GURULE                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22316 DAKOTA GURULE                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22317 DAKOTA GURULE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22318 DAKOTA GURULE                            VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22319 DAKOTA SANDERS                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.22320 DAKOTA SANDERS                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22321 DAKOTA W. RICE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22322 DAKOTA W. RICE                           VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22323 DAKOTA W. RICE                           VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22324 DAKOTA W. RICE                           VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22325 DALE DURAND                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                         Litigation
        SIMMONS                        ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22326 DALE DURAND                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                       Litigation
        R. PARKINSONDANIEL E.          ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22327 DALE DURAND                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.22328 DALE DURAND                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.22329 DALE EBER                                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22330 DALE EBER                                 VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.22331 DALE EBER                                 VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22332 DALE EBER                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22333 DALE EBER                                 VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22334 DALE FRANK TERENA                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22335 DALE FRANK TERENA                        VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22336 DALE FRANK TERENA                        VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22337 DALE FRANK TERENA                        VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22338 DALE FRENCH                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22339 DALE FRENCH                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22340 DALE FRENCH                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22341 DALE FRENCH                              VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22342 DALE FRENCH                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.22343 DALE HINERMAN                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22344 DALE HINERMAN                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22345 DALE HINERMAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.22346 DALE HINERMAN                                  VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                         Litigation
         REINER, SLAUGHTER &                 ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22347 Dale Howell                                    VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.22348 DALE HOWELL                                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22349 DALE HOWELL                                    VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22350 DALE JERNIGAN, MICHELLE                        VARIOUS                              Wildfire                UNDETERMINED
        19302 APPLE VALLEY RD                                                               Litigation
        SONOMA, CA 95476                     ACCOUNT NO.: NOT AVAILABLE


3.22351 DALE MCCOY                                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.22352 DALE MCCOY                                  VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                          Litigation
        COTCHETTALISON E.                 ACCOUNT NO.: NOT AVAILABLE
        CORDOVA
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.22353 DALE MCCOY                                  VARIOUS                              Wildfire                UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLY
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.22354 DALE MCCOY                                  VARIOUS                              Wildfire                UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL D. GREEN
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT ROAD, SUITE
        200, SANTA ROSA CA


3.22355 DALE MCCOY                                  VARIOUS                              Wildfire                UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        JCOTCHETT@CPMLEGAL.COM
        ACORDOVA@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.22356 DALE MILLER                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22357 DALE MILLER                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22358 DALE MILLER                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22359 DALE MILLER                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22360 DALE PERKINSON                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                      Litigation
        SBN: 110909ROBERT A.           ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22361 DALE PERKINSON                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                       Litigation
        COTCHETTDONALD                 ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE & MCCARTHY
        LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010



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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22362 DALE STERLING                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22363 DALE STERLING                              VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.22364 DALE STERLING                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22365 DALE STERLING                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22366 DALE STERLING                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22367 DALE THOMPSON                              VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                         Litigation
        60768ANGELA JAE CHUN, SBN        ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22368 DALE THOMPSON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22369 DALE THOMPSON                             VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.22370 DALE THOMPSON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.22371 DALIA RUIZ                                VARIOUS                              Wildfire                UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE,           ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.22372 DALLAS KISER                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.22373 DALLAS KISER                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22374 DALLAS KISER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22375 DALLAS KISER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.22376 DALTON, HELEN L.;                       VARIOUS                              Wildfire                UNDETERMINED
        SHAMBERGER, RYAN D.                                                          Litigation
        (RELATED TO MARTIN, ROBERT)   ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22377 DALTON, HELEN L.;                   VARIOUS                                  Wildfire                UNDETERMINED
        SHAMBERGER, RYAN D.                                                          Litigation
        (RELATED TO MARTIN, ROBERT) ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.22378 DALTON, HELEN L.;                       VARIOUS                              Wildfire                UNDETERMINED
        SHAMBERGER, RYAN D.                                                          Litigation
        (RELATED TO MARTIN, ROBERT)   ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22379 DALTON, MICHAEL                         VARIOUS                              Wildfire                UNDETERMINED
        711 UNIVERSITY AVE, # 421                                                    Litigation
        ROCKLIN, CA 95765             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22380 DALY, MAUREEN                            VARIOUS                              Wildfire                UNDETERMINED
        6578 PINE VALLEY DR                                                           Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.22381 DAMARIS GARCIA                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.22382 DAMARIS GARCIA                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.22383 DAMARIS GARCIA                           VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22384 DAMARIS GARCIA                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.22385 DAMARIS GARCIA                           VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22386 DAMEN-GILPIN, PATRICIA                   VARIOUS                              Wildfire                UNDETERMINED
        13444 ARNOLD DR.                                                              Litigation
        GLEN ELLEN, CA 95431           ACCOUNT NO.: NOT AVAILABLE



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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22387 DAMEN-GILPIN, PATRICIA                  VARIOUS                              Wildfire                UNDETERMINED
        P.O. BOX 919                                                                 Litigation
        ELDRIDGE, CA 95431            ACCOUNT NO.: NOT AVAILABLE


3.22388 DAMIAN CLOPTON                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22389 DAMIAN CLOPTON                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.22390 DAMIAN GONZALES                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22391 DAMIAN GONZALES                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22392 DAMIAN GONZALES                         VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22393 DAMIAN GONZALES                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.22394 DAMIAN GONZALES                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22395 DAMIAN MARTINEZ                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.22396 DAMIAN MARTINEZ                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.22397 DAMIAN MARTINEZ                          VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22398 DAMIAN MARTINEZ                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103



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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22399 DAMIAN MARTINEZ                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                           Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22400 DAMIEN BARRETT                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22401 DAMIEN BARRETT                          VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.22402 DAMION ASKER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.22403 DAMION ASKER                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22404 DAMION ASKER                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.22405 DAMION REYNOLDS                         VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.22406 DAMION REYNOLDS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.22407 DAMION REYNOLDS                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.22408 DAN COLLISS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22409 DAN COLLISS                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22410 DAN COLLISS                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22411 DAN COLLISS                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22412 DAN DUDGEON                              VARIOUS                              Wildfire                UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                      Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.22413 DAN NACE                                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22414 DAN NACE                                   VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.22415 DAN NACE                                   VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22416 DAN NACE                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22417 DAN NACE                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22418 DAN SALMON                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22419 DAN SALMON                                 VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                    Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.22420 DAN SALMON                                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22421 DAN SALMON                                     VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                        Litigation
        BAR #1999994) (PRO HAE VICE          ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.22422 DAN SALMON                                     VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                               Litigation
        VICE PENDINGTEXAS BAR NO.            ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22423 Dana Bushman                                   VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.22424 DANA BUSHMAN                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22425 DANA BUSHMAN                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.22426 DANA GAJDA                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22427 DANA GAJDA                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22428 DANA GAJDA                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22429 DANA GAJDA                               VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22430 DANA HAMILTON                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22431 DANA HAMILTON                           VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.22432 DANA KELLY                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.22433 DANA KELLY                              VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.22434 DANA KELLY                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22435 DANA KELLY                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22436 DANA L. KENT                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.22437 DANA L. KENT                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.22438 DANA L. KENT                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22439 DANA L. KENT                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22440 DANA L. KENT                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22441 DANA V. KRUEGER                       VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22442 DANA V. KRUEGER                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22443 DANA V. KRUEGER                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22444 DANA V. KRUEGER                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22445 DANA V. KRUEGER                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.22446 DANA ZIMMERMAN                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22447 DANA ZIMMERMAN                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22448 D'ANDRADE, JOHN                          VARIOUS                              Wildfire                UNDETERMINED
        949 GLENWOOD DR                                                               Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22449 DANEIL NACHTIGAL                        VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                    Litigation
        NO. 100077                    ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.22450 DANEIL NACHTIGAL                        VARIOUS                              Wildfire                UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                  Litigation
        116060RAHUL RAVIPUDI,         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.22451 DANEIL NACHTIGAL                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                  Litigation
        NO. 71460                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.22452 DANG, TRUC                              VARIOUS                              Wildfire                UNDETERMINED
        177 ELSBREE CIR                                                              Litigation
        WINDSOR, CA 95492             ACCOUNT NO.: NOT AVAILABLE


3.22453 DANG, TUYET ANH                         VARIOUS                              Wildfire                UNDETERMINED
        ADDRESS NOT PROVIDED                                                         Litigation
                                      ACCOUNT NO.: NOT AVAILABLE


3.22454 DANICA VINSON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22455 DANICA VINSON                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22456 DANICA VINSON                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22457 DANICA VINSON                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22458 DANICA VINSON                              VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.22459 DANIEL AGUIAR                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22460 DANIEL AGUIAR                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.22461 DANIEL AGUIAR                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22462 DANIEL AGUIAR                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22463 DANIEL AGUIAR                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22464 DANIEL ALVAREZ                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22465 DANIEL ALVAREZ                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22466 DANIEL ALVAREZ                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                  Litigation
        111359KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22467 DANIEL ALVAREZ                           VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                     Litigation
        (SBN 99126)NATASHA N.          ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.22468 DANIEL ALVAREZ                           VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                   Litigation
        9858)JESSICA W. HAYES.,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.22469 DANIEL ALVAREZ                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22470 DANIEL ALVAREZ                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22471 DANIEL ALVAREZ                           VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                   Litigation
        248092)JACK W. WEAVER,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22472 DANIEL ANTONIO                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22473 DANIEL ANTONIO                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22474 DANIEL ANTONIO                           VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.22475 DANIEL B SALAS                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22476 DANIEL B SALAS                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22477 DANIEL B SALAS                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22478 DANIEL B SALAS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.22479 DANIEL B SALAS                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22480 DANIEL BANUELOS                        VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                  Litigation
        054426)                      ACCOUNT NO.: NOT AVAILABLE
        ROBINSON CALCAGNIE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.22481 DANIEL BANUELOS                        VARIOUS                              Wildfire                UNDETERMINED
        MARY E. ALEXANDER, ESQ.                                                     Litigation
        (SBN: 104173)                ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.22482 DANIEL BANUELOS                        VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                   Litigation
        160461)                      ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.22483 DANIEL BANUELOS                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22484 DANIEL BANUELOS                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22485 DANIEL BENNETT                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22486 DANIEL BENNETT                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22487 DANIEL BENNETT                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22488 DANIEL BENNETT                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22489 DANIEL BEUGELMANS                        VARIOUS                              Wildfire                UNDETERMINED
        MARY E. ALEXANDER,                                                            Litigation
        ESQJENNIFER L. FIORE,          ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22490 DANIEL BRADBURD                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22491 DANIEL BRADBURD                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN J. SKIKOS, SBN                                                         Litigation
        148110GREGORY T. SKIKOS,       ACCOUNT NO.: NOT AVAILABLE
        SBN 176531MATTHEW J.
        SKIKOS, SBN 269765
        SKIKOS, CRAWFORD, SKIKOS &
        JOSEPH
        ONE SANSOME STREET, SUITE
        2830
        SAN FRANCISCO, CA 94104


3.22492 DANIEL BRADBURD                          VARIOUS                              Wildfire                UNDETERMINED
        CHARLES S.                                                                    Litigation
        ZIMMERMANCALEB LH              ACCOUNT NO.: NOT AVAILABLE
        MARKER
        ZIMMERMAN REED LLP
        2381 ROSECRANS AVE, SUITE
        328
        MANHATTAN BEACH, CA 90245


3.22493 DANIEL BRADBURD                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22494 DANIEL BRADBURD                          VARIOUS                              Wildfire                UNDETERMINED
        VINEET BHATIA (PRO HAC VICE                                                   Litigation
        TO BE SUBMITTED)               ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        1000 LOUISIANA STREET, SUITE
        5100
        HOUSTON, TEXAS 77002-5096


3.22495 DANIEL CANTER                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22496 DANIEL CANTER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22497 DANIEL CANTER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22498 DANIEL CANTER                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22499 DANIEL CARPENTER                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22500 DANIEL CARPENTER                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.22501 DANIEL CARPENTER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22502 DANIEL CARPENTER                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22503 DANIEL CARPENTER                        VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22504 DANIEL DINWIDDIE                        VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22505 DANIEL DINWIDDIE                        VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.22506 DANIEL EAGLE                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                      Litigation
        R. PARKINSONDANIEL E.         ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22507 DANIEL EAGLE                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                        Litigation
        SIMMONS                       ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22508 DANIEL EAGLE                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.22509 DANIEL EAGLE                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.22510 DANIEL ELKERTON                           VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.22511 DANIEL F. DWYER                           VARIOUS                              Wildfire                UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.22512 DANIEL F. DWYER                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22513 DANIEL F. NEVES                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22514 DANIEL F. NEVES                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22515 DANIEL F. NEVES                          VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22516 DANIEL F. NEVES                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22517 DANIEL GALLAGHER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22518 DANIEL GALLAGHER                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22519 DANIEL GALLAGHER                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22520 DANIEL GALLAGHER                        VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22521 DANIEL GALVIN                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.22522 DANIEL GALVIN                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.22523 DANIEL GALVIN                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.22524 DANIEL GEORGE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22525 DANIEL GEORGE                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22526 DANIEL GEORGE                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22527 DANIEL GEORGE                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22528 DANIEL GEORGE                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.22529 DANIEL GOODMAN                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                       Litigation
        R. PARKINSONDANIEL E.          ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22530 DANIEL GOODMAN                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                         Litigation
        SIMMONS                        ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22531 DANIEL GOODMAN                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.22532 DANIEL GOODMAN                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.22533 DANIEL GUERRERO LOPEZ                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22534 DANIEL GUERRERO LOPEZ                     VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22535 DANIEL GUILHOT                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.22536 DANIEL GUILHOT                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.22537 DANIEL GUILHOT                            VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22538 DANIEL GUILHOT                           VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22539 DANIEL GUILHOT                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.22540 DANIEL GUILHOT                           VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22541 DANIEL GUNTER                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22542 DANIEL GUNTER                            VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22543 DANIEL H. GREEN                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22544 DANIEL H. GREEN                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22545 DANIEL H. GREEN                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22546 DANIEL H. GREEN                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22547 DANIEL H. GREEN                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.22548 DANIEL HALE                              VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22549 DANIEL HALE                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22550 DANIEL HAMMETT                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22551 DANIEL HAMMETT                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22552 DANIEL HAMMETT                             VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.22553 DANIEL HAMMETT                             VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.22554 DANIEL HAMMETT                             VARIOUS                              Wildfire                UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.22555 DANIEL HARMESON                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                        Litigation
        NO. 197687)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22556 DANIEL HARMESON                            VARIOUS                              Wildfire                UNDETERMINED
        NOREEN EVANSRYAN L.                                                             Litigation
        THOMPSONPAIGE BOLDT              ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22557 DANIEL HARMESON                           VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FIRM      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.22558 DANIEL HAUCK                              VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.22559 DANIEL HAUCK                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.22560 DANIEL HAUCK                              VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.22561 DANIEL JAMES BRADFORD                     VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22562 DANIEL JAMES BRADFORD                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22563 DANIEL JAMES CRAIK                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22564 DANIEL JAMES CRAIK                      VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                     Litigation
        TOSDAL LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.22565 DANIEL JAMES CRAIK                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22566 DANIEL JAMES CRAIK                      VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                     Litigation
        60768ANGELA JAE CHUN, SBN     ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.22567 DANIEL K ALVAREZ                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22568 DANIEL K ALVAREZ                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22569 DANIEL K ALVAREZ                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22570 DANIEL K ALVAREZ                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22571 DANIEL K ALVAREZ                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22572 DANIEL LAROY FRANCIS                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22573 DANIEL LAROY FRANCIS                     VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22574 DANIEL LAROY FRANCIS                     VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22575 DANIEL LAROY FRANCIS                     VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22576 DANIEL LASSEN                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22577 DANIEL LASSEN                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.22578 DANIEL LOUBE                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22579 DANIEL LOUBE                             VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22580 DANIEL LOUBE                             VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.22581 DANIEL MAGANA                            VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                   Litigation
        248092)JACK W. WEAVER,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22582 DANIEL MAGANA                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22583 DANIEL MAGANA                           VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.22584 DANIEL MAGANA                           VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.22585 DANIEL MATA                             VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                   Litigation
        54426) DANIEL S. ROBINSON     ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.22586 DANIEL MATA                             VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22587 DANIEL MATA                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.22588 DANIEL MATA                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22589 DANIEL MATA                           VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                         Litigation
        DANIELS LAW                 ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.22590 DANIEL MCCREEDY                       VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                               Litigation
        SCHACKNATASHA N. SERINO     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.22591 DANIEL MCCREEDY                       VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                    Litigation
        WEAVER                      ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.22592 DANIEL MCCREEDY                       VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                         Litigation
        SR.JESSICA HAYES            ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.22593 DANIEL MCNEILL                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                   Litigation
        A. BAGHDADI                 ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22594 DANIEL MCNEILL                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22595 DANIEL MCNEILL                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22596 DANIEL MCNEILL                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22597 DANIEL MUFSON                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22598 DANIEL MUFSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.22599 DANIEL MUFSON                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.22600 DANIEL MULLEN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22601 DANIEL MULLEN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22602 DANIEL MULLEN                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22603 DANIEL MULLEN                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22604 DANIEL NELSON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22605 DANIEL NELSON                           VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.22606 DANIEL NELSON                           VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.22607 DANIEL NELSON                           VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22608 DANIEL NEVES                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22609 DANIEL NEVES                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22610 DANIEL NEVES                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22611 DANIEL NEVES                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22612 DANIEL NEVES                               VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.22613 DANIEL NIELSON                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                           Litigation
        208783)ERIKA L. VASQUEZ          ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22614 DANIEL NIELSON                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.22615 DANIEL NIELSON                           VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22616 DANIEL NIELSON                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.22617 DANIEL NIELSON                           VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22618 DANIEL OCHOA                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22619 DANIEL OCHOA                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22620 DANIEL OCHOA                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22621 DANIEL OCHOA                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.22622 DANIEL OCHOA                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22623 DANIEL O'CONNELL                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22624 DANIEL O'CONNELL                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22625 DANIEL O'CONNELL                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.22626 DANIEL O'CONNELL                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.22627 DANIEL OSUNA                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22628 DANIEL OSUNA                                   VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                              Litigation
        DOMENIC MARTINI                      ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.22629 DANIEL OSUNA                                   VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                             Litigation
        125868JUSTIN J. EBALLAR,             ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22630 DANIEL OSUNA                                   VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22631 DANIEL OSUNA                                   VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                               Litigation
        SINGLETONERIKA L.                    ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22632 Daniel Pardini                                 VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22633 DANIEL PARDINI                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.22634 DANIEL PARDINI                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.22635 DANIEL POMPLUN                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22636 DANIEL POMPLUN                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22637 DANIEL POMPLUN                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.22638 DANIEL POMPLUN                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22639 DANIEL POOLE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22640 DANIEL POOLE                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22641 DANIEL POOLE                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                   Litigation
        87492WILLIAM P. HARRIS III,   ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.22642 DANIEL POOLE                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22643 DANIEL POOLE                            VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                  Litigation
        SBN 119554MICHAEL H.          ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22644 DANIEL PRICE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22645 DANIEL PRICE                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22646 DANIEL PRICE                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22647 DANIEL PRICE                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22648 DANIEL R. BECKHAM                        VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22649 DANIEL R. BECKHAM                        VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22650 DANIEL R. BECKHAM                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22651 DANIEL R. BECKHAM                        VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22652 DANIEL R. HOWE                           VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22653 DANIEL R. HOWE                           VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22654 DANIEL R. HOWE                           VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22655 DANIEL R. HOWE                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.22656 DANIEL RAYMOND HANNA                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                      Litigation
        APPLICATION                        ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22657 DANIEL RAYMOND HANNA                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                        Litigation
        ZUMMERAMANDA J.                    ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22658 DANIEL RAYMOND HANNA                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                          Litigation
        A. BAGHDADI                        ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22659 DANIEL RAYMOND HANNA                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                        Litigation
        STATE BAR NO. 157400)              ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22660 Daniel Robert Joseph                         VARIOUS                              Wildfire                UNDETERMINED
        Ronald L.M. Goldman, Esq. (State                                                  Litigation
        Bar #33422) Diane Marger Moore,    ACCOUNT NO.: NOT AVAILABLE
        Esq. (Fla. Bar #268364) (Pro Hae

        Vice Application Pending)
        Baum Hedlund Aristei & Goldman,
        P.C.
        10940 Wilshire Boulevard., 17th
        Floor
        Los Angeles, California 90024


3.22661 DANIEL ROBERT JOSEPH                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                  Litigation
        WALKUP, MELODIA, KELLY &           ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22662 DANIEL ROBERT JOSEPH                     VARIOUS                              Wildfire                UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                        Litigation
        (STATE BAR #103252)BRIANNA     ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.22663 DANIEL ROBERT JOSEPH                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22664 DANIEL ROBERT JOSEPH                     VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.22665 DANIEL S. ROBBINS                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22666 DANIEL S. ROBBINS                        VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22667 DANIEL S. ROBBINS                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22668 DANIEL S. ROBBINS                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22669 DANIEL SALMON SR.                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22670 DANIEL SALMON SR.                        VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22671 DANIEL SALMON SR.                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22672 DANIEL SALMON SR.                        VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22673 DANIEL SALMON SR.                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22674 DANIEL SANCHEZ DBA                       VARIOUS                              Wildfire                UNDETERMINED
        ALPICELLA VINEYARD VILLA                                                      Litigation
        BILL ROBINS IIIROBERT T.       ACCOUNT NO.: NOT AVAILABLE
        BRYSONKEVIN M. POLLACK
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.22675 DANIEL SCHAFER                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22676 DANIEL SCHAFER                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22677 DANIEL SCHAFER                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22678 DANIEL SCHAFER                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22679 DANIEL SEIBERT                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22680 DANIEL SEIBERT                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22681 DANIEL SEIBERT                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22682 DANIEL SEIBERT                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22683 DANIEL SEIBERT                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22684 DANIEL SHAW                              VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.22685 DANIEL SHAW                              VARIOUS                              Wildfire                UNDETERMINED
        DONALD S. EDGAR                                                               Litigation
        EDGAR LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.22686 DANIEL SIMKINS                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22687 DANIEL SIMKINS                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22688 DANIEL SIMONE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22689 DANIEL SIMONE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22690 DANIEL SIMONE                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22691 DANIEL SIMONE                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22692 DANIEL SOLORS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22693 DANIEL SOLORS                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22694 DANIEL SOLORS                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22695 DANIEL SOLORS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22696 DANIEL SPRINGS                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22697 DANIEL SPRINGS                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22698 DANIEL SPRINGS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22699 DANIEL SPRINGS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22700 DANIEL VUJIC                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22701 DANIEL VUJIC                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22702 DANIEL VUJIC                             VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22703 DANIEL VUJIC                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22704 DANIEL W. LARA                           VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22705 DANIEL W. LARA                           VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22706 DANIEL W. LARA                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22707 DANIEL W. LARA                           VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22708 DANIEL WEATHERS                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22709 DANIEL WEATHERS                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22710 DANIEL WEATHERS                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22711 DANIEL WEATHERS                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22712 DANIEL WELLS                             VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.22713 DANIEL WELLS                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22714 DANIEL WELLS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22715 DANIEL WELLS                             VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.22716 DANIEL WILLS                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22717 DANIEL WILLS                             VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22718 DANIEL WILLS                             VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22719 DANIEL WILLS                             VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22720 DANIELLE BOTTINI                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22721 DANIELLE BOTTINI                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22722 DANIELLE BOTTINI                         VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22723 DANIELLE BOTTINI                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22724 DANIELLE BOTTINI                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22725 DANIELLE COSTA                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22726 DANIELLE COSTA                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22727 DANIELLE COSTA                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22728 DANIELLE COSTA                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22729 DANIELLE D. WILLIAMS                     VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22730 DANIELLE D. WILLIAMS                     VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22731 DANIELLE D. WILLIAMS                     VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22732 DANIELLE D. WILLIAMS                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22733 DANIELLE GAYTON                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22734 DANIELLE GAYTON                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22735 DANIELLE GAYTON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22736 DANIELLE GAYTON                         VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22737 DANIELLE HALL                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22738 DANIELLE HALL                           VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.22739 DANIELLE HALL                           VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22740 DANIELLE HALL                            VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                   Litigation
        248092)JACK W. WEAVER,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.22741 DANIELLE HICKES                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22742 DANIELLE HICKES                          VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22743 DANIELLE HICKES                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22744 DANIELLE HICKES                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22745 DANIELLE KINGSLEY                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22746 DANIELLE KINGSLEY                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22747 DANIELLE KINGSLEY                        VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22748 DANIELLE KINGSLEY                        VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.22749 DANIELLE KINGSLEY                        VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22750 DANIELLE MORGANTI                        VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.22751 DANIELLE MORGANTI                        VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22752 DANIELLE MORGANTI                        VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.22753 DANIELLE PALMER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22754 DANIELLE PALMER                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22755 DANIELLE PALMER                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22756 DANIELLE PALMER                          VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.22757 DANIELLE PARDINI                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22758 Danielle Pardini                               VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.22759 DANIELLE PARDINI                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22760 DANIELLE RILEY                                 VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                          Litigation
        STATE BAR NO. 157400)                ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22761 DANIELLE RILEY                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22762 DANIELLE RILEY                             VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                    Litigation
        APPLICATION                      ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22763 DANIELLE RILEY                             VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                      Litigation
        ZUMMERAMANDA J.                  ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22764 DANIELLE SELLERS                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22765 DANIELLE SELLERS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22766 DANIELLE SELLERS                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22767 DANIELLE SELLERS                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.22768 DANIELLE SELLERS                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22769 DANNETTE L. BAREFIELD                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22770 DANNETTE L. BAREFIELD                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22771 DANNETTE L. BAREFIELD                 VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22772 DANNETTE L. BAREFIELD                 VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22773 DANNETTE L. BAREFIELD                 VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22774 DANNETTE MARQUEZ                         VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22775 DANNETTE MARQUEZ                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22776 DANNETTE MARQUEZ                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22777 DANNETTE MARQUEZ                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22778 DANNIKA SNEAD                            VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                        Litigation
        SHEARJASON BOYER               ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22779 DANNIKA SNEAD                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22780 DANNIKA SNEAD                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22781 DANNIKA SNEAD                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22782 DANNIKA SNEAD                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22783 DANNY ANGLEN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359 KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22784 DANNY ANGLEN                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.22785 DANNY ANGLEN                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.22786 DANNY CLAGGETT                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22787 DANNY CLAGGETT                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22788 DANNY CLAGGETT                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22789 DANNY CLAGGETT                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22790 DANNY CLAGGETT                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22791 DANNY HUGHES                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22792 DANNY HUGHES                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22793 DANNY HUGHES                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22794 DANNY HUGHES                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22795 DANNY HUGHES                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22796 DANNY MATHIS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22797 DANNY MATHIS                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22798 DANNY MATHIS                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22799 DANNY MATHIS                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22800 DANNY MATHIS                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22801 DANNY PARDINI                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359 KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.22802 Danny Pardini                                  VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.22803 DANNY PARDINI                                  VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22804 DANNY SCHRADER                                 VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                                    Litigation
        ABRAHAM, WATKINS, NICHOLS,           ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.22805 DANNY SCHRADER                                 VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                            Litigation
        AMANWILLIAM P. HARRIS                ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22806 DANT, MORGAN                                   VARIOUS                              Wildfire                UNDETERMINED
        7175 CROSS STAR TRAIL                                                               Litigation
        MARYSVILLE, CA 95901                 ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22807 DANTE STONE ORLANDINI                    VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22808 DANTE STONE ORLANDINI                    VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22809 DAQUINO, BARBARA                         VARIOUS                              Wildfire                UNDETERMINED
        112 LARKSPUR DR                                                               Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.22810 DARBINIAN, SILVA                         VARIOUS                              Wildfire                UNDETERMINED
        PO BOX 11032                                                                  Litigation
        NAPA, CA 94581                 ACCOUNT NO.: NOT AVAILABLE


3.22811 DARCEY RUDICK                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22812 DARCEY RUDICK                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22813 DARCEY RUDICK                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22814 DARCEY RUDICK                           VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22815 DARCY DENOLA                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22816 DARCY DENOLA                            VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.22817 DAREK KOLODZIEJCZYK                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22818 DAREK KOLODZIEJCZYK                     VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22819 DAREK KOLODZIEJCZYK                      VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22820 DAREK KOLODZIEJCZYK                      VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22821 DARIO ANTONIONI                          VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.22822 DARIO ANTONIONI                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.22823 DARIO ANTONIONI                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22824 DARIO ANTONIONI                            VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                      Litigation
        583 I 6)                         ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22825 DARIO ANTONIONI                            VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                              Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22826 DARIO D'COSTA                              VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                        Litigation
        BRYSONKEVIN M. POLLACK           ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.22827 DARLA ELLEN STEELE-PAYNE                   VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.22828 DARLA ELLEN STEELE-PAYNE                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22829 DARLA ELLEN STEELE-PAYNE                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22830 DARLA ELLEN STEELE-PAYNE                   VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22831 DARLA ELLEN STEELE-PAYNE                   VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.22832 DARLA O'SHEA                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22833 DARLA O'SHEA                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                    Litigation
        ERIC RATINOFF LAW CORP.          ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22834 DARLA O'SHEA                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22835 DARLA O'SHEA                               VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22836 DARLA SUE ROBINSON                       VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.22837 DARLA SUE ROBINSON                       VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.22838 DARLEEN POE-GRIFFIN                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22839 DARLEEN POE-GRIFFIN                      VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22840 DARLEEN POE-GRIFFIN                      VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22841 DARLEEN POE-GRIFFIN                      VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928



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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22842 DARLENA SIMI                               VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                        Litigation
        BRYSONKEVIN M. POLLACK           ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.22843 DARLENA SIMI                               VARIOUS                              Wildfire                UNDETERMINED
        DONALD S. EDGAR                                                                 Litigation
        EDGAR LAW FIRM                   ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.22844 DARLENE ARD                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22845 DARLENE ARD                                VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.22846 DARLENE ARD                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22847 DARLENE ARD                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22848 DARLENE ARD                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22849 DARLENE BOSTON                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22850 DARLENE BOSTON                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22851 DARLENE BOSTON                           VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22852 DARLENE BOSTON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22853 DARLENE KIRBY                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22854 DARLENE KIRBY                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22855 DARLENE KIRBY                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22856 DARLENE KIRBY                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22857 DARLENE LONG                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.22858 DARLENE LONG                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22859 DARLENE LONG                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22860 DARLENE LONG                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22861 DARLENE LONG                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.22862 DARLENE PEPPER                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22863 DARLENE PEPPER                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.22864 DARLENE POWELL                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22865 DARLENE POWELL                           VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                        Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.22866 DARLENE POWELL                           VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.22867 DARLENE WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22868 DARLENE WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22869 DARLENE WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22870 DARLENE WILLIAMS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22871 DARLENE ZIMMER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.22872 DARLENE ZIMMER                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.22873 DARLENE ZIMMER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22874 DARLENE ZIMMER                            VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.22875 DARLYNNE ALBERIGI                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.22876 DARLYNNE ALBERIGI                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22877 DARLYNNE ALBERIGI                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22878 DARLYNNE ALBERIGI                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.22879 DARRELL LAPLANTE                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22880 DARRELL LAPLANTE                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22881 DARRELL LAPLANTE                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22882 DARRELL LAPLANTE                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22883 DARRELL LAPLANTE                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22884 DARRELL PERKINS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22885 DARRELL PERKINS                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22886 DARRELL PERKINS                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22887 DARRELL PERKINS                          VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22888 DARRELL WRIGHT                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22889 DARRELL WRIGHT                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22890 DARRELL WRIGHT                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22891 DARRELL WRIGHT                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.22892 DARRELL WRIGHT                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22893 DARREN GILLESPE                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                      Litigation
        110909)                      ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22894 DARREN GILLESPE                        VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                     Litigation
        (BAR NO. 295951) RACHEL      ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.22895 DARREN GILLESPE                        VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                               Litigation
        NO.254651)JOANNA LEE FOX     ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.22896 DARREN GILLESPE                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22897 DARREN NATEMEYER                       VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                   Litigation
        PENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22898 DARREN NATEMEYER                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.22899 DARREN NATEMEYER                         VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22900 DARREN NATEMEYER                         VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.22901 DARREN NATEMEYER                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22902 DARREN NATEMEYER                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.22903 DARREN REED                              VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.22904 DARREN REED                           VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                    Litigation
        WEAVER                      ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.22905 DARREN REED                           VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                               Litigation
        SCHACKNATASHA N. SERINO     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.22906 DARREN W. DESIMONE                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22907 DARREN W. DESIMONE                    VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.22908 DARREN W. DESIMONE                    VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22909 DARREN W. DESIMONE                    VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22910 DARREN W. DESIMONE                       VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22911 DARRIEL DARDEN JR.                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22912 DARRIEL DARDEN JR.                       VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.22913 DARRIEL DARDEN JR.                       VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.22914 DARRIEL DARDEN JR.                       VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.22915 DARRIN SCHROEDER                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.22916 DARRIN SCHROEDER                          VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22917 DARRIN SCHROEDER                          VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22918 DARRIN SCHROEDER                          VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22919 DARRIN STEWART                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22920 DARRIN STEWART                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.22921 DARRIN STEWART                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22922 DARRIN STEWART                           VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN      ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.22923 DARRYL GLENN EVANS                       VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22924 DARRYL GLENN EVANS                       VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.22925 DARRYL GLENN EVANS                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22926 DARRYL GLENN EVANS                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.22927 DARRYL HOUSE                             VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22928 DARRYL HOUSE                            VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.22929 DARRYL HOUSE                            VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.22930 DARRYL ROBINSON                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                        Litigation
        208783)ERIKA L. VASQUEZ       ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.22931 DARRYL ROBINSON                         VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                         Litigation
        VICEPENDING)JOHN P. FISKE     ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.22932 DARRYL ROBINSON                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                   Litigation
        (SBN 69176)IAN C.             ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.22933 DARRYL ROBINSON                         VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                           Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.22934 DARRYL ROBINSON                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                       Litigation
        583 I 6)                          ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22935 DARWIN CRABTREE                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22936 DARWIN CRABTREE                             VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.22937 DARWIN CRABTREE                             VARIOUS                              Wildfire                UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                         Litigation
        315962)TODD LOGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.22938 Darwin Crabtree                             VARIOUS                              Wildfire                UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.22939 DARWIN SAGER                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22940 DARWIN SAGER                                   VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                           Litigation
        SBN: 110909ANDREA R.                 ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22941 DARWIN SAGER                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                      Litigation
        71460KHALDOUN A. BAGHDADI            ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22942 DARWIN SAGER                                   VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                          Litigation
        100077ALISON E. CORDOVA,             ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22943 DARWIN SAGER                                   VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22944 Darwin, Jeffrey Charles; Darwin,               VARIOUS                              Wildfire                UNDETERMINED
        Tiffany Marie; Darwin, Kara Nicole                                                  Litigation
        (Minors, By And Through Their        ACCOUNT NO.: NOT AVAILABLE
        Guardian Ad Litem Jeffrey Charles
        Darwin); Darwin, Kilah Dae
        (Minors, By And Through Their
        Guardian Ad Litem Jeffrey Charles
        Darwin); Darwin, Lucas Charles (
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.22945 Darwin, Jeffrey Charles; Darwin,               VARIOUS                              Wildfire                UNDETERMINED
        Tiffany Marie; Darwin, Kara Nicole                                                  Litigation
        (Minors, By And Through Their        ACCOUNT NO.: NOT AVAILABLE
        Guardian Ad Litem Jeffrey Charles
        Darwin); Darwin, Kilah Dae
        (Minors, By And Through Their
        Guardian Ad Litem Jeffrey Charles
        Darwin); Darwin, Lucas Charles (
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.22946 Darwin, Jeffrey Charles; Darwin,               VARIOUS                              Wildfire                UNDETERMINED
        Tiffany Marie; Darwin, Kara Nicole                                                  Litigation
        (Minors, By And Through Their        ACCOUNT NO.: NOT AVAILABLE
        Guardian Ad Litem Jeffrey Charles
        Darwin); Darwin, Kilah Dae
        (Minors, By And Through Their
        Guardian Ad Litem Jeffrey Charles
        Darwin); Darwin, Lucas Charles (
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.22947 DARYL BUTTS                                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22948 DARYL BUTTS                                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359KRISTINE K.                    ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22949 DARYL BUTTS                                    VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                                Litigation
        178658DYLAN HUGHES- BAR              ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22950 DARYL BUTTS                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22951 DAVAULT, ELAINE                          VARIOUS                              Wildfire                UNDETERMINED
        850 RUSSELL AVE L6                                                            Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.22952 DAVE GUILLEN                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22953 DAVE GUILLEN                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22954 DAVE GUILLEN                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22955 DAVE GUILLEN                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22956 DAVE GUILLEN                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22957 DAVE LEAL                                VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.22958 DAVE LEAL                                VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.22959 DAVE LEAL                                VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22960 DAVE LEAL                                VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.22961 DAVE LEAL                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22962 DAVE SEMERIA                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22963 DAVE SEMERIA                               VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.22964 DAVE SEMERIA                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22965 DAVE SEMERIA                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22966 DAVE SEMERIA                               VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.22967 DAVE TURNER                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22968 DAVE TURNER                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.22969 DAVE TURNER                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.22970 DAVE TURNER                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.22971 DAVI RAMEY                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22972 DAVI RAMEY                               VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                            Litigation
        DANIELS LAW                    ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.22973 DAVI RAMEY                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22974 DAVI RAMEY                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22975 DAVI RAMEY                              VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                   Litigation
        54426) DANIEL S. ROBINSON     ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.22976 DAVID A HAUGENS                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22977 DAVID A HAUGENS                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22978 DAVID A HAUGENS                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22979 DAVID A HAUGENS                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.22980 DAVID A HAUGENS                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.22981 DAVID A VOLMER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22982 DAVID A VOLMER                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22983 DAVID A VOLMER                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.22984 DAVID A VOLMER                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.22985 DAVID A VOLMER                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22986 DAVID ALKOSSER                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.22987 DAVID ALKOSSER                           VARIOUS                              Wildfire                UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.22988 DAVID ALVES                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.22989 DAVID ALVES                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22990 DAVID ALVES                              VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.22991 DAVID ALVES                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.22992 DAVID ALVES                                VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.22993 DAVID ARECHAR                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.22994 DAVID ARECHAR                              VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.22995 DAVID ARECHAR                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22996 DAVID ARECHAR                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.22997 DAVID ARECHAR                              VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.22998 DAVID ARNEY                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.22999 DAVID ARNEY                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23000 DAVID ARNEY                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.23001 DAVID ARNEY                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.23002 DAVID BARTHOLOMEW                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.23003 DAVID BARTHOLOMEW                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.23004 DAVID BECK                                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                        Litigation
        SBN: 110909ROBERT A.             ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23005 DAVID BELTRAMO                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23006 DAVID BELTRAMO                             VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.23007 DAVID BELTRAMO                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.23008 DAVID BELTRAMO                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23009 DAVID BELTRAMO                           VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.23010 DAVID BERNACETT                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.23011 DAVID BERNACETT                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23012 DAVID BERNACETT                          VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                    Litigation
        54426) DANIEL S. ROBINSON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.23013 DAVID BERNACETT                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.23014 DAVID BERNACETT                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23015 DAVID BERNACETT                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23016 DAVID BERNACETT                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23017 DAVID BERNACETT                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23018 DAVID BERNACETT                          VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. DANIELS                                                            Litigation
        DANIELS LAW                    ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.23019 DAVID BOCKMAN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23020 DAVID BOCKMAN                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.23021 DAVID BOCKMAN                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23022 DAVID BOCKMAN                              VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.23023 DAVID BRAVOT                               VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.23024 DAVID BRAVOT                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.23025 DAVID BRAVOT                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23026 DAVID BRAVOT                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23027 DAVID BRAVOT                             VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.23028 DAVID BROOK STYRON                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23029 DAVID BROOK STYRON                       VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23030 DAVID BROOK STYRON                       VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.23031 DAVID BROOK STYRON                       VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.23032 DAVID CAMPBELL                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                           Litigation
        SBN: 110909ROBERT A.                ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23033 DAVID CAMPBELL                                VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                            Litigation
        COTCHETTDONALD                      ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE & MCCARTHY
        LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.23034 David Carey                                   VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hac Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hac Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.23035 DAVID CARR                                    VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                           Litigation
                                            ACCOUNT NO.: NOT AVAILABLE
        BRETT R. PARKINSON, ESQ.,

        DANIEL E. PASSMORE, ESQ.,
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23036 DAVID CARR                                    VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ.,COELL                                                          Litigation
        M. SIMMONS, ESQ.,                   ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23037 DAVID CARR                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS, ESQ.,                                                           Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.23038 DAVID CARR                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        FRICDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.23039 DAVID CHRISTOPHER                         VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23040 DAVID CHRISTOPHER                         VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23041 DAVID CHRISTOPHER                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.23042 DAVID CHRISTOPHER                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.23043 DAVID CLARK                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.23044 DAVID CLARK                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23045 DAVID CLARK                                VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.23046 DAVID CLARK                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.23047 DAVID CLARK                                VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.23048 DAVID CLARK                                VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                              Litigation
        SR.JESSICA HAYES                 ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.23049 DAVID CLARK                                VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                    Litigation
        SCHACKNATASHA N. SERINO          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23050 DAVID CLARK                              VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.23051 DAVID CLARY                              VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.23052 DAVID CLARY                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.23053 DAVID CLAUSEN                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23054 DAVID CLAUSEN                            VARIOUS                              Wildfire                UNDETERMINED
        NOREEN EVANSRYAN L.                                                           Litigation
        THOMPSONPAIGE BOLDT            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.23055 DAVID CLAUSEN                            VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FIRM     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.23056 DAVID CORONADO                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                         Litigation
        SIMMONS                        ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23057 DAVID CORONADO                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23058 DAVID CORONADO                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.23059 DAVID CORONADO                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.23060 DAVID CORSON                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.23061 DAVID CORSON                              VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.23062 DAVID CORSON                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23063 DAVID CORSON                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.23064 DAVID CRANE                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23065 DAVID CRANE                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23066 DAVID CRANE                              VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.23067 DAVID CRANE                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23068 DAVID CRENSHAW                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23069 DAVID CRENSHAW                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.23070 DAVID CRENSHAW                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23071 DAVID CRENSHAW                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23072 DAVID CRENSHAW                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.23073 DAVID CRILEY                             VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD,                                                         Litigation
        ESQ.MICHAEL H. ARTINIAN,       ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.23074 DAVID CRILEY                             VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                   Litigation
        C. AMAN, ESQ.WILLIAM P.        ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23075 DAVID CRILEY                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.23076 DAVID CROWELL                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23077 DAVID CROWELL                             VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.23078 DAVID CROWELL                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.23079 DAVID CROWELL                             VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.23080 DAVID CUEN                                VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23081 DAVID CUEN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23082 DAVID CUEN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23083 DAVID CUEN                               VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.23084 DAVID DANIEL RAMIREZ                     VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.23085 DAVID DANIEL RAMIREZ                     VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.23086 DAVID DEAN ROBINSON SR.                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23087 DAVID DEAN ROBINSON SR.                    VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23088 DAVID DEAN ROBINSON SR.                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.23089 DAVID DEAN ROBINSON SR.                    VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.23090 DAVID DEAN ROBINSON SR.                    VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.23091 DAVID DECOSTA                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23092 DAVID DECOSTA                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23093 DAVID DECOSTA                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.23094 DAVID DECOSTA                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.23095 DAVID DICKINSON                          VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                     Litigation
        (SBN 99126)NATASHA N.          ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.23096 DAVID DICKINSON                          VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                   Litigation
        9858)JESSICA W. HAYES.,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130



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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.23097 DAVID DICKINSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23098 DAVID DICKINSON                            VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                     Litigation
        248092)JACK W. WEAVER,           ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.23099 DAVID DIMON                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23100 DAVID DIMON                                VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.23101 DAVID DIMON                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23102 DAVID DIMON                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.23103 DAVID DIMON                                   VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                          Litigation
        SBN: 110909ANDREA R.                ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23104 David Dobrow                                  VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.23105 DAVID DOBROW                                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.23106 DAVID DUCOMMUN                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                   Litigation
        WALKUP, MELODIA, KELLY &            ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23107 DAVID DUCOMMUN                                VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                  Litigation
        DREYER BABICH BUCCOLA               ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23108 DAVID DUCOMMUN                                VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                     Litigation
        71460KHALDOUN A. BAGHDADI           ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.23109 DAVID DUCOMMUN                          VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.23110 DAVID DUCOMMUN                          VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                         Litigation
        #109455LAURA E. BROWN         ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.23111 DAVID E KINGSLEY                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.23112 DAVID E KINGSLEY                        VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.23113 DAVID E KINGSLEY                        VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.23114 DAVID E KINGSLEY                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23115 DAVID E KINGSLEY                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23116 DAVID E. BARRIENTOS                      VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23117 DAVID E. BARRIENTOS                      VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.23118 DAVID E. BARRIENTOS                      VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.23119 DAVID E. BARRIENTOS                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23120 DAVID EDNEY                              VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23121 DAVID EDNEY                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.23122 DAVID EDNEY                              VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23123 DAVID EDNEY                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.23124 DAVID EDNEY                              VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.23125 DAVID EISNTIZ                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                         Litigation
        SIMMONS                        ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23126 DAVID EISNTIZ                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                       Litigation
        R. PARKINSONDANIEL E.          ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23127 DAVID EISNTIZ                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.23128 DAVID EISNTIZ                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.23129 DAVID F SILVEIRA                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23130 DAVID F SILVEIRA                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.23131 DAVID F SILVEIRA                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.23132 DAVID F SILVEIRA                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23133 DAVID F SILVEIRA                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23134 DAVID F. LA ROCHELLE                      VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.23135 DAVID F. LA ROCHELLE                      VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.23136 DAVID F. LA ROCHELLE                      VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.23137 DAVID FOSTER CLEMENS JR.                  VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.23138 DAVID FOSTER CLEMENS JR.                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23139 DAVID FOSTER CLEMENS JR.                  VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23140 DAVID FOSTER CLEMENS JR.                  VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23141 DAVID FRANCO                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23142 DAVID FRANCO                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204GREGORY A. STUCK,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #311162
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23143 DAVID FRANCO                              VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.23144 DAVID FRANCO                              VARIOUS                              Wildfire                UNDETERMINED
                                                                                       Litigation
       DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
       701 HOWE AVENUE, SUITE A-1
       SACRAMENTO, CA 95825


3.23145 DAVID GALLENTINE                          VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                     Litigation
        87492WILLIAM P. HARRIS III,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.23146 DAVID GALLENTINE                          VARIOUS                              Wildfire                UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                    Litigation
        SBN 119554MICHAEL H.            ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23147 DAVID GALLENTINE                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.23148 DAVID GALLENTINE                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23149 DAVID GALLENTINE                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23150 DAVID GENTILE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23151 DAVID GENTILE                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23152 DAVID GENTILE                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.23153 DAVID GENTILE                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.23154 DAVID GLEBA                             VARIOUS                              Wildfire                UNDETERMINED
        WALTER J. LACKDANIEL G.                                                      Litigation
        WHALENBRIAN J.                ACCOUNT NO.: NOT AVAILABLE
        HEFFERNANALEXANDRA J.
        NEWSOMANDREW M.
        JACOBSON
        ENGSTROM, LIPSCOMB &
        LACKA PROFESSIONAL
        CORPORATION
        10100 SANTA MONICA
        BOULEVARD, 12TH FLOOR
        LOS ANGELES, CALIFORNIA
        90067-4107


3.23155 DAVID GOETZ                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23156 DAVID GOETZ                             VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23157 DAVID GOETZ                             VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23158 DAVID GOETZ                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.23159 DAVID GOETZ                               VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.23160 DAVID GRAY                                VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23161 DAVID GRAY                                VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23162 DAVID GRAY                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.23163 DAVID GRAY                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.23164 DAVID HAIGH                                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23165 David Haigh                                    VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.23166 DAVID HAIGH                                    VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.23167 DAVID HALBUR                                   VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                                Litigation
        VICEPENDING)JOHN P. FISKE            ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.23168 DAVID HALBUR                                   VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                               Litigation
        208783)ERIKA L. VASQUEZ              ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23169 DAVID HALBUR                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23170 DAVID HALBUR                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.23171 DAVID HALBUR                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.23172 DAVID HAMILTON                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23173 DAVID HAMILTON                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.23174 DAVID HAMILTON                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23175 DAVID HAMILTON                           VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23176 DAVID HAMILTON                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.23177 DAVID HARROLD                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23178 DAVID HARROLD                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23179 DAVID HARROLD                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23180 DAVID HARROLD                            VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23181 DAVID HARROLD                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.23182 DAVID HOROBIN                            VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.23183 DAVID HOROBIN                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.23184 DAVID HOSMER                             VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.23185 DAVID HURT                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23186 DAVID HURT                               VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23187 DAVID J. GADJA                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23188 DAVID J. GADJA                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23189 DAVID J. GADJA                           VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23190 DAVID J. GADJA                           VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.23191 DAVID KENSINGER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23192 DAVID KENSINGER                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.23193 DAVID KENSINGER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23194 DAVID KENSINGER                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.23195 DAVID KERHOULAS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23196 DAVID KERHOULAS                            VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.23197 DAVID KERHOULAS                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23198 DAVID KERHOULAS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23199 DAVID KERHOULAS                          VARIOUS                              Wildfire                UNDETERMINED
        TODD B. BECKERBRIAN E.                                                        Litigation
        SHEARJASON BOYER               ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.23200 DAVID KURZFELD                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.23201 DAVID KURZFELD                           VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.23202 DAVID KURZFELD                           VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.23203 DAVID KURZFELD                           VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23204 DAVID KURZFELD                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23205 DAVID L KILLION                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23206 DAVID L KILLION                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23207 DAVID L KILLION                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.23208 DAVID L KILLION                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.23209 DAVID L KILLION                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.23210 DAVID L. PHELPS-ZINK                     VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.23211 DAVID L. PHELPS-ZINK                     VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address            Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.23212 DAVID L. PHELPS-ZINK                         VARIOUS                              Wildfire                UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                            Litigation
        (STATE BAR #103252)BRIANNA         ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.23213 DAVID L. PHELPS-ZINK                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                  Litigation
        WALKUP, MELODIA, KELLY &           ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23214 David L. Phelps-Zink                         VARIOUS                              Wildfire                UNDETERMINED
        Ronald L.M. Goldman, Esq. (State                                                  Litigation
        Bar #33422) Diane Marger Moore,    ACCOUNT NO.: NOT AVAILABLE
        Esq. (Fla. Bar #268364) (Pro Hae

        Vice Application Pending)
        Baum Hedlund Aristei & Goldman,
        P.C.
        10940 Wilshire Boulevard., 17th
        Floor
        Los Angeles, California 90024


3.23215 DAVID L. SHAFFER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                          Litigation
        A. BAGHDADI                        ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23216 DAVID L. SHAFFER                             VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                          Litigation
        TOSDAL LAW FIRM                    ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.23217 DAVID L. SHAFFER                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                          Litigation
        81867                              ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23218 DAVID L. SHAFFER                         VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                      Litigation
        60768ANGELA JAE CHUN, SBN      ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.23219 DAVID LAL                                VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.23220 DAVID LAL                                VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.23221 DAVID LAL                                VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23222 DAVID LAL                                VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.23223 DAVID LAL                                VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.23224 David Lenchner                                 VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.23225 DAVID LENCHNER                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23226 DAVID LENCHNER                                 VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.23227 DAVID LILES                                    VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23228 DAVID LILES                                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23229 DAVID LILES                              VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23230 DAVID LILES                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.23231 DAVID LILES                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.23232 DAVID LLAMAS                             VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.23233 DAVID LOCKERBIE                          VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.23234 DAVID LOCKERBIE                          VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                        Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23235 DAVID LOCKERBIE                          VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.23236 DAVID LORANGE                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.23237 DAVID LORANGE                            VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.23238 DAVID LOWEN                              VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.23239 DAVID LOWEN                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.23240 DAVID LOWEN, JR.                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.23241 DAVID LOWEN, JR.                        VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.23242 DAVID M. CULP                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.23243 DAVID M. CULP                           VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.23244 DAVID M. CULP                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.23245 DAVID MACHEN                            VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONERIKA L.                                                     Litigation
        VASQUEZ AMANDA LOCURTO        ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23246 DAVID MACHEN                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.23247 DAVID MACHEN                             VARIOUS                              Wildfire                UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.23248 DAVID MACHEN                             VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.23249 DAVID MACHEN                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.23250 DAVID MACHEN                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23251 DAVID MASARIK                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23252 DAVID MASARIK                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.23253 DAVID MASARIK                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23254 DAVID MASARIK                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.23255 DAVID MAURICE RUUD                       VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23256 DAVID MAURICE RUUD                       VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23257 DAVID MAURICE RUUD                        VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.23258 DAVID MAURICE RUUD                        VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.23259 DAVID MAYER                               VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.23260 DAVID MAYER                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.23261 DAVID MAYER                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23262 DAVID MAYER                               VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.23263 DAVID MEHRENS,                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.23264 DAVID MEHRENS,                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.23265 DAVID MEHRENS,                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.23266 DAVID OLIVER                            VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.23267 DAVID OLIVER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23268 DAVID OLIVER                             VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23269 DAVID OLIVER                             VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.23270 DAVID P. JACKSON                         VARIOUS                              Wildfire                UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.23271 DAVID P. JACKSON                         VARIOUS                              Wildfire                UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.23272 DAVID P. JACKSON                         VARIOUS                              Wildfire                UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.23273 DAVID PARKS                              VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23274 DAVID PARKS                               VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.23275 DAVID PASCOE                              VARIOUS                              Wildfire                UNDETERMINED
        JAMES O'CALLAHAN                                                               Litigation
        GIRARDI KEESE                   ACCOUNT NO.: NOT AVAILABLE
        1126 WILSHIRE BOULEVARD
        LOS ANGELES, CALIFORNIA
        90017


3.23276 DAVID PEACOCK                             VARIOUS                              Wildfire                UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.23277 DAVID PETERSON                            VARIOUS                              Wildfire                UNDETERMINED
        MELVIN C. BELLI - BAR NO.                                                      Litigation
        111309ROBERT J.A. FORDIANI      ACCOUNT NO.: NOT AVAILABLE
        — BAR NO. 256041
        THE BELLI LAW FIRM
        33 MILLER AVE
        MILL VALLEY, CALIFORNIA 94941


3.23278 DAVID PETERSON                            VARIOUS                              Wildfire                UNDETERMINED
        DAVID P. MATTHEWS- PRO HAC                                                     Litigation
        VICE TO BE FILED                ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES LAW
        FIRM
        290S SACKETT ST.
        HOUSTON, TEXAS 77098


3.23279 DAVID PETERSON                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address            Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.23280 DAVID PETERSON                               VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                 Litigation
        DREYER BABICH BUCCOLA              ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23281 DAVID PETERSON                               VARIOUS                              Wildfire                UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                         Litigation
        160461)                            ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.23282 David Phelps Zink (President Of              VARIOUS                              Wildfire                UNDETERMINED
        Paradise Community Guilds)                                                        Litigation
        Ronald L.M. Goldman, Esq. (State   ACCOUNT NO.: NOT AVAILABLE
        Bar #33422) Diane Marger Moore,
        Esq. (Fla. Bar #268364) (Pro Hae

        Vice Application Pending)
        Baum Hedlund Aristei & Goldman,
        P.C.
        10940 Wilshire Boulevard., 17th
        Floor
        Los Angeles, California 90024


3.23283 DAVID PHELPS ZINK                            VARIOUS                              Wildfire                UNDETERMINED
        (PRESIDENT OF PARADISE                                                            Litigation
        COMMUNITY GUILDS)                  ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLY
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23284 DAVID PHELPS ZINK                            VARIOUS                              Wildfire                UNDETERMINED
        (PRESIDENT OF PARADISE                                                            Litigation
        COMMUNITY GUILDS)                  ACCOUNT NO.: NOT AVAILABLE
        BRIAN R. STRANGE, ESQ.
        (STATE BAR #103252)BRIANNA
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23285 DAVID PHELPS ZINK                        VARIOUS                              Wildfire                UNDETERMINED
        (PRESIDENT OF PARADISE                                                        Litigation
        COMMUNITY GUILDS)              ACCOUNT NO.: NOT AVAILABLE
        STEVEN M. CAMPORA
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23286 DAVID PHELPS ZINK                        VARIOUS                              Wildfire                UNDETERMINED
        (PRESIDENT OF PARADISE                                                        Litigation
        COMMUNITY GUILDS)              ACCOUNT NO.: NOT AVAILABLE
        ROBERT F. KENNEDY, JR. (N.Y.
        BAR #1999994) (PRO HAE VICE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.23287 DAVID PINSKY                             VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDTMIKAL C. WATTSGUY         ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.23288 DAVID PINSKY                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23289 DAVID PINSKY                             VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.23290 DAVID PREIMESBERGER                      VARIOUS                              Wildfire                UNDETERMINED
        MARY E. ALEXANDER,                                                            Litigation
        ESQJENNIFER L. FIORE, ESQ      ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.23291 DAVID R PATRICK                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.23292 DAVID R PATRICK                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.23293 DAVID R PATRICK                         VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.23294 DAVID R PATRICK                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23295 DAVID R PATRICK                         VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23296 DAVID R TURNER                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23297 DAVID R TURNER                          VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.23298 DAVID R TURNER                                 VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                           Litigation
        MARTINI                              ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.23299 DAVID R TURNER                                 VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23300 DAVID R TURNER                                 VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                             Litigation
        125868JUSTIN J. EBALLAR,             ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.23301 DAVID RAMPONI                                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23302 David Ramponi                                  VARIOUS                              Wildfire                UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23303 DAVID RAMPONI                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.23304 DAVID RAY VENABLE                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23305 DAVID RAY VENABLE                        VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.23306 DAVID RAY VENABLE                        VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.23307 DAVID RAY VENABLE                        VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.23308 DAVID RHOADES                            VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23309 DAVID RHOADES                            VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.23310 DAVID RICCI                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23311 DAVID RICCI                              VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23312 DAVID RICCI                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23313 DAVID RICCI                              VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.23314 DAVID RICE                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23315 DAVID RICE                               VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23316 DAVID RICE                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23317 DAVID RICE                               VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.23318 DAVID ROBERT FISHER III                  VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23319 DAVID ROBERT FISHER III                  VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23320 DAVID ROBERT FISHER III                  VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23321 DAVID ROBERT FISHER III                  VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.23322 DAVID ROBERTSON                          VARIOUS                              Wildfire                UNDETERMINED
        MARY E. ALEXANDER,                                                            Litigation
        ESQJENNIFER L. FIORE,          ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.23323 DAVID ROY BUNNELL                        VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23324 DAVID ROY BUNNELL                        VARIOUS                              Wildfire                UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.23325 DAVID ROY BUNNELL                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23326 DAVID ROY BUNNELL                        VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23327 DAVID S. CLARK                           VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.23328 DAVID S. CLARK                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23329 DAVID S. CLARK                           VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23330 DAVID S. CLARK                           VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.23331 DAVID SANTOS                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.23332 DAVID SANTOS                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.23333 DAVID SANTOS                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.23334 DAVID SANTOS                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23335 DAVID SANTOS                           VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23336 DAVID SCHEIBEL                         VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.23337 DAVID SCHEIBEL                         VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.23338 DAVID SCHOOF                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23339 DAVID SCHOOF                             VARIOUS                              Wildfire                UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.23340 DAVID SCHOTT                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23341 DAVID SCHOTT                             VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23342 DAVID SCHOTT                             VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.23343 DAVID SCHOTT                             VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23344 DAVID SHAUGHNESSY                        VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                     Litigation
        NO. 100077                     ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.23345 DAVID SHAUGHNESSY                        VARIOUS                              Wildfire                UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                   Litigation
        116060RAHUL RAVIPUDI,          ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.23346 DAVID SHAUGHNESSY                        VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                   Litigation
        NO. 71460                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.23347 DAVID SHORES, INDIVIDUALLY               VARIOUS                              Wildfire                UNDETERMINED
        AND AS SUCCESSOR-IN-                                                          Litigation
        INTEREST TO THE ESTATE OF      ACCOUNT NO.: NOT AVAILABLE
        DONALD SHORES, DECEASED
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23348 DAVID SHORES, INDIVIDUALLY               VARIOUS                              Wildfire                UNDETERMINED
        AND AS SUCCESSOR-IN-                                                          Litigation
        INTEREST TO THE ESTATE OF      ACCOUNT NO.: NOT AVAILABLE
        DONALD SHORES, DECEASED
        ERIC GIBBS - BAR NO.
        178658DYLAN HUGHES- BAR
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23349 David Shores, Individually And As         VARIOUS                             Wildfire                UNDETERMINED
        Successor-In-Interest To The                                                  Litigation
        Estate Of Donald Shores, Deceased ACCOUNT NO.: NOT AVAILABLE
        Dario De Ghetaldi - Bar No.
        126782Amanda L. Riddle - Bar
        No. 215221Steven M. Berki - Bar
        No. 245426Sumble Manzoor- Bar
        No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.23350 David Shores, Individually And As         VARIOUS                             Wildfire                UNDETERMINED
        Successor-In-Interest To The                                                  Litigation
        Estate Of Donald Shores, Deceased ACCOUNT NO.: NOT AVAILABLE
        Michael S. Danko - Bar No.
        111359Kristine K. Meredith - Bar
        No. 158243Shawn R. Miller- Bar
        No. 238447
        Danko Meredith
        333 Twin Dolphin Drive, Suite 145
        Redwood Shores, CA 94065


3.23351 DAVID SLATTEN                            VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.23352 DAVID SLATTEN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23353 DAVID SLATTEN                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23354 DAVID SLATTEN                            VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.23355 DAVID SMITH                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23356 DAVID SMITH                              VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23357 DAVID SMITH                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23358 DAVID SMITH                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.23359 DAVID SMITH                              VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127



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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.23360 DAVID SMITH                                   VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                             Litigation
        STATE BAR NO. 296841)PAIGE          ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.23361 DAVID SMITH                                   VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.23362 David Southwick                               VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.23363 DAVID SOUTHWICK                               VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.23364 DAVID SWAN                                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                                   Litigation
        WALKUP, MELODIA, KELLY &            ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23365 DAVID SWAN                                    VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                                  Litigation
        DREYER BABICH BUCCOLA               ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.23366 DAVID SWAN                                 VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.23367 DAVID SWAN                                 VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.23368 DAVID SWAN                                 VARIOUS                              Wildfire                UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.23369 DAVID THOMPSON                             VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                            Litigation
        VICEPENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.23370 DAVID THOMPSON                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETON (SBN                                                           Litigation
        208783)ERIKA L. VASQUEZ          ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.23371 DAVID THOMPSON                             VARIOUS                              Wildfire                UNDETERMINED
        AHMED S. DIAB (SBN                                                              Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23372 DAVID THOMPSON                           VARIOUS                              Wildfire                UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.23373 DAVID THOMPSON                           VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.23374 DAVID TROYWIGHAM                         VARIOUS                              Wildfire                UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.23375 DAVID TROYWIGHAM                         VARIOUS                              Wildfire                UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.23376 DAVID TROYWIGHAM                         VARIOUS                              Wildfire                UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23377 DAVID TROYWIGHAM                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23378 DAVID W. ANDERSON                         VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.23379 DAVID W. ANDERSON                         VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.23380 DAVID W. ANDERSON                         VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.23381 DAVID W. MURRAY                           VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23382 DAVID W. MURRAY                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.23383 DAVID W. MURRAY                           VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.23384 DAVID W. MURRAY                        VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                      Litigation
        DOMENIC MARTINI              ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.23385 DAVID W. MURRAY                        VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23386 DAVID W. SMITH                         VARIOUS                              Wildfire                UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                   Litigation
        SIMES RACHEL B.              ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.23387 DAVID WATSON                           VARIOUS                              Wildfire                UNDETERMINED
        MARK P. ROBINSON, JR.KEVIN                                                  Litigation
        CALCAGNIESHANNON             ACCOUNT NO.: NOT AVAILABLE
        LUKEILILA RAZMARA
        ROBINSON CALCAGNIE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.23388 DAVID WEIGT                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                    Litigation
        NO. 197687)                  ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.23389 David Weigt                                   VARIOUS                              Wildfire                UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.23390 DAVID WESTBROOK                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                           Litigation
        A. BAGHDADI                         ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23391 DAVID WESTBROOK                               VARIOUS                              Wildfire                UNDETERMINED
        CHRISTOPHER C.                                                                     Litigation
        SIEGLOCKRACHEL                      ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.23392 DAVID WESTBROOK                               VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOXJOANNA                                                                     Litigation
        FOXCOURTNEY VASQUEZ                 ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.23393 DAVID WESTBROOK                               VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                               Litigation
        178658DYLAN HUGHES- BAR             ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.23394 DAVID WILSON                                  VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23395 DAVID WILSON                             VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                        Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.23396 DAVID WILSON                             VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.23397 DAVID YATES                              VARIOUS                              Wildfire                UNDETERMINED
        DAVE FOX (BAR                                                                 Litigation
        NO.254651)JOANNA LEE FOX       ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.23398 DAVID YATES                              VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23399 DAVID YATES                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23400 DAVID YATES                              VARIOUS                              Wildfire                UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                       Litigation
        (BAR NO. 295951) RACHEL        ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.23401 DAVIDSON, ANDREA                        VARIOUS                              Wildfire                UNDETERMINED
        146 LARKSPUR DRIVE (MOBILE                                                   Litigation
        HOME PARK)                    ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409


3.23402 DAVIDSON, JILLIAN                       VARIOUS                              Wildfire                UNDETERMINED
        2007 LAPPER AVE                                                              Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.23403 DAVIED ISRAEL                           VARIOUS                              Wildfire                UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.23404 DAVIED ISRAEL                           VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.23405 DAVIS LIMBAUGH                          VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23406 DAVIS LIMBAUGH                          VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.23407 DAVIS LIMBAUGH                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23408 DAVIS LIMBAUGH                           VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23409 DAVIS, MICHELE                           VARIOUS                              Wildfire                UNDETERMINED
        76 MAUI WAY                                                                   Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.23410 DAVIS, STEVEN AND LINDA                  VARIOUS                              Wildfire                UNDETERMINED
        FRANK M. PITRE, ALISON E.                                                     Litigation
        CORDOVA                        ACCOUNT NO.: NOT AVAILABLE
        842 MALCOM ROAD
        SUITE 202
        BURLINGAME, CA 94012


3.23411 DAVIS-JOYCE, ELIZABETH            VARIOUS                                     Wildfire                UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                        Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.23412 DAVIS-JOYCE, ELIZABETH                   VARIOUS                              Wildfire                UNDETERMINED
        GERARD SINGLETONERIKA L.                                                      Litigation
        VASQUEZAMANDA LOCUTRO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.23413 DAVIS-JOYCE, ELIZABETH                   VARIOUS                              Wildfire                UNDETERMINED
        ELLIOT ADLERBRITTANY                                                          Litigation
        ZUMMER                         ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.23414 DAWN BORDESSA                            VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDTMIKAL C. WATTSGUY         ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23415 DAWN BORDESSA                            VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.23416 DAWN BORDESSA                            VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23417 DAWN BRADBURD,                           VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUALLY, AND AS THE                                                      Litigation
        SUCCESSORS IN INTEREST TO      ACCOUNT NO.: NOT AVAILABLE
        THE ESTATE OF DAVID
        BRADBURD, DECEASED
        MICHAEL A. KELLY
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23418 DAWN BRADBURD,                           VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUALLY, AND AS THE                                                      Litigation
        SUCCESSORS IN INTEREST TO      ACCOUNT NO.: NOT AVAILABLE
        THE ESTATE OF DAVID
        BRADBURD, DECEASED
        STEVEN M. CAMPORA
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23419 DAWN BRADBURD,                           VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUALLY, AND AS THE                                                      Litigation
        SUCCESSORS IN INTEREST TO      ACCOUNT NO.: NOT AVAILABLE
        THE ESTATE OF DAVID
        BRADBURD, DECEASED
        CHARLES S.
        ZIMMERMANCALEB LH
        MARKER
        ZIMMERMAN REED LLP
        2381 ROSECRANS AVE, SUITE
        328
        MANHATTAN BEACH, CA 90245




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Wildfire Claims

3.23420 DAWN BRADBURD,                                VARIOUS                              Wildfire                UNDETERMINED
        INDIVIDUALLY, AND AS THE                                                           Litigation
        SUCCESSORS IN INTEREST TO           ACCOUNT NO.: NOT AVAILABLE
        THE ESTATE OF DAVID
        BRADBURD, DECEASED
        VINEET BHATIA (PRO HAC VICE
        TO BE SUBMITTED)
        DIXON DIAB & CHAMBERS LLP
        1000 LOUISIANA STREET, SUITE
        5100
        HOUSTON, TEXAS 77002-5096


3.23421 Dawn Bradburd, Individually, And              VARIOUS                              Wildfire                UNDETERMINED
        As The Successors In Interest To                                                   Litigation
        The Estate Of David Bradburd,       ACCOUNT NO.: NOT AVAILABLE
        Deceased
        Steven J. Skikos, SBN
        148110Gregory T. Skikos, SBN
        176531Matthew J. Skikos, SBN
        269765
        Skikos, Crawford, Skikos & Joseph
        One Sansome Street, Suite 2830
        San Francisco, CA 94104


3.23422 DAWN CRONIN                                   VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                           Litigation
        A. BAGHDADI                         ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23423 DAWN CRONIN                                   VARIOUS                              Wildfire                UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                       Litigation
        ERIC RATINOFF LAW CORP.             ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.23424 DAWN CRONIN                                   VARIOUS                              Wildfire                UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                           Litigation
        #117228                             ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.23425 DAWN CRONIN                                   VARIOUS                              Wildfire                UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                        Litigation
         REINER, SLAUGHTER &                ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23426 DAWN GARMAN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.23427 DAWN GARMAN                               VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.23428 DAWN GARMAN                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23429 DAWN GARMAN                               VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.23430 DAWN HESSEL TINE                          VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23431 DAWN HESSEL TINE                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23432 DAWN HESSEL TINE                          VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23433 DAWN HESSEL TINE                         VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.23434 DAWN HESSEL TINE                         VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.23435 DAWN HICKEY                              VARIOUS                              Wildfire                UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.23436 DAWN HUDDLESTON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23437 DAWN HUDDLESTON                          VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.23438 DAWN HUDDLESTON                          VARIOUS                              Wildfire                UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23439 DAWN HUDDLESTON                          VARIOUS                              Wildfire                UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.23440 DAWN LONG                                VARIOUS                              Wildfire                UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                      Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.23441 DAWN MATTOX                              VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.23442 DAWN MATTOX                              VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23443 DAWN MATTOX                              VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.23444 DAWN MATTOX                               VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23445 DAWN MATTOX                               VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.23446 DAWN MUHLBAIER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23447 DAWN MUHLBAIER                            VARIOUS                              Wildfire                UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.23448 DAWN MUHLBAIER                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.23449 DAWN MUHLBAIER                            VARIOUS                              Wildfire                UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.23450 DAWN PROTEAU                             VARIOUS                              Wildfire                UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.23451 DAWN PROTEAU                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.23452 DAWN PROTEAU                             VARIOUS                              Wildfire                UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.23453 DAWN STEVENS                             VARIOUS                              Wildfire                UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.23454 DAWN STEVENS                             VARIOUS                              Wildfire                UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.23455 DAWN STEVENS                             VARIOUS                              Wildfire                UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.23456 DAWN STEVENS                             VARIOUS                              Wildfire                UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928



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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset    Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.23457 DAWN STEVENS                            VARIOUS                              Wildfire                UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.23458 DAWN STEVENS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23459 DAWN STEVENS                            VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.23460 DAWN STEVENS                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23461 DAWN STEVENS                            VARIOUS                              Wildfire                UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.23462 DAWN STEVENS                            VARIOUS                              Wildfire                UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.23463 DAWN VICTORIA STEELE                    VARIOUS                              Wildfire                UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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